           Case 4:19-cv-00358-ALM                          Document 789 Filed 03/26/25                                Page 1 of 163 PageID #:
                                                                     34938

       Generated on: This page was generated by TSDR on 2025-02-06 13:51:13 EST
                 Mark:




  US Serial Number: 77809223                                                        Application Filing Aug. 20, 2009
                                                                                                Date:
     US Registration 4322502                                                       Registration Date: Apr. 23, 2013
           Number:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Oct. 20, 2023
Publication Date:Sep. 04, 2012

                                                                   Mark Information
          Mark Literal None
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark is a configuration of a candy bar that consists of twelve (12) equally-sized recessed rectangular panels arranged in a four
               Mark: panel by three panel format with each panel having its own raised border within a large rectangle.
   Color(s) Claimed: Color is not claimed as a feature of the mark.
            Acquired In whole
      Distinctiveness
                Claim:
       Design Search 08.03.01 - Candy bars, (chocolate); Chips, (chocolate); Chocolate candies; Chocolate chips
            Code(s): 26.11.02 - Plain single line rectangles; Rectangles (single line)
                     26.11.20 - Rectangles inside one another

                                                      Related Properties Information
 Claimed Ownership 3668662
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: candy; chocolate                                                                                            PLAINTIFF'S TRIAL
                                                                                                                                        EXHIBIT
         International 030 - Primary Class                                              U.S Class(es): 046
            Class(es):
        Class Status: ACTIVE
                                                                                                                                          0861
                                                                                                                                       4:19-CV-00358-ALM
            First Use: Dec. 31, 1968                                               Use in Commerce: Dec. 31, 1968


                                                                                                                                                  118868
            Case 4:19-cv-00358-ALM                Document 789 Filed 03/26/25                      Page 2 of 163 PageID #:
                                                            34939

                                               Basis Information (Case Level)
            Filed Use: Yes                                                Currently Use: Yes
            Filed ITU: No                                                  Currently ITU: No
            Filed 44D: No                                                 Currently 44D: No
            Filed 44E: No                                                  Currently 44E: No
            Filed 66A: No                                                 Currently 66A: No
      Filed No Basis: No                                             Currently No Basis: No

                                               Current Owner(s) Information
          Owner Name: HERSHEY CHOCOLATE & CONFECTIONERY LLC
     Owner Address: 19 E Chocolate Ave.
                    Hershey, PENNSYLVANIA UNITED STATES 17033
   Legal Entity Type: LIMITED LIABILITY COMPANY                          State or Country DELAWARE
                                                                        Where Organized:

                                        Attorney/Correspondence Information
                                                                Attorney of Record
     Attorney Name: Angela Wilson                                        Docket Number: 481.0741
    Attorney Primary trademarks@hersheys.com                              Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                   Correspondent
     Correspondent Angela Wilson
     Name/Address: Hershey Chocolate & Confectionery LLC
                   19 East Chocolate Ave
                   Hershey, PENNSYLVANIA UNITED STATES 17033
                Phone: 717-704-7891
   Correspondent e- trademarks@hersheys.com Stephanie.Bald@kell         Correspondent e- Yes
              mail: y-ip.com kelly.kurtz@kelly-ip.com                    mail Authorized:
                    Hersheys@kelly-ip.com hersheys@cpaglobal.com
                                                       Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                                        Proceeding
   Date              Description
                                                                                                                        Number
Oct. 20, 2023      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Oct. 20, 2023      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Oct. 20, 2023      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Oct. 20, 2023      CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Apr. 24, 2023      TEAS SECTION 8 & 9 RECEIVED
Apr. 23, 2022      COURTESY REMINDER - SEC. 8 (10-YR)/SEC. 9 E-MAILED
Jan. 16, 2020      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Jan. 16, 2020      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Jan. 15, 2020      AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP
Dec. 05, 2018      NOTICE OF ACCEPTANCE OF SEC. 8 & 15 - E-MAILED
Dec. 05, 2018      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Dec. 05, 2018      CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Nov. 12, 2018      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Nov. 12, 2018      TEAS SECTION 8 & 15 RECEIVED
Apr. 23, 2018      COURTESY REMINDER - SEC. 8 (6-YR) E-MAILED
Mar. 02, 2017      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Oct. 06, 2014      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Apr. 23, 2013      REGISTERED-PRINCIPAL REGISTER
Mar. 19, 2013      EXTENSION OF TIME TO OPPOSE PROCESS - TERMINATED



                                                                                                                    118869
           Case 4:19-cv-00358-ALM                  Document 789 Filed 03/26/25                     Page 3 of 163 PageID #:
                                                             34940
Oct. 25, 2012     EXPARTE APPEAL TERMINATED                                                                                       809223
Oct. 03, 2012     EXTENSION OF TIME TO OPPOSE RECEIVED
Sep. 04, 2012     PUBLISHED FOR OPPOSITION
Aug. 15, 2012     NOTICE OF PUBLICATION
Jul. 31, 2012     LAW OFFICE PUBLICATION REVIEW COMPLETED
Jul. 31, 2012     ASSIGNED TO LIE
Jul. 16, 2012     APPROVED FOR PUB - PRINCIPAL REGISTER
Jun. 28, 2012     EXPARTE APPEAL TERMINATED                                                                                       809223
Jun. 28, 2012     EX PARTE APPEAL-REFUSAL REVERSED                                                                                809223
Jun. 09, 2011     EXAMINERS STATEMENT MAILED
Jun. 09, 2011     EXAMINERS STATEMENT - COMPLETED
Apr. 14, 2011     JURISDICTION RESTORED TO EXAMINING ATTORNEY                                                                     809223
Feb. 11, 2011     EX PARTE APPEAL-INSTITUTED                                                                                      809223
Feb. 11, 2011     EXPARTE APPEAL RECEIVED AT TTAB
Dec. 29, 2010     FINAL REFUSAL MAILED
Dec. 28, 2010     FINAL REFUSAL WRITTEN
Nov. 25, 2010     TEAS/EMAIL CORRESPONDENCE ENTERED
Nov. 25, 2010     CORRESPONDENCE RECEIVED IN LAW OFFICE
Nov. 25, 2010     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Nov. 15, 2010     ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Nov. 15, 2010     TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
May 28, 2010      NOTIFICATION OF NON-FINAL ACTION E-MAILED
May 28, 2010      NON-FINAL ACTION E-MAILED
May 28, 2010      NON-FINAL ACTION WRITTEN
May 03, 2010      TEAS/EMAIL CORRESPONDENCE ENTERED
May 03, 2010      CORRESPONDENCE RECEIVED IN LAW OFFICE
May 03, 2010      TEAS RESPONSE TO OFFICE ACTION RECEIVED
Nov. 24, 2009     NOTIFICATION OF NON-FINAL ACTION E-MAILED
Nov. 24, 2009     NON-FINAL ACTION E-MAILED
Nov. 24, 2009     NON-FINAL ACTION WRITTEN
Nov. 17, 2009     ASSIGNED TO EXAMINER
Aug. 25, 2009     NOTICE OF DESIGN SEARCH CODE MAILED
Aug. 24, 2009     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Aug. 24, 2009     NEW APPLICATION ENTERED

                                          TM Staff and Location Information
                                                          TM Staff Information - None
                                                                 File Location
   Current Location: GENERIC WEB UPDATE                              Date in Location: Oct. 20, 2023

                                     Assignment Abstract Of Title Information
   Summary
 Total Assignments: 1                                                      Registrant: Hershey Chocolate & Confectionery Corporation

                                                     Assignment 1 of 1

        Conveyance: ENTITY CONVERSION
         Reel/Frame: 6828/0140                                                   Pages: 21
      Date Recorded: Dec. 30, 2019
          Supporting assignment-tm-6828-0140.pdf
         Documents:
                                                                   Assignor
                Name: HERSHEY CHOCOLATE & CONFECTIONERY               Execution Date: Dec. 27, 2019
                      CORPORATION
   Legal Entity Type: CORPORATION                                     State or Country DELAWARE



                                                                                                                               118870
             Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                              Page 4 of 163 PageID #:
                                                                 34941
                                                                             Where Organized:
                                                                           Assignee
                 Name: HERSHEY CHOCOLATE & CONFECTIONERY LLC
     Legal Entity Type: LIMITED LIABILITY COMPANY                             State or Country DELAWARE
                                                                             Where Organized:
               Address: 8001 ARISTA PLACE, SUITE 430
                        BROOMFIELD, COLORADO 80021
                                                                        Correspondent
       Correspondent MIRIAM D. TRUDELL
              Name:
       Correspondent 1560 BROADWAY, SUITE 1200
            Address: SHERIDAN ROSS P.C.
                     DENVER, CO 80202
                                                             Domestic Representative - Not Found

                                                                    Proceedings
     Summary
           Number of 3
         Proceedings:

                                                    Type of Proceeding: Opposition

             Proceeding 91221701                                                     Filing Date: Apr 23, 2015
               Number:
                Status: Terminated                                                   Status Date: Feb 22, 2016
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                          Defendant
                 Name: Dochirnie Pidpryiemstvo "Kondyterska Kor Poratsiia "Roshen"
       Correspondent GWYNNE B SUGG
            Address: MOSER TABOADA
                     1030 BROAD STREET, SUITE 203
                     SHREWSBURY NJ UNITED STATES , 07702
     Correspondent e- gsugg@mtiplaw.com
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                  Application Status      Serial Number
                                                                                                                                     Number
ELEGANCE                                                                                                         79152263
                                                                          Plaintiff(s)
                 Name: Hershey Chocolate & Confectionery Corporation
       Correspondent PAUL LLEWELLYN
            Address: KAYE SCHOLER LLP
                     250 WEST 55TH STREET
                     NEW YORK NY UNITED STATES , 10019-9710
     Correspondent e- paul.llewellyn@kayescholer.com , tmdocketing@kayescholer.com
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                  Application Status      Serial Number
                                                                                                                                     Number
                                                                                                                 77809223          4322502
HERSHEY'S HERSHEY'S HERSHEY'S HERSHEY'SHERSHEY'S HERSHEY'S                                                       77581348          3668662
HERSHEY'S HERSHEY'SHERSHEY'S HERSHEY'S HERSHEY'S HERSHEY'S
HERSHEY'S                                                                                                        77773616          3742438
                                                                     Prosecution History
     Entry Number           History Text                                                                           Date              Due Date
15                        TERMINATED                                                                             Feb 22, 2016
14                        BD DECISION: SUSTAINED                                                                 Feb 22, 2016
13                        EXTENSION OF TIME GRANTED                                                              Nov 10, 2015



                                                                                                                                     118871
              Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                           Page 5 of 163 PageID #:
                                                                 34942
12                          STIP FOR EXT                                                                       Nov 10, 2015
11                          ANSWER                                                                             Sep 08, 2015
10                          EXTENSION OF TIME GRANTED                                                          Aug 06, 2015
9                           D MOT FOR EXT W/ CONSENT                                                           Aug 06, 2015
8                           EXTENSION OF TIME GRANTED                                                          Jul 01, 2015
7                           D MOT FOR EXT W/ CONSENT                                                           Jul 01, 2015
6                           EXTENSION OF TIME GRANTED                                                          Jun 05, 2015
5                           D MOT FOR EXT W/ CONSENT                                                           Jun 05, 2015
4                           D APPEARANCE / POWER OF ATTORNEY                                                   Jun 05, 2015
3                           PENDING, INSTITUTED                                                                Apr 28, 2015
2                           NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Apr 28, 2015       Jun 07, 2015
1                           FILED AND FEE                                                                      Apr 23, 2015

                                                         Type of Proceeding: Extension of Time

             Proceeding 77809223                                                   Filing Date: Oct 03, 2012
               Number:
                 Status: Terminated                                               Status Date: Mar 19, 2013
            Interlocutory
                Attorney:
                                                                        Defendant
                  Name: Hershey Chocolate & Confectionery Corpor
       Correspondent PAUL C LLEWELLYN
            Address: KAYE SCHOLER LLP
                     425 PARK AVE
                     NEW YORK NY UNITED STATES , 10022
Associated marks
                                                                                                                                    Registration
     Mark                                                                               Application Status        Serial Number
                                                                                                                                    Number
                                                                                                               77809223
                                                                    Potential Opposer(s)
                  Name: Mars, Incorporated
       Correspondent Cristina A. Carvalho and Ross Q. Panko
            Address: Arent Fox LLP
                     1050 Connecticut Avenue NW
                     Washington DC UNITED STATES , 20036
     Correspondent e- carvalho.cristina@arentfox.com , panko.ross@arentfox.com
                mail:
                                                                    Prosecution History
     Entry Number             History Text                                                                        Date              Due Date
4                           EXTENSION OF TIME GRANTED                                                          Jan 02, 2013
3                           INCOMING - EXT TIME TO OPPOSE FILED                                                Jan 02, 2013
2                           EXTENSION OF TIME GRANTED                                                          Oct 04, 2012
1                           INCOMING - EXT TIME TO OPPOSE FILED                                                Oct 03, 2012

                                                           Type of Proceeding: Exparte Appeal

             Proceeding 77809223                                                   Filing Date: Feb 11, 2011
               Number:
                 Status: Terminated                                               Status Date: Oct 25, 2012
            Interlocutory
                Attorney:
                                                                        Plaintiff(s)
                  Name: Hershey Chocolate & Confectionery Corporation
       Correspondent PAUL C LLEWELLYN
            Address: KAYE SCHOLER LLP
                     425 PARK AVENUE
                     NEW YORK NY UNITED STATES , 10022
     Correspondent e- pllewellyn@kayescholer.com , jeischeid@kayescholer.com
                mail:



                                                                                                                                     118872
            Case 4:19-cv-00358-ALM           Document 789 Filed 03/26/25                    Page 6 of 163 PageID #:
                                                       34943
Associated marks
                                                                                                               Registration
     Mark                                                              Application Status      Serial Number
                                                                                                               Number
                                                                                             77809223
                                                     Prosecution History
     Entry Number     History Text                                                             Date            Due Date
17                  TERMINATED                                                               Oct 25, 2012
16                  TERMINATED                                                               Jun 28, 2012
15                  BOARD'S DECISION: REVERSED                                               Jun 28, 2012
14                  ORAL HEARING APPEARANCE RECORD                                           Dec 08, 2011
13                  ORAL HEARING SCHEDULED                                                   Oct 31, 2011
12                  BOARD`S ORDER                                                            Jun 29, 2011
11                  D'S REQUEST FOR ORAL HEARING                                             Jun 28, 2011
10                  REPLY BRIEF                                                              Jun 28, 2011
9                   EXAMINER'S STATEMENT                                                     Jun 09, 2011
8                   APPEAL BRIEF                                                             Apr 12, 2011
7                   APPEAL BRIEF                                                             Apr 12, 2011
6                   APPEAL BRIEF                                                             Apr 12, 2011
5                   APPEAL FORWARDED TO EXAMINER FOR BRIEF                                   Apr 14, 2011
4                   APPEAL BRIEF                                                             Apr 12, 2011
3                   INSTITUTED                                                               Feb 11, 2011
2                   APPEAL ACKNOWLEDGED                                                      Feb 11, 2011
1                   APPEAL TO BOARD                                                          Feb 11, 2011




                                                                                                               118873
             Case 4:19-cv-00358-ALM                           Document 789 Filed 03/26/25                                  Page 7 of 163 PageID #:
                                                                        34944


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Friday, October 20, 2023 11:18 PM
To:                        XXXX
Cc:                        XXXX; XXXX; XXXX; XXXX
Subject:                   Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 4322502: Miscellaneous Design: Docket/Reference No.
                           481.0741

U.S. Serial Number: 77809223
U.S. Registration Number: 4322502
U.S. Registration Date: Apr 23, 2013
Mark: Miscellaneous Design
Owner: HERSHEY CHOCOLATE & CONFECTIONERY LLC



                                                                                 Oct 20, 2023

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
030




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=77809223&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=77809223&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                                        118874
                  Case 4:19-cv-00358-ALM                                                  Document 789 Filed 03/26/25                                            Page 8 of 163 PageID #:
                                                                                                    34945

PTO- 1963
Approved for use through 01/31/2025. OMB 0651-0055
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


            Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                             Registration of a Mark under Sections 8 & 9


                                                                               The table below presents the data as entered.

                                                 Input Field                                                                                                 Entered
              REGISTRATION NUMBER                                                                           4322502
              REGISTRATION DATE                                                                             04/23/2013
              SERIAL NUMBER                                                                                 77809223
              MARK SECTION
              MARK                                                                                          Miscellaneous Mark (stylized and/or with design, see mark)
              ATTORNEY INFORMATION (current)
              NAME                                                                                          Dinisa Hardley Folmar
              ATTORNEY BAR MEMBERSHIP NUMBER                                                                XXX
              YEAR OF ADMISSION                                                                             XXXX
              U.S. STATE/ COMMONWEALTH/ TERRITORY                                                           XX
              INTERNAL ADDRESS                                                                              Hershey Chocolate & Confectionery LLC
              STREET                                                                                        19 East Chocolate Avenue
              CITY                                                                                          Hershey
              STATE                                                                                         Pennsylvania
              POSTAL CODE                                                                                   17033
              COUNTRY/REGION/JURISDICTION/U.S.
                                                                                                            United States
              TERRITORY

              PHONE                                                                                         7175344502
              EMAIL                                                                                         trademarks@hersheys.com
              ATTORNEY INFORMATION (proposed)
              NAME                                                                                          Angela Wilson
              ATTORNEY BAR MEMBERSHIP NUMBER                                                                XXX
              YEAR OF ADMISSION                                                                             XXXX
              U.S. STATE/ COMMONWEALTH/ TERRITORY                                                           XX
              FIRM NAME                                                                                     Hershey Chocolate & Confectionery LLC
              STREET                                                                                        19 East Chocolate Ave
              CITY                                                                                          Hershey
              STATE                                                                                         Pennsylvania
              POSTAL CODE                                                                                   17033
              COUNTRY/REGION/JURISDICTION/U.S.
                                                                                                            United States
              TERRITORY


                                                                                                                                                                                  118875
 Case 4:19-cv-00358-ALM            Document 789 Filed 03/26/25               Page 9 of 163 PageID #:
                                             34946

PHONE                                   717-704-7891
EMAIL                                   trademarks@hersheys.com
DOCKET/REFERENCE NUMBER                 481.0741
                                        Under 37 C.F.R. 2.17(c)(2) and TMEP Section 605.03, the undersigned also
OTHER APPOINTED ATTORNEY                appoints as associate power of attorney and co-counsel the following
                                        attorneys at Kelly IP, LLP: Stephanie H. Bald
CORRESPONDENCE INFORMATION (current)
NAME                                    Dinisa Hardley Folmar
PRIMARY EMAIL ADDRESS FOR
                                        trademarks@hersheys.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        NOT PROVIDED
COPIES)

CORRESPONDENCE INFORMATION (proposed)
NAME                                    Angela Wilson
PRIMARY EMAIL ADDRESS FOR
                                        trademarks@hersheys.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY   Stephanie.Bald@kelly-ip.com; kelly.kurtz@kelly-ip.com; Hersheys@kelly-
COPIES)                                 ip.com; hersheys@cpaglobal.com
DOCKET/REFERENCE NUMBER                 481.0741
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                     030
GOODS OR SERVICES                       candy; chocolate
                                        \\TICRS\EXPORT18\IMAGEOUT 18\778\092\77809223\xml2 \
SPECIMEN FILE NAME(S)
                                        S890002.jpg
SPECIMEN DESCRIPTION                    photograph of the goods
   WEBPAGE URL                          None Provided
   WEBPAGE DATE OF ACCESS               None Provided
OWNER SECTION (current)
NAME                                    HERSHEY CHOCOLATE & CONFECTIONERY LLC
MAILING ADDRESS                         8001 ARISTA PLACE, SUITE 430
CITY                                    BROOMFIELD
STATE                                   Colorado
ZIP/POSTAL CODE                         80021
COUNTRY/REGION/JURISDICTION/U.S.
                                        United States
TERRITORY

OWNER SECTION (proposed)
NAME                                    HERSHEY CHOCOLATE & CONFECTIONERY LLC
MAILING ADDRESS                         19 E Chocolate Ave.
CITY                                    Hershey
STATE                                   Pennsylvania
ZIP/POSTAL CODE                         17033


                                                                                                       118876
 Case 4:19-cv-00358-ALM            Document 789 Filed 03/26/25                   Page 10 of 163 PageID #:
                                              34947
COUNTRY/REGION/JURISDICTION/U.S.
                                             United States
TERRITORY

EMAIL                                        XXXX
LEGAL ENTITY SECTION (current)
TYPE                                         limited liability company
STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                             Delaware
TERRITORY WHERE LEGALLY ORGANIZED

PAYMENT SECTION
NUMBER OF CLASSES                            1
NUMBER OF CLASSES PAID                       1
COMBINED §§ 8 & 9 DECLARATION/APPLICATION
                                             525
FILING FEE

TOTAL FEE PAID                               525
SIGNATURE SECTION
SIGNATURE                                    /Angela Wilson/
SIGNATORY'S NAME                             Angela Wilson
SIGNATORY'S POSITION                         Attorney of Record
DATE SIGNED                                  04/24/2023
SIGNATURE METHOD                             Sent to third party for signature
PAYMENT METHOD                               CC
                                            FILING INFORMATION
SUBMIT DATE                                  Mon Apr 24 11:01:53 ET 2023
                                             USPTO/S08N09-XX.XXX.XX.XX
                                             -20230424110154688953-432
                                             2502-850fc5e28d1f4eaf4564
TEAS STAMP                                   fc317d1356b5b160afb9e9a4c
                                             cb01b343a64105a77b01f-CC-
                                             01538404-2023042410014128
                                             3546




                                                                                                   118877
                 Case 4:19-cv-00358-ALM                                                  Document 789 Filed 03/26/25                                         Page 11 of 163 PageID #:
                                                                                                    34948
PTO- 1963
Approved for use through 01/31/2025. OMB 0651-0055
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




 Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under
                                               Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4322502
REGISTRATION DATE: 04/23/2013

MARK: (Stylized and/or with Design, Miscellaneous Mark (see, mark))

Current: The owner, HERSHEY CHOCOLATE & CONFECTIONERY LLC, a limited liability company legally organized under the laws of
Delaware, having an address of
   8001 ARISTA PLACE, SUITE 430
   BROOMFIELD, Colorado 80021
   United States

Proposed: The owner, HERSHEY CHOCOLATE & CONFECTIONERY LLC, a limited liability company legally organized under the laws of
Delaware, having an address of
     19 E Chocolate Ave.
     Hershey, Pennsylvania 17033
     United States
     XXXX
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under Sections 8 & 9.

For International Class 030, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: candy; chocolate ; or, the owner is making the listed
excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) photograph of the goods.
Specimen File1

Webpage URL: None Provided
Webpage Date of Access: None Provided
The owner's/holder's current attorney information: Dinisa Hardley Folmar. Dinisa Hardley Folmar is a member of the XX bar, admitted to the bar
in XXXX, bar membership no. XXX, is located at

      Hershey Chocolate & Confectionery LLC
      19 East Chocolate Avenue
      Hershey, Pennsylvania 17033
      United States

The phone number is 7175344502.

The email address is trademarks@hersheys.com

Dinisa Hardley Folmar submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest
court of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.


The owner's/holder's proposed attorney information: Angela Wilson. Other appointed attorneys are Under 37 C.F.R. 2.17(c)(2) and TMEP
Section 605.03, the undersigned also appoints as associate power of attorney and co-counsel the following attorneys at Kelly IP, LLP: Stephanie
H. Bald. Angela Wilson of Hershey Chocolate & Confectionery LLC, is a member of the XX bar, admitted to the bar in XXXX, bar membership
no. XXX, and the attorney(s) is located at

      19 East Chocolate Ave

                                                                                                                                                                               118878
         Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                        Page 12 of 163 PageID #:
                                                             34949

   Hershey, Pennsylvania 17033
   United States
The docket/reference number is 481.0741.

The phone number is 717-704-7891.

The email address is trademarks@hersheys.com

Angela Wilson submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

Correspondence Information (current)
   Dinisa Hardley Folmar
   PRIMARY EMAIL FOR CORRESPONDENCE: trademarks@hersheys.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

Correspondence Information (proposed)
   Angela Wilson
   PRIMARY EMAIL FOR CORRESPONDENCE: trademarks@hersheys.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): Stephanie.Bald@kelly-ip.com; kelly.kurtz@kelly-ip.com;
Hersheys@kelly-ip.com; hersheys@cpaglobal.com
   The docket/reference number is 481.0741.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the owner/holder and the
owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark Electronic
Application System (TEAS).

A fee payment in the amount of $525 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                 Declaration
        Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
        or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
        Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
        connection with the goods/services/collective membership organization.
        The registrant requests that the registration be renewed for the goods/services/collective organization identified above.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Angela Wilson/ Date: 04/24/2023
Signatory's Name: Angela Wilson
Signatory's Position: Attorney of Record
Signature method: Sent to third party for signature


Mailing Address (current):

 19 East Chocolate Avenue
 Hershey, Pennsylvania 17033

Mailing Address (proposed):
 Hershey Chocolate & Confectionery LLC
 19 East Chocolate Ave
 Hershey, Pennsylvania 17033



                                                                                                                                    118879
       Case 4:19-cv-00358-ALM           Document 789 Filed 03/26/25   Page 13 of 163 PageID #:
                                                   34950

Serial Number: 77809223
Internet Transmission Date: Mon Apr 24 11:01:53 ET 2023
TEAS Stamp: USPTO/S08N09-XX.XXX.XX.XX-20230424110154
688953-4322502-850fc5e28d1f4eaf4564fc317
d1356b5b160afb9e9a4ccb01b343a64105a77b01
f-CC-01538404-20230424100141283546




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Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 14 of 163 PageID #:
                                    34951




                                                                         118881
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 15 of 163 PageID #:
                                    34952




                                                                         118882
           Case 4:19-cv-00358-ALM                           Document 789 Filed 03/26/25                                 Page 16 of 163 PageID #:
                                                                       34953

From:                     TMOfficialNotices@USPTO.GOV
Sent:                     Saturday, April 23, 2022 01:36 AM
To:                       XXXX
Subject:                  Official USPTO Courtesy Reminder: Trademark Registration Maintenance Documents Must Be Filed Before Deadline for U.S. Trademark
                          Registration No. 4322502 Miscellaneous Design
USPTO COURTESY REMINDER

TRADEMARK REGISTRATION MAINTENANCE DOCUMENT(S) UNDER SECTIONS 8 AND 9 MUST BE FILED BEFORE
DEADLINE OR REGISTRATION WILL BE CANCELLED/EXPIRED

U.S. Application Serial No. 77809223
U.S. Registration No. 4322502
U.S. Registration Date: April 23, 2013
Mark: Miscellaneous Design
Owner: HERSHEY CHOCOLATE & CONFECTIONERY LLC
Docket/Reference No.

Issue Date: April 23, 2022

Required submission. The owner of the trademark registration must file a Declaration of Use and/or Excusable Nonuse and an Application for Renewal under Sections
8 and 9 of the Trademark Act (Sections 8 and 9 Declaration) between now and April 24, 2023. For an additional fee, the owner can file within the 6-month grace period that
ends on October 23, 2023.

If ownership of the registration or the owner's name has changed, the owner can use the Electronic Trademark Assignment System (ETAS) to record the
change. More information on changes of ownership/owner name is available on the USPTO website.

Click here for more information about maintaining a trademark registration.

Proof of Use Audit. The USPTO is conducting an audit program to promote the accuracy and integrity of the trademark register. If a registration is selected for audit, the
owner will be required to submit proof of use for additional goods/services for which use is claimed in a Section 8 Declaration. Detailed information about the program is
available on the Proof of Use Audit Program webpage.

Determination of time of receipt by USPTO. Correspondence transmitted through the Trademark Electronic Application System (TEAS) is considered filed on the date the
USPTO receives the transmission in Eastern Time.

If the owner fails to file a timely Sections 8 and 9 Declaration the registration will be CANCELLED/EXPIRED and cannot be reinstated.

This reminder notice is being sent only as a courtesy to trademark owners who maintain a current email address with the USPTO. Failure by the USPTO to send a
reminder or non-receipt of a reminder does not excuse a trademark owner from meeting the statutory obligations for maintaining a registration.

Foreign-domiciled owners must have a U.S.-licensed attorney represent them at the USPTO in any post-registration filing.

Beware of misleading notices sent by private companies about registrations. Private companies not associated with the USPTO use public information available in
trademark registrations to mail and email trademark-related offers and notices - most of which require fees. All official USPTO correspondence will only be emailed from the
domain "@uspto.gov."

Direct questions about this notice to the Trademark Assistance Center at 1-800-786-9199 (select option 1) or TrademarkAssistanceCenter@uspto.gov.




                                                                                                                                                         118883
               Case 4:19-cv-00358-ALM                       Document 789 Filed 03/26/25                                Page 17 of 163 PageID #:
                                                                       34954

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 2196 (Rev 09/2005)
OMB No. 0651-0056 (Exp 11/30/2020)


Revocation, Appointment, and/or Change of Address of Attorney/Domestic Representative


                                                     The table below presents the data as entered.

                                     Input Field                                                                 Entered
             SERIAL NUMBER                                              77809223
             REGISTRATION NUMBER                                        4322502
             LAW OFFICE ASSIGNED                                        LAW OFFICE 116
             MARK SECTION
             MARK                                                       Design only
             CURRENT CORRESPONDENCE ADDRESS
             NAME                                                       DINISA HARDLEY FOLMAR
             FIRM NAME                                                  HERSHEY CHOCOLATE & CONFECTIONERY CORPOR
             STREET                                                     4860 ROBB STREET, SUITE 204
             CITY                                                       WHEAT RIDGE
             STATE                                                      Colorado
             COUNTRY                                                    US
             POSTAL/ZIP CODE                                            80033
             EMAIL                                                      trademarks@hersheys.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                       YES
             NEW ATTORNEY INFORMATION
                                                                        By submission of this request, the undersigned REVOKES the power of
             STATEMENT TEXT                                             attorney currently of record, as listed above, and hereby APPOINTS the
                                                                        following new attorney:
             NAME                                                       Dinisa Hardley Folmar
             ATTORNEY BAR MEMBERSHIP NUMBER                             XXX
             YEAR OF ADMISSION                                          XXXX
             U.S. STATE/ COMMONWEALTH/ TERRITORY                        XX
             INTERNAL ADDRESS                                           Hershey Chocolate & Confectionery LLC
             STREET                                                     19 East Chocolate Avenue
             CITY                                                       Hershey
             STATE                                                      Pennsylvania
             COUNTRY                                                    United States
             POSTAL/ZIP CODE                                            17033
             PHONE                                                      7175344502
             EMAIL                                                      trademarks@hersheys.com
             ATTORNEY AUTHORIZED TO COMMUNICATE VIA


                                                                                                                                                         118884
 Case 4:19-cv-00358-ALM         Document 789 Filed 03/26/25                Page 18 of 163 PageID #:
                                           34955

E-MAIL
                                       YES

INDIVIDUAL ATTORNEY
DOCKET/REFERENCE NUMBER

NEW CORRESPONDENCE INFORMATION
NAME                                   Dinisa Hardley Folmar
INTERNAL ADDRESS                       Hershey Chocolate & Confectionery LLC
STREET                                 19 East Chocolate Avenue
CITY                                   Hershey
STATE                                  Pennsylvania
COUNTRY                                United States
POSTAL/ZIP CODE                        17033
PHONE                                  7175344502
EMAIL                                  trademarks@hersheys.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL   YES
INDIVIDUAL ATTORNEY
DOCKET/REFERENCE NUMBER

SIGNATURE SECTION
SIGNATURE                              /dhf/
SIGNATORY NAME                         Dinisa Hardley Folmar
SIGNATORY DATE                         01/16/2020
SIGNATORY POSITION                     Attorney of record, Georgia bar member
SIGNATORY PHONE NUMBER                 7175344502
FILING INFORMATION SECTION
SUBMIT DATE                            Thu Jan 16 16:24:08 EST 2020
                                       USPTO/RAA-XXX.XXX.XXX.XX-
                                       20200116162408077622-7779
                                       5167-700fb1ad26423626033b
TEAS STAMP
                                       ed64e1ce9ddbc55e6382f2637
                                       aa033bccff03dcc74f5fb-N/A
                                       -N/A-20200116143726965083




                                                                                             118885
               Case 4:19-cv-00358-ALM                       Document 789 Filed 03/26/25                                Page 19 of 163 PageID #:
                                                                       34956

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 2196 (Rev 09/2005)
OMB No. 0651-0056 (Exp 11/30/2020)




Revocation, Appointment, and/or Change of Address of Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: Design only
SERIAL NUMBER: 77809223
REGISTRATION NUMBER: 4322502

Current Correspondence Information:
DINISA HARDLEY FOLMAR
HERSHEY CHOCOLATE & CONFECTIONERY CORPOR
4860 ROBB STREET, SUITE 204
WHEAT RIDGE, Colorado 80033
US
trademarks@hersheys.com (authorized)


By submission of this request, the undersigned REVOKES the power of attorney currently of record, as listed above, and hereby APPOINTS the
following new attorney:

New Attorney information:
Dinisa Hardley Folmar
XX bar, admitted in XXXX, bar membership no. XXX, is located at
Hershey Chocolate & Confectionery LLC
19 East Chocolate Avenue
Hershey, Pennsylvania 17033
United States
7175344502
trademarks@hersheys.com (not authorized)

Dinisa Hardley Folmar submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest
court of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

New Correspondence Information:
Dinisa Hardley Folmar
Hershey Chocolate & Confectionery LLC
19 East Chocolate Avenue
Hershey, Pennsylvania 17033
United States
7175344502
trademarks@hersheys.com (authorized)



Signature: /dhf/ Date: 01/16/2020
Signatory's Name: Dinisa Hardley Folmar
Signatory's Position: Attorney of record, Georgia bar member
Signatory's Phone Number: 7175344502

Serial Number: 77809223
Internet Transmission Date: Thu Jan 16 16:24:08 EST 2020
TEAS Stamp: USPTO/RAA-XXX.XXX.XXX.XX-202001161624080
77622-77795167-700fb1ad26423626033bed64e
1ce9ddbc55e6382f2637aa033bccff03dcc74f5f
b-N/A-N/A-20200116143726965083




                                                                                                                                                         118886
             Case 4:19-cv-00358-ALM                          Document 789 Filed 03/26/25                                 Page 20 of 163 PageID #:
                                                                        34957


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, December 5, 2018 11:00 PM
To:                        XXXX
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4322502: Miscellaneous Design

U.S. Serial Number: 77809223
U.S. Registration Number: 4322502
U.S. Registration Date: Apr 23, 2013
Mark: Miscellaneous Design
Owner: Hershey Chocolate & Confectionery Corpor etc.



                                                                                 Dec 5, 2018

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
030




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=77809223&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=77809223&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                                          118887
 Case 4:19-cv-00358-ALM            Document 789 Filed 03/26/25                   Page 21 of 163 PageID #:
                                              34958

                               Change Of Correspondence Address


                               The table below presents the data as entered.

                 Input Field                                                Entered
SERIAL NUMBER                              77809223
MARK SECTION
                                           Miscellaneous Mark (stylized and/or with design, see https://tmng-
MARK
                                           al.uspto.gov/resting2/api/img/77809223/large)
NEW CORRESPONDENCE ADDRESS
                                           Dinisa Hardley Folmar

                                           Hershey Chocolate & Confectionery Corporation
                                           4860 Robb Street, Suite 204
NEW ADDRESS                                Wheat Ridge
                                           Colorado
                                           United States
                                           80033
                                           trademarks@hersheys.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL       YES
INDIVIDUAL ATTORNEY
DOCKET/REFERENCE NUMBER

SIGNATURE SECTION
SIGNATURE                                  /James Turoff/
SIGNATORY NAME                             James Turoff
SIGNATORY DATE                             11/12/2018
SIGNATORY POSITION                         President & Secretary
FILING INFORMATION SECTION
SUBMIT DATE                                Mon Nov 12 12:57:38 EST 2018
                                           USPTO/S08N15-XXX.XXX.XX.X
                                           XX-20181112125738313628-4
                                           322502-6107f22cfdff238db6
TEAS STAMP                                 0bc81ee20ee30d3a45ec71a37
                                           daa38c1bf74f614b28f7cc3-C
                                           C-11690-20181111204607687
                                           582




                                                                                                            118888
               Case 4:19-cv-00358-ALM                       Document 789 Filed 03/26/25                                Page 22 of 163 PageID #:
                                                                       34959

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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


                       Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             REGISTRATION NUMBER                                        4322502
             REGISTRATION DATE                                          04/23/2013
             SERIAL NUMBER                                              77809223
             MARK SECTION
                                                                        Miscellaneous Mark (stylized and/or with design, see https://tmng-
             MARK
                                                                        al.uspto.gov/resting2/api/img/77809223/large)
             CORRESPONDENCE SECTION (current)
             NAME                                                       PAUL C LLEWELLYN
             FIRM NAME                                                  Arnold & Porter Kaye Scholer LLP
             STREET                                                     250 WEST 55TH STREET
             CITY                                                       NEW YORK
             STATE                                                      New York
             POSTAL CODE                                                10019-9710
             COUNTRY                                                    United States
             PHONE                                                      2128367828
             FAX                                                        212-836-6463
             EMAIL                                                      paul.llewellyn@apks.com; tmdocketing@apks.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                       Yes
             DOCKET/REFERENCE NUMBER                                    29985-
             CORRESPONDENCE SECTION (proposed)
             NAME                                                       Dinisa Hardley Folmar
             FIRM NAME                                                  Hershey Chocolate & Confectionery Corporation
             STREET                                                     4860 Robb Street, Suite 204
             CITY                                                       Wheat Ridge
             STATE                                                      Colorado
             POSTAL CODE                                                80033
             COUNTRY                                                    United States
             EMAIL                                                      trademarks@hersheys.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                       Yes
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                        030


                                                                                                                                                         118889
 Case 4:19-cv-00358-ALM              Document 789 Filed 03/26/25              Page 23 of 163 PageID #:
                                                34960

GOODS OR SERVICES                          candy; chocolate
                                           \\TICRS\EXPORT17\IMAGEOUT 17\778\092\77809223\xml3\
SPECIMEN FILE NAME(S)
                                           8150002.JPG
                                           photograph of HERSHEY'S candy bar configuration as sold in commerce,
SPECIMEN DESCRIPTION
                                           evidencing use of mark
OWNER SECTION (current)
NAME                                       Hershey Chocolate & Confectionery Corporation
STREET                                     4860 Robb Street, Suite 204
CITY                                       Wheat Ridge
STATE                                      Colorado
ZIP/POSTAL CODE                            80033
COUNTRY                                    United States
PHONE                                      717-534-7911
FAX                                        717-534-7549
EMAIL                                      XXXX
AUTHORIZED TO COMMUNICATE VIA E-MAIL       Yes
OWNER SECTION (proposed)
NAME                                       Hershey Chocolate & Confectionery Corporation
STREET                                     4860 Robb Street, Suite 204
CITY                                       Wheat Ridge
STATE                                      Colorado
ZIP/POSTAL CODE                            80033
COUNTRY                                    United States
PHONE

FAX

EMAIL                                      XXXX
AUTHORIZED TO COMMUNICATE VIA E-MAIL       Yes
LEGAL ENTITY SECTION (current)
TYPE                                       corporation
STATE/COUNTRY OF INCORPORATION             Delaware
PAYMENT SECTION
NUMBER OF CLASSES                          1
NUMBER OF CLASSES PAID                     1
COMBINED §§ 8 & 15 FILING FEE PER CLASS    325
TOTAL FEE PAID                             325
SIGNATURE SECTION
SIGNATURE                                  /James Turoff/
SIGNATORY'S NAME                           James Turoff



                                                                                                        118890
 Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25          Page 24 of 163 PageID #:
                                     34961

SIGNATORY'S POSITION            President & Secretary
DATE SIGNED                     11/12/2018
PAYMENT METHOD                  CC
                               FILING INFORMATION
SUBMIT DATE                     Mon Nov 12 12:57:38 EST 2018
                                USPTO/S08N15-XXX.XXX.XX.X
                                XX-20181112125738313628-4
                                322502-6107f22cfdff238db6
TEAS STAMP                      0bc81ee20ee30d3a45ec71a37
                                daa38c1bf74f614b28f7cc3-C
                                C-11690-20181111204607687
                                582




                                                                                 118891
               Case 4:19-cv-00358-ALM                       Document 789 Filed 03/26/25                                Page 25 of 163 PageID #:
                                                                       34962

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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4322502
REGISTRATION DATE: 04/23/2013

MARK: (Stylized and/or with Design, Miscellaneous Mark (see, mark))

The owner, Hershey Chocolate & Confectionery Corporation, a corporation of Delaware, having an address of
     4860 Robb Street, Suite 204
     Wheat Ridge, Colorado 80033
     United States
     XXXX (authorized)
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 030, the mark is in use in commerce on or in connection with all of the goods/all of the services, or to indicate
membership in the collective membership organization, listed in the existing registration for this specific class: candy; chocolate; and the mark
has been continuously used in commerce for five (5) consecutive years after the date of registration, or the date of publication under Section
12(c), and is still in use in commerce on or in connection with all goods/all services, or to indicate membership in the collective membership
organization, listed in the existing registration for this class. Also, no final decision adverse to the owner's claim of ownership of such mark for
those goods/services, or to indicate membership in the collective membership organization, exists, or to the owner's right to register the same or
to keep the same on the register; and, no proceeding involving said rights pending and not disposed of in either the U.S. Patent and Trademark
Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) photograph of HERSHEY'S candy bar configuration as sold in commerce, evidencing use of mark.
Specimen File1
The registrant's current Correspondence Information: PAUL C LLEWELLYN of Arnold & Porter Kaye Scholer LLP
    250 WEST 55TH STREET
    NEW YORK, New York 10019-9710
    United States
The phone number is 2128367828.
The fax number is 212-836-6463.
The email address is paul.llewellyn@apks.com; tmdocketing@apks.com. (authorized)
The docket/reference number is 29985-.

The registrant's proposed Correspondence Information: Dinisa Hardley Folmar of Hershey Chocolate & Confectionery Corporation
   4860 Robb Street, Suite 204
   Wheat Ridge, Colorado 80033
   United States
The email address is trademarks@hersheys.com. (authorized)

A fee payment in the amount of $325 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                      Declaration
             Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
             or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
             Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
             connection with the goods/services/collective membership organization.
             The mark has been in continuous use in commerce for five consecutive years after the date of registration, or the date of publication
             under 15 U.S.C. § 1062(c), and is still in use in commerce on or in connection with all goods/services, or to indicate membership in the
             collective membership organization, listed in the existing registration.


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         Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                        Page 26 of 163 PageID #:
                                                             34963

        There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or to indicate
        membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the register.
        There is no proceeding involving said rights pending and not finally disposed of either in the United States Patent and Trademark Office
        or in a court.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /James Turoff/ Date: 11/12/2018
Signatory's Name: James Turoff
Signatory's Position: President & Secretary

Serial Number: 77809223
Internet Transmission Date: Mon Nov 12 12:57:38 EST 2018
TEAS Stamp: USPTO/S08N15-XXX.XXX.XX.XXX-201811121257
38313628-4322502-6107f22cfdff238db60bc81
ee20ee30d3a45ec71a37daa38c1bf74f614b28f7
cc3-CC-11690-20181111204607687582




                                                                                                                                  118893
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 27 of 163 PageID #:
                                    34964




                                                                         118894
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 28 of 163 PageID #:
                                    34965




                                                                         118895
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 29 of 163 PageID #:
                                    34966




                                                                         118896
            Case 4:19-cv-00358-ALM                             Document 789 Filed 03/26/25                                   Page 30 of 163 PageID #:
                                                                          34967


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, April 23, 2018 01:06 AM
To:                        XXXX
Cc:                        XXXX
Subject:                   Official USPTO Courtesy Reminder of Required Trademark Registration Maintenance Filing Under Section 8: U.S. Trademark RN 4322502:
                           Miscellaneous Design: Docket/Reference No. 29985-

U.S. Serial Number: 77809223
U.S. Registration Number: 4322502
U.S. Registration Date: Apr 23, 2013
Mark: Miscellaneous Design
Owner: Hershey Chocolate & Confectionery Corporation ey Chocolate & Confectionery Corporation


                                                                                    Apr 23, 2018

                                           U.S. PATENT AND TRADEMARK OFFICE ("USPTO") COURTESY REMINDER
                                      OF REQUIRED TRADEMARK REGISTRATION MAINTENANCE FILING UNDER SECTION 8


WARNING: Your trademark registration will be CANCELLED if you do not file the required document below during the specified statutory time period.

The above-identified registration registered on Apr 23, 2013. Therefore, the owner of the registration must file a Declaration of Use and/or Excusable Nonuse under §8 of the
Trademark Act anytime between now and Apr 23, 2019. For an additional fee, the owner may file the declaration within the six-month grace period that ends on Oct 23, 2019.
See 15 U.S.C. §1058. The current fee for filing a declaration under §8 is $125 per class if the filing is made via the Trademark Electronic Application System ("TEAS") and
$225 if the filing is made on paper, and the additional fee for filing during the six-month grace period is $100 per class if the filing is made via TEAS and $200 if the filing is made
on paper. 37 C.F.R. §2.6.

If the registration meets the requirements of §15 of the Trademark Act, the owner may additionally file an optional Declaration of Incontestability under §15. See 15 U.S.C.
§1065. The current fee for filing a declaration under §15 is $200 per class if the filing is made via TEAS and $300 per class if the filing is made on paper. 37 C.F.R. §2.6.

To expedite processing, the owner is encouraged to file through the USPTO's official website using TEAS. Official forms for filing Declarations of Use and/or Excusable Nonuse
under §8 and Combined Declarations of Use and Incontestability under §§8 and 15 are available through TEAS at https://www.uspto.gov/trademarks-application-process/filing-
online/registration-maintenancerenewalcorrection-forms.

For information regarding how to record ownership documents such as assignments, name changes and mergers, please see TMEP §503. To expedite recordation, the owner
is encouraged to file requests for recordation through the Electronic Trademark Assignment System ("ETAS") at https://etas.uspto.gov.

For further information regarding the maintenance of a trademark registration, including future maintenance filings, please consult the USPTO website at
https://www.uspto.gov/learning-and-resources/trademark-faqs.

This reminder notice is being sent only as a courtesy to those trademark owners who have authorized e-mail communication and maintain a current e-mail address with the
USPTO. Failure by the USPTO to send a reminder or non-receipt of a reminder does not excuse a trademark owner from meeting the statutory obligations for maintaining a
trademark registration. If a registration is cancelled and/or expired due to the failure to timely file required maintenance documents, it cannot be reinstated or revived.

Correspondence transmitted through TEAS is considered to have been filed on the date the USPTO receives the transmission, in Eastern Time, regardless of whether that date
is a Saturday, Sunday, or Federal holiday within the District of Columbia. 37 C.F.R. §2.195(a)(2).

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=77809223&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

In order to be eligible for future e-mail reminders of maintenance filings, please remember to authorize e-mail communication when filing your maintenance documents through
TEAS.




                                                                                                                                                                118897
 Case 4:19-cv-00358-ALM            Document 789 Filed 03/26/25                Page 31 of 163 PageID #:
                                              34968

                               Change Of Correspondence Address


                               The table below presents the data as entered.

                 Input Field                                              Entered
SERIAL NUMBER                              77809223
REGISTRATION NUMBER                        4322502
LAW OFFICE ASSIGNED                        LAW OFFICE 116
MARK SECTION
MARK                                       Design only
CORRESPONDENCE SECTION (current)
                                           PAUL C LLEWELLYN
                                           Kaye Scholer LLP
                                           250 West 55th Street
                                           New York New York 10019-9710
ORIGINAL ADDRESS
                                           US
                                           212-836-7828
                                           212-836-6463
                                           paul.llewellyn@kayescholer.com;tmdocketing@kayescholer.com
NEW CORRESPONDENCE ADDRESS
                                           PAUL C LLEWELLYN

                                           Arnold & Porter Kaye Scholer LLP
                                           250 WEST 55TH STREET
                                           NEW YORK
NEW ADDRESS                                New York
                                           United States
                                           10019-9710
                                           2128367828
                                           212-836-6463
                                           paul.llewellyn@apks.com; tmdocketing@apks.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL       YES
INDIVIDUAL ATTORNEY
                                           29985-
DOCKET/REFERENCE NUMBER

SIGNATURE SECTION
SIGNATURE                                  /paul c. llewellyn/
SIGNATORY NAME                             Paul C. Llewellyn
SIGNATORY DATE                             03/02/2017
SIGNATORY POSITION                         Attorney of Record, New York State Bar Member
SIGNATORY PHONE NUMBER                     2128367828
AUTHORIZED SIGNATORY                       YES
FILING INFORMATION SECTION
SUBMIT DATE                                Thu Mar 02 16:46:33 EST 2017
                                           USPTO/CCA-XXX.XXX.XXX.XXX
                                           -20170302164633707522-869

                                                                                                        118898
 Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25       Page 32 of 163 PageID #:
                                     34969

                                71601-580293d30fee04554d3
TEAS STAMP
                                8df66cd02156995a785044966
                                06166bd38b4bc2df12f2b-N/A
                                -N/A-20170302164017432407




                                                                              118899
 Case 4:19-cv-00358-ALM            Document 789 Filed 03/26/25                 Page 33 of 163 PageID #:
                                              34970

                               Change Of Correspondence Address


                               The table below presents the data as entered.

                 Input Field                                              Entered
SERIAL NUMBER                              77809223
REGISTRATION NUMBER                        4322502
LAW OFFICE ASSIGNED                        LAW OFFICE 116
MARK SECTION
MARK                                       Design only
CORRESPONDENCE SECTION (current)
                                           PAUL C LLEWELLYN
                                           KAYE SCHOLER LLP
                                           425 PARK AVE
ORIGINAL ADDRESS                           NEW YORK New York 10022
                                           US
                                           2128367828
                                           2128366463
NEW CORRESPONDENCE ADDRESS


                                           Kaye Scholer LLP
                                           250 West 55th Street
                                           New York
                                           New York
NEW ADDRESS
                                           United States
                                           10019-9710
                                           212-836-7828
                                           212-836-6463
                                           paul.llewellyn@kayescholer.com;tmdocketing@kayescholer.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL       YES
SIGNATURE SECTION
SIGNATURE                                  /paul c. llewellyn/
SIGNATORY NAME                             Paul C. Llewellyn
SIGNATORY DATE                             10/06/2014
SIGNATORY POSITION                         Attorney of record, New York state bar member
SIGNATORY PHONE NUMBER                     212-836-7828
AUTHORIZED SIGNATORY                       YES
FILING INFORMATION SECTION
SUBMIT DATE                                Mon Oct 06 17:24:20 EDT 2014
                                           USPTO/CCA-XX.XX.XXX.XXX-2
                                           0141006172420552366-85821
                                           448-50096668d056dc4bcd181
TEAS STAMP
                                           e455ebc4e892e8c6888339a7b
                                           a2c9233b93efc37cf-N/A-N/A
                                           -20141006171425219724


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Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 34 of 163 PageID #:
                                    34971




                                                                         118901
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 35 of 163 PageID #:
                                    34972




                                                                         118902
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 36 of 163 PageID #:
                                    34973




                                                                         118903
           Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                          Page 37 of 163 PageID #:
                                                               34974


Side - 1




                                               NOTICE OF PUBLICATION UNDER §12(a)
                                               MAILING DATE: Aug 15, 2012
                                               PUBLICATION DATE: Sep 4, 2012



The mark identified below will be published in the Official Gazette on Sep 4, 2012. Any party who believes they will be damaged by registration of
the mark may oppose its registration by filing an opposition to registration or a request to extend the time to oppose within thirty (30) days from the
publication date on this notice. If no opposition is filed within the time specified by law, the USPTO may issue a Certificate of Registration.

To view the Official Gazette online or to order a paper copy, visit the USPTO website at http://www.uspto.gov/web/trademarks/tmog/ any time within
the five-week period after the date of publication. You may also order a printed version from the U.S. Government Printing Office (GPO) at
http://bookstore.gpo.gov or 202-512-1800. To check the status of your application, go to http://tarr.uspto.gov/.

SERIAL NUMBER:                 77809223
MARK:                          Miscellaneous Design
OWNER:                         Hershey Chocolate & Confectionery Corpor



Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS
                                                                                                                               FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                    U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                            PAID



                                                      PAUL C LLEWELLYN
                                                      KAYE SCHOLER LLP
                                                      425 PARK AVE
                                                      NEW YORK, NY 10022




                                                                                                                                       118904
         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                            Page 38 of 163 PageID #:
                                                              34975

                                      Trademark Snap Shot Publication & Issue Review Stylesheet
                                           (Table presents the data on Publication & Issue Review Complete)


                                                                   OVERVIEW

SERIAL NUMBER                                      77809223                 FILING DATE                                  08/20/2009

REG NUMBER                                          0000000                 REG DATE                                        N/A

REGISTER                                           PRINCIPAL                MARK TYPE                                   TRADEMARK

INTL REG #                                                N/A               INTL REG DATE                                   N/A

TM ATTORNEY                                      DWYER, JOHN D              L.O. ASSIGNED                                   116



                                                                PUB INFORMATION

RUN DATE                            08/01/2012

PUB DATE                            09/04/2012

STATUS                              681-PUBLICATION/ISSUE REVIEW COMPLETE

STATUS DATE                         07/31/2012

LITERAL MARK ELEMENT



DATE ABANDONED                                            N/A               DATE CANCELLED                                  N/A

SECTION 2F                                              YES                 SECTION 2F IN PART                              NO

SECTION 8                                                 NO                SECTION 8 IN PART                               NO

SECTION 15                                                NO                REPUB 12C                                       N/A

RENEWAL FILED                                             NO                RENEWAL DATE                                    N/A

DATE AMEND REG                                            N/A



                                                                  FILING BASIS

                 FILED BASIS                                      CURRENT BASIS                                   AMENDED BASIS

1 (a)                          YES                1 (a)                               YES               1 (a)                     NO

1 (b)                          NO                 1 (b)                                NO               1 (b)                     NO

44D                            NO                 44D                                  NO               44D                       NO

44E                            NO                 44E                                  NO               44E                       NO

66A                            NO                 66A                                  NO

NO BASIS                       NO                 NO BASIS                             NO



                                                                  MARK DATA

STANDARD CHARACTER MARK                                                     NO

LITERAL MARK ELEMENT

MARK DRAWING CODE                                                           2-AN ILLUSTRATION DRAWING WITHOUT ANY
                                                                            WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                          NO



                                                     CURRENT OWNER INFORMATION




                                                                                                                              118905
         Case 4:19-cv-00358-ALM          Document 789 Filed 03/26/25                             Page 39 of 163 PageID #:
                                                    34976
PARTY TYPE                                                       10-ORIGINAL APPLICANT

NAME                                                             Hershey Chocolate & Confectionery Corporation

ADDRESS                                                          4860 Robb Street, Suite 204
                                                                 Wheat Ridge, CO 80033

ENTITY                                                           03-CORPORATION

CITIZENSHIP                                                      Delaware



                                                  GOODS AND SERVICES

INTERNATIONAL CLASS                                              030

       DESCRIPTION TEXT                                          candy; chocolate




                                       GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     030         FIRST USE DATE   12/31/1968        FIRST USE IN          12/31/1968            CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                           NO

COLORS CLAIMED STATEMENT                                         Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                              The mark is a configuration of a candy bar that consists of twelve (12) equally-sized
                                                                 recessed rectangular panels arranged in a four panel by three panel format with
                                                                 each panel having its own raised border within a large rectangle.

OWNER OF US REG NOS                                              3668662



                                                 PROSECUTION HISTORY

DATE                       ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

07/31/2012                 PREV          O         LAW OFFICE PUBLICATION REVIEW COMPLETED                                                   030

07/31/2012                  ALIE         A         ASSIGNED TO LIE                                                                           029

07/16/2012                 CNSA          O         APPROVED FOR PUB - PRINCIPAL REGISTER                                                     028

06/28/2012                 EXPT          T         EXPARTE APPEAL TERMINATED                                                                 027

06/28/2012                 EXPR          T         EX PARTE APPEAL-REFUSAL REVERSED                                                          026

06/09/2011                 CNES          O         EXAMINERS STATEMENT MAILED                                                                025

06/09/2011                 CNES          R         EXAMINERS STATEMENT - COMPLETED                                                           024

04/14/2011                 JURT          T         JURISDICTION RESTORED TO EXAMINING ATTORNEY                                               023

02/11/2011                  EXPI         T         EX PARTE APPEAL-INSTITUTED                                                                022

02/11/2011                 EXAF          T         EXPARTE APPEAL RECEIVED AT TTAB                                                           021

12/29/2010                 CNFR          O         FINAL REFUSAL MAILED                                                                      020

12/28/2010                 CNFR          R         FINAL REFUSAL WRITTEN                                                                     019

11/25/2010                 TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                         018

11/25/2010                 CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                     017

11/25/2010                 TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                   016

11/15/2010                 ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         015

11/15/2010                 REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     014

05/28/2010                 GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                 013



                                                                                                                                   118906
         Case 4:19-cv-00358-ALM     Document 789 Filed 03/26/25                 Page 40 of 163 PageID #:
                                               34977
05/28/2010                GNRT      O     NON-FINAL ACTION E-MAILED                                        012

05/28/2010                CNRT      R     NON-FINAL ACTION WRITTEN                                         011

05/03/2010                TEME      I     TEAS/EMAIL CORRESPONDENCE ENTERED                                010

05/03/2010                CRFA      I     CORRESPONDENCE RECEIVED IN LAW OFFICE                            009

05/03/2010                TROA      I     TEAS RESPONSE TO OFFICE ACTION RECEIVED                          008

11/24/2009                GNRN      O     NOTIFICATION OF NON-FINAL ACTION E-MAILED                        007

11/24/2009                GNRT      F     NON-FINAL ACTION E-MAILED                                        006

11/24/2009                CNRT      R     NON-FINAL ACTION WRITTEN                                         005

11/17/2009                DOCK      D     ASSIGNED TO EXAMINER                                             004

08/25/2009                MDSC      O     NOTICE OF DESIGN SEARCH CODE MAILED                              003

08/24/2009                NWOS      I     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM             002

08/24/2009                NWAP      I     NEW APPLICATION ENTERED IN TRAM                                  001



                                 CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                               Paul Llewellyn

CORRESPONDENCE ADDRESS                                 PAUL C LLEWELLYN
                                                       KAYE SCHOLER LLP
                                                       425 PARK AVE
                                                       NEW YORK, NY 10022

DOMESTIC REPRESENTATIVE                                NONE




                                                                                                  118907
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 41 of 163 PageID #:
                                    34978




                                                                         118908
         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                             Page 42 of 163 PageID #:
                                                              34979

                                                  Trademark Snap Shot Publication Stylesheet
                                                     (Table presents the data on Publication Approval)


                                                                    OVERVIEW

SERIAL NUMBER                                      77809223                   FILING DATE                                 08/20/2009

REG NUMBER                                          0000000                   REG DATE                                       N/A

REGISTER                                           PRINCIPAL                  MARK TYPE                                  TRADEMARK

INTL REG #                                                N/A                 INTL REG DATE                                  N/A

TM ATTORNEY                                      DWYER, JOHN D                L.O. ASSIGNED                                  116



                                                                PUB INFORMATION

RUN DATE                            07/17/2012

PUB DATE                            N/A

STATUS                              680-APPROVED FOR PUBLICATION

STATUS DATE                         07/16/2012

LITERAL MARK ELEMENT



DATE ABANDONED                                            N/A                 DATE CANCELLED                                 N/A

SECTION 2F                                              YES                   SECTION 2F IN PART                             NO

SECTION 8                                                 NO                  SECTION 8 IN PART                              NO

SECTION 15                                                NO                  REPUB 12C                                      N/A

RENEWAL FILED                                             NO                  RENEWAL DATE                                   N/A

DATE AMEND REG                                            N/A



                                                                   FILING BASIS

                 FILED BASIS                                        CURRENT BASIS                                  AMENDED BASIS

1 (a)                          YES                1 (a)                                  YES             1 (a)                     NO

1 (b)                          NO                 1 (b)                                   NO             1 (b)                     NO

44D                            NO                 44D                                     NO             44D                       NO

44E                            NO                 44E                                     NO             44E                       NO

66A                            NO                 66A                                     NO

NO BASIS                       NO                 NO BASIS                                NO



                                                                    MARK DATA

STANDARD CHARACTER MARK                                                       NO

LITERAL MARK ELEMENT

MARK DRAWING CODE                                                             2-AN ILLUSTRATION DRAWING WITHOUT ANY
                                                                              WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                            NO



                                                     CURRENT OWNER INFORMATION




                                                                                                                               118909
         Case 4:19-cv-00358-ALM          Document 789 Filed 03/26/25                             Page 43 of 163 PageID #:
                                                    34980
PARTY TYPE                                                       10-ORIGINAL APPLICANT

NAME                                                             Hershey Chocolate & Confectionery Corporation

ADDRESS                                                          4860 Robb Street, Suite 204
                                                                 Wheat Ridge, CO 80033

ENTITY                                                           03-CORPORATION

CITIZENSHIP                                                      Delaware



                                                  GOODS AND SERVICES

INTERNATIONAL CLASS                                              030

       DESCRIPTION TEXT                                          Candy; Chocolate




                                       GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     030         FIRST USE DATE   12/31/1968        FIRST USE IN          12/31/1968            CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                           NO

COLORS CLAIMED STATEMENT                                         Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                              The mark is a configuration of a candy bar that consists of twelve (12) equally-sized
                                                                 recessed rectangular panels arranged in a four panel by three panel format with
                                                                 each panel having its own raised border within a large rectangle.

OWNER OF US REG NOS                                              3668662



                                                 PROSECUTION HISTORY

DATE                       ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

07/16/2012                 CNSA          O         APPROVED FOR PUB - PRINCIPAL REGISTER                                                     028

06/28/2012                 EXPT          T         EXPARTE APPEAL TERMINATED                                                                 027

06/28/2012                 EXPR          T         EX PARTE APPEAL-REFUSAL REVERSED                                                          026

06/09/2011                 CNES          O         EXAMINERS STATEMENT MAILED                                                                025

06/09/2011                 CNES          R         EXAMINERS STATEMENT - COMPLETED                                                           024

04/14/2011                 JURT          T         JURISDICTION RESTORED TO EXAMINING ATTORNEY                                               023

02/11/2011                  EXPI         T         EX PARTE APPEAL-INSTITUTED                                                                022

02/11/2011                 EXAF          T         EXPARTE APPEAL RECEIVED AT TTAB                                                           021

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12/28/2010                 CNFR          R         FINAL REFUSAL WRITTEN                                                                     019

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11/25/2010                 CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                     017

11/25/2010                 TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                   016

11/15/2010                 ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         015

11/15/2010                 REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     014

05/28/2010                 GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                 013

05/28/2010                 GNRT          O         NON-FINAL ACTION E-MAILED                                                                 012

05/28/2010                 CNRT          R         NON-FINAL ACTION WRITTEN                                                                  011



                                                                                                                                   118910
         Case 4:19-cv-00358-ALM     Document 789 Filed 03/26/25                 Page 44 of 163 PageID #:
                                               34981
05/03/2010                TEME      I     TEAS/EMAIL CORRESPONDENCE ENTERED                                010

05/03/2010                CRFA      I     CORRESPONDENCE RECEIVED IN LAW OFFICE                            009

05/03/2010                TROA      I     TEAS RESPONSE TO OFFICE ACTION RECEIVED                          008

11/24/2009                GNRN      O     NOTIFICATION OF NON-FINAL ACTION E-MAILED                        007

11/24/2009                GNRT      F     NON-FINAL ACTION E-MAILED                                        006

11/24/2009                CNRT      R     NON-FINAL ACTION WRITTEN                                         005

11/17/2009                DOCK      D     ASSIGNED TO EXAMINER                                             004

08/25/2009                MDSC      O     NOTICE OF DESIGN SEARCH CODE MAILED                              003

08/24/2009                NWOS      I     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM             002

08/24/2009                NWAP      I     NEW APPLICATION ENTERED IN TRAM                                  001



                                 CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                               Paul Llewellyn

CORRESPONDENCE ADDRESS                                 PAUL C LLEWELLYN
                                                       KAYE SCHOLER LLP
                                                       425 PARK AVENUE
                                                       NEW YORK, NY 10022

DOMESTIC REPRESENTATIVE                                NONE




                                                                                                  118911
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 45 of 163 PageID #:
                                    34982




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         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                       Page 46 of 163 PageID #:
                                                              34983

                             UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)

                  APPLICATION SERIAL NO.             77809223

                  MARK:
                                                                               *77809223*
                  CORRESPONDENT ADDRESS:
                    PAUL C LLEWELLYN                                           GENERAL TRADEMARK INFORMATION:
                    KAYE SCHOLER LLP                                           http://www.uspto.gov/main/trademarks.htm
                    425 PARK AVENUE
                    NEW YORK, NY 10022                                         TTAB INFORMATION:
                                                                               http://www.uspto.gov/web/offices/dcom/ttab/index.html
                  APPLICANT:           Hershey Chocolate & Confectionery
                Corpor ETC.

                  CORRESPONDENT’S REFERENCE/DOCKET NO :
                    29985-
                  CORRESPONDENT E-MAIL ADDRESS:




                                             EXAMINING ATTORNEY'S APPEAL BRIEF

                                                          STATEMENT OF THE CASE

   The applicant has appealed the examining attorney’s final refusal to register the proposed mark for a configuration of a candy bar.

Registration was refused on the grounds that the applied for mark is functional pursuant to Trademark Act §2(e)(5), 15 U.S.C. §1052(e)(5), and
non-distinctive trade dress pursuant to Trademark Act §§1, 2 and 45, 15 U.S.C. §§1051, 1052 and 1127. Applicant’s claim of acquired
distinctiveness under Trademark Act §2(f) was found insufficient to overcome the non-distinctive trade dress refusal.

                                                            STATEMENT OF FACTS

       Applicant filed this use-based application on August 20, 2009, applying to register on the Principal Register the mark consisting of a
configuration of a candy bar that consists of twelve (12) equally-sized recessed rectangular panels arranged in a four panel by three panel format

with each panel having its own raised border within a large rectangle for “Candy; Chocolate,” in Class 30.

       In the first Office action dated November 24, 2009, registration was refused under Trademark Act §2(e)(5), on the grounds that the
applied-for mark, which consists of a three-dimensional configuration of the goods, appears to be a functional design for such goods and also
under Trademark Act §§1, 2 and 45, because the applied-for mark consists of a non-distinctive product design or non-distinctive features of a
product design that is not registrable on the Principal Register without sufficient proof of acquired distinctiveness. The applicant was also
required to submit information regarding the goods and to clarify the description of the mark.

       On May 3, 2010, applicant argued against the refusals to register the mark under Trademark Act §2(e)(5), and Trademark Act §§1, 2 and
45, proposed amending the application to seek registration under Trademark Act §2(f), acquired distinctiveness, submitted information regarding
the goods and mark, and amended the description of the mark.

       In the second Office action dated May 28, 2010, the examining attorney accepted the information regarding the goods, accepted the
amended description of the mark, maintained and continued the refusals to register the mark under Trademark Act §2(e)(5), and Trademark Act
§§1, 2 and 45, and issued a new refusal based upon insufficient evidence to establish acquired distinctiveness.

                 On November 25, 2010, the applicant again argued against the refusals to register the mark under Trademark Act §2(e)(5), and


                                                                                                                                  118913
          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                         Page 47 of 163 PageID #:
                                                               34984

Trademark Act §§1, 2 and 45, and submitted additional evidence and arguments in support of amending the application to seek registration under
Trademark Act §2(f), acquired distinctiveness.

                 On December 28, 2010, the refusals to register the mark under Trademark Act §2(e)(5), and Trademark Act §§1, 2 and 45, and
the determination that the applicant failed to establish that the mark has acquired distinctiveness, were maintained and made final.

                 On February 11, 2011, applicant a notice of appeal. On April 12, 2011, applicant filed an appeal brief. The file was forwarded
to the examining attorney on April 14, 2011.

                                                                           ISSUES

                 The issues on appeal are whether the mark is a functional design under Trademark Act §2(e)(5), whether the mark is a non-
distinctive configuration of the goods under Trademark Act §§1, 2 and 45, and whether the applicant has established that the mark has acquired
distinctiveness under Trademark Act §2(f).

                                                                    ARGUMENT
    I.       THE APPLIED-FOR MARK IS FUNCTIONAL BECAUSE THE DESIGN FEATURES OF THE CONFIGURATION PROVIDE
             A UTILITARIAN ADVANTAGE TO THE USER, AND THEREFORE, REGISTRATION IS PROPERLY REFUSED UNDER
                                                TRADEMARK ACT §2(e)(5).


                 The proposed mark comprises the configuration of design features of the identified goods that serve a utilitarian purpose, and
registration must be refused under Trademark Act §2(e)(5), 15 U.S.C. §1052(e). See Valu Engineering, Inc. v. Rexnord Corp., 61 USPQ2d 1422

(Fed. Cir. 2002); In re Bose Corp., 772 F.2d 866, 227 USPQ 1 (Fed. Cir. 1985); In re R.M. Smith, Inc., 734 F.2d 1482, 222 USPQ 1 (Fed. Cir.
1984); TMEP §§1202.02(a) et seq.

                 A mark comprising the configuration of goods or their packaging is held functional, and thus unregistrable, where the evidence
shows that the product design or product packaging design provides identifiable utilitarian advantages to the user – i.e., where the product or
container “has a particular shape because it works better in that shape.” Valu Engineering, Inc. v. Rexnord Corp., 61 USPQ2d 1422, 1425 (Fed.
Cir. 2002) (citation and internal quotation marks omitted); In re R.M. Smith, Inc., 734 F.2d 1482, 222 USPQ 1, 3 (Fed. Cir. 1984); see also In re

Virshup, 42 USPQ2d 1403, 1405 (TTAB 1997); In re Cabot Corp., 15 USPQ2d 1224, 1227 (TTAB 1990).

                 The functionality determination is a question of fact, and depends on the totality of the evidence presented in each case. Valu

Engineering, Inc. v. Rexnord Corp., 61 USPQ2d 1422 (Fed. Cir. 2002); In re Caterpillar Inc., 43 USPQ2d 1335, 1339 (TTAB 1997).

                 Evidence of functionality cases normally involves consideration of the following four factors, commonly known as the “ Morton-

Norwich factors,” in reference to the Federal Circuit decision in which they were first articulated:
    (1) the existence of a utility patent that discloses the utilitarian advantages of the design sought to be registered;

    (2) advertising by the applicant that touts the utilitarian advantages of the design;

    (3) facts pertaining to the availability of alternative designs; and
    (4) facts pertaining to whether the design results from a comparatively simple or inexpensive method of manufacture.

In re Morton-Norwich Products, Inc., 671 F.2d 1332, 213 USPQ 9, 15-16 (C.C.P.A. 1982).

                 Applying the Morton-Norwich factors to this case, as will be explained in more detail below, the examining attorney has
established that the proposed mark is functional for the identified goods.

                 In summary, (1) the overall flat rectangular shape of the candy bar is easier and more cost effective to mass produce and wrap
than irregularly shaped candy bars, (2) large numbers of flat rectangular candy bars can be more efficiently packed in boxes for shipping than

                                                                                                                                 118914
          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                         Page 48 of 163 PageID #:
                                                               34985

irregularly shaped bars, and (3) scoring the bar into smaller evenly sized rectangular shapes facilitates the easier breaking off of equal-sized
smaller pieces, both for eating and for measuring for cooking purposes.

                 The determination that a proposed mark is functional constitutes an absolute bar to registration either on the Principal Register or

the Supplemental Register, regardless of evidence showing that the proposed mark has acquired distinctiveness. Trademark Act §§2(e)(5) and
23(c), 15 U.S.C. §§1052(e)(5) and 1091(c); See TrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S. 23, 58 USPQ2d 1001, 1006 (2001);
Valu Engineering, Inc. v. Rexnord Corp., 61 USPQ2d 1422 (Fed. Cir. 2002); In re Control Corp. of America, 46 USPQ2d 1308, 1311 (TTAB
1998).
            1.    Patent protection was previously provided disclosing a utilitarian advantage to a functional feature highly similar to a feature at
                 issue here.

                 A utility patent claiming the design features at issue is strong evidence of functionality, and the party seeking trademark
protection for the configuration bears a heavy burden of establishing that the features are not functional – e.g., by showing that they are merely
ornamental, incidental, or arbitrary aspects of the product or product packaging design. TrafFix Devices, Inc. v. Marketing Displays, Inc., 532

U.S. 23, 58 USPQ2d 1001 (2001).

                 In response to the initial application, applicant was required to indicate whether the proposed mark is the subject of a utility
patent. Applicant indicated that it was not. While that is correct, the examining attorney discovered on his own a utility patent for another

similar configuration that includes a highly similar design feature to those claimed in the present mark. As an attachment to the December 28,
2010 final Office action, the examining attorney included patent records for US Patent No. 1,613,231.

                 US Patent No. 1,613,231, a patent for “candy confection and process of making the same,” discloses utilitarian advantages of a
feature of the design sought to be registered.

Specifically, the scoring of the bar makes the bar easier to break into smaller, equal-sized pieces. This is useful when cooking because it
facilitates proper measuring of the chocolate, and also when simply eating the chocolate where one does not desire to eat the entire bar or desires
to share the bar with others.

                 The patent “invention relates to candy confections and to an improved process of making the same. The object of the invention
is to produce a candy confection comprising a layer of hard, frangible candy, which may be cut into pieces when cold, without dislodgement of

pieces of said frangible sheet or layer of appropriate size, even though it is broken in pieces in the cutting operation, and without affecting the
size and shape of the pieces into which the mat, as initially formed, is cut.” [1]

                 Specifically, lines 75-92 provide, “Heretofore, as far as we are aware, it has been considered impracticable, if not impossible, to

cut layers of hard, frangible candy of the character of the layer 2 shown in the drawing, for the reason that the action of the knives or cutters
would break the candy into irregular pieces; and, where it is desired to subdivide a layer of such hard, frangible candy into pieces of desired
small size, the universal practice, so far as we are aware, has been to score said layers on lines corresponding to the desired shapes and sizes
of the pieces, before it is thoroughly cooled and while it is sufficiently plastic that it may be scored without breaking. The candy is then
permitted to cool and may then readily be broken into pieces along the lines on which it is scored.”

                 While this patent claims a different process, it still discloses a utilitarian advantage of a feature of the design sought to be
registered. Specifically, the candy and chocolate has been scored during the manufacturing process so that it may be broken into the desired
preformed shapes and sizes rather than into irregular shapes and sizes.

                 Both of the applicant’s identified goods, namely, candy and chocolate, can be brittle or designed to be easily broken. In


                                                                                                                                      118915
          Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                         Page 49 of 163 PageID #:
                                                                34986

addition, the creases which subdivide the chocolate bars into twelve equal-sized pieces are a form of scoring.

                  The examining attorney notes that Patent No. 1,613,231 is expired. However, statements in a utility patent application or

expired patent which refer to utilitarian advantages of the design features at issue are persuasive evidence of functionality. The evidentiary
significance of such statements is not affected by whether the patent application is pending or abandoned, whether a utility patent issued from the
application, or whether the resulting patent has expired. See TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29-30, 58 USPQ2d 1001,
1005 (2001); TMEP §1202.02(a)(v)(A).

                  The examining attorney also notes that Patent No. 1,613,231 was owned by a third party, however, a third-party utility patent is
relevant evidence of functionality when the patent discloses the utilitarian advantages of the applied-for product or product packaging
configuration sought to be registered. See In re Dietrich, 91 USPQ2d 1622, 1627 (TTAB 2009); TMEP §1202.02(a)(v)(A).

                  In this case, a utility patent discloses utilitarian advantages of the scoring feature of the design sought to be registered.
Accordingly, the first Morton-Norwich factor should weigh heavily in favor of affirming the functionality finding.
                  2. While applicant’s advertising does not promote utilitarian advantages of the design, unsolicited reviews of the applicant’s
                     goods promote utilitarian advantages of the design, and various competitor’s advertising touts the utilitarian advantages of
                     the design features.

                  As to the second Morton-Norwich factor, applicant avers that it has never promoted the design features as having utilitarian

advantages. The examining attorney acknowledges that applicant’s advertising of record does not promote the design features in any way, not
even as a mark.

                  However, in In re Gibson Guitar Corp., 61 USPQ2d 1948 (TTAB 2001), the Board considered an advertisement obtained from
the website of a competitor. Here the record contains examples of advertisements for competitors’ goods that tout the functional advantages of
design features very similar to the applicant’s, namely, flat, rectangular, and scored so as to create equal-sized smaller pieces. Specifically:
    (1)    Pages 31-32 of the examiner’s final Office action dated December 28, 2011, from www.godiva.com, shows a flat, rectangular and
           scored candy bar and provides, “It is scored into ten signature squares so you can break off a little piece of Godiva every day.”
    (2)     Page 56 of the examiner’s final Office action dated December 28, 2011, from www.farawayfoods.com, shows a flat and rectangular
           candy bar and provides, “Available in semisweet, Scharffen Berger’s Home Chef Chocolate Bars are pure dark chocolate, scored for
           easy measuring.”
    (3)     Pages 47-51 of the examiner’s final Office action dated December 28, 2010, from www.bizrate.com, shows a flat, rectangular and
           scored candy bar and provides, “Blocks of rich dark chocolate made by Asher’s. Each bar is scored so it’s easy to break.”

                  Moreover, while applicant’s own advertising does not promote the utilitarian advantages of the design features, unsolicited
reviews of the applicant’s goods promote utilitarian advantages of the design features. Specifically:
    (1)    Pages 27-29 of the examiner’s final Office action dated December 28, 2010, from
           www.epinions.com/review/Hershey_s_Milk_Chocolate_Bar, provides: “Hershey’s milk chocolate bar is a flat, thin candy bar with a
           standard size of 1.55 oz. (43 grams). The flat bar is made entirely from milk chocolate and it is divided into twelve rectangular
           ‘pieces.’ These pieces are all attached to each other in a 3 by 4 fashion to form the candy bar. This design makes it easy to break off
           smaller pieces and share them with others.”
    (2)     Pages 33-35 of the examiner’s final Office action dated December 28, 2010, from
           www.epinions.com/review/Hershey_Special_Dark_Chocolate_Bars_1_45_Oz_36_Bars, provides: “Just like with the milk chocolate
           Hershey’s Bar, this one is also scored so that you can easily break off small sections of the candy bar. … the small shapes makes it
           easy to break the bar into smaller pieces, both for sharing and baking. With these rectangular indentations, it is easy to make a clean
           break.”

                  While applicant does not have advertising referencing the design features in the mark, some of applicant’s competitors have
produced highly similar looking candy bars and have advertised the usefulness of the scoring as enabling the breaking-off of equal-sized smaller
pieces. In addition, unsolicited third parties have reviewed the applicant’s goods and touted the utilitarian advantages of the design features.


                                                                                                                                       118916
          Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                       Page 50 of 163 PageID #:
                                                                34987

Therefore, this factor should also weigh in favor of a functionality finding.
                 3.     While there may be multiple ways to design a candy bar, many of applicant’s competitors have also chosen to adopt
                       configurations featuring overall flat and rectangular shapes, with scoring, leading to a conclusion that these have utilitarian
                       advantages.


                 While there are alternative designs available for candy and chocolate, it is clear that applicant’s design embodies the most

functional and popular features, as there are many candies and chocolates made by competitors that appear to employ identical or highly similar
design features, namely, an overall flat and rectangular shape with scoring. Below are some examples:
                 (1)   Page 45 of applicant’s response dated November 25, 2010, shows a candy bar by R. M. Palmer Candy Co. that is flat,
                      rectangular and scored with raised lines to create twelve smaller, equal-sized, rectangles arranged in a four panel by three
                      panel format.
                 (2) Pages 5-7 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Storz Nougat Praline as a flat, rectangular, and scored candy bar.
                 (3) Pages 7-9 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Dagoba Dark Chocolate as a flat, rectangular, and scored candy bar.
                 (4) Pages 10-11 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Kingsbury Chocolate Nib as a flat, rectangular, and scored candy bar.
                 (5) Pages 11-13 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Lake Champlain Peppermint Crunch as a flat, rectangular, and scored candy bar.
                 (6) Pages 21-22 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Lake Champlain Milk Chocolate Sea Salt and Almond Bar as a flat, rectangular, and scored candy bar.
                 (7) Pages 33-34 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Choxie Dark Chocolate Key Lime Truffle Bar as a flat, rectangular, and scored candy bar.
                 (8) Pages 36-37 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Chuao SpicyMaya as a flat, rectangular, and scored candy bar.
                 (9) Pages 42-43 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Dagoba Dark Chocolate Lime and Macademia Nuts as a flat, rectangular, and scored candy bar.
                 (10) Pages 51-53 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Nestle Kit Kat Muscat of Alexandria as a flat, rectangular, and scored candy bar.
                 (11) Pages 54-55 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Nestle Aero Mint as a flat, rectangular, and scored candy bar.
                 (12) Pages 31-32 of the examiner’s final Office action dated December 28, 2010, from www.godiva.com/product/large-31-
                      cacao-milk-chocolate-crispy-crunch-holida/id/2505.gdv, shows a flat, rectangular, and scored candy bar with a
                      corresponding description that provides, in part, “It’s scored into ten signature squares so that you can break off a little
                      piece of Godiva every day.”
                 (13)      Pages    47-48      of   the     examiner’s       final Office    action dated      December      28, 2010, from
                      www.bizrate.com/candy/oid1822216008, shows a flat, rectangular, and scored candy bar with a corresponding description
                      that provides, in part, “Each bar is scored so it’s easy to break up!”
                 (14) Page 56 of the examiner’s final Office action dated December 28, 2010, from www.farawayfoods.com/baking, shows a
                      flat, rectangular, and scored candy bar with a corresponding description that provides, in part, “Bars are pure chocolate,
                      scored for easy measuring.”
                 (15) Pages 9-10 of applicant’s response dated May 3, 2010, and page 69 of applicant’s response dated November 25, 2010,
                      demonstrate Theo produces several candy bars in a flat and rectangular shape with scoring to create segments of smaller
                      equal-sized shapes
                 (16) Page 11 of applicant’s response dated May 3, 2010, and page 71 of applicant’s response dated November 25, 2010,
                      demonstrate Endangered Species Chocolate produces a candy bar in a flat and rectangular shape with scoring to create
                      segments of smaller equal-sized shapes.
                 (17) Pages 12-13 of applicant’s response dated May 3, 2010, and pages 71-72 of applicant’s response dated November 25,
                      2010, demonstrate Divine Milk Chocolate produces a candy bar in a flat and rectangular shape with scoring to create
                      segments of smaller equal-sized shapes.
                 (18) Page 15 of applicant’s response dated May 3, 2010, and page 73 of applicant’s response dated November 25, 2010,
                      demonstrate Doctor’s CarbRite Diet produces a candy bar in a flat and rectangular shape with scoring to create segments of
                      smaller equal-sized shapes.
                 (19) Pages 16-17 of applicant’s response dated May 3, 2010, and pages 73-74 of applicant’s response dated November 25,
                      2010, demonstrate Wegmans produces a candy bar in a flat and rectangular shape with scoring to create segments of smaller
                      equal-sized shapes.


                                                                                                                                   118917
          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                         Page 51 of 163 PageID #:
                                                               34988


                 The fact that competitors choose to make candy bars that appear to embody the same or a highly similar design consisting of an

overall flat and rectangular shape with scoring speaks to the functionality of these design features. Anyone who has ever wrapped presents
knows that a flat and rectangular shape is easier to wrap than an irregular shape. Flat and rectangular shapes are also more efficient for packing
and shipping because it fits neatly in square and rectangular boxes and thereby eliminates wastage of space when packing the candy bars in. This
maximizes the amount of candy bars which can be fit in a box. The more candy bars that are shipped together spreads the cost of shipping out
among more candy bars and reduces the shipping cost associated with each individual candy bar. Scoring a candy bar facilitates easier breaking
off of equal-sized smaller pieces, both for eating and for measuring for cooking purposes.

                 To the extent that any of the referenced competitor candy bar designs are different, the differences appear to be mere refinements

of the same basic design, e.g., bigger or smaller rectangles, slight curvatures of the corners or tops, scoring accomplished by means other than
raised and beveled lines, or scoring in more or less than twelve smaller pieces.

                 Accordingly, the third Morton-Norwich factor weighs in favor of the functionality finding because the evidence of record
demonstrates a competitive need for the design features embodied in the applied-for trade dress. Moreover, the Supreme Court has clearly

indicated that if the record shows that a design is essential to the use or purpose of a product, it is unnecessary to consider whether there is a
competitive need for the product feature. See TrafFix, 532 U.S. at 32-34, 58 USPQ2d at 1006-1007.
                 4. Applicant does not claim that the product design entails a more costly method of production, but only addresses one feature
                    of the design, the scoring, and ignores the rectangular and flat design features.

                 While evidence showing that the product feature results from a comparatively simple or inexpensive method of manufacture
supports a finding that the design is functional, the opposite is not necessarily the case. That is, assertions by the applicant that its design is more
expensive or more difficult to make, or that the design does not affect the cost, will not establish that the configuration is not functional. In re
Dietrich, 91 USPQ2d 1622, 1637 (TTAB 2009)(“Even at a higher manufacturing cost, applicant would have a competitive advantage for what is

essentially, as claimed in patents, a superior quality wheel.”); In re N.V. Organon, 79 USPQ2d (TTAB 2006).

                 Applicant asserts only that the tooling and moulds for the framed segments of the design are more expensive to create than are
the tooling and moulds for other chocolate bar designs. However, applicant clearly states at page twenty of the brief that “the particular
configuration of the Hershey design is no less costly to manufacture than other alternative segmented bar designs.” This conspicuously does not
allege that applicant’s product design entails a more costly method of production. Applicant is in the best position to provide evidence regarded
its manufacturing costs. If the applicant’s design were more expensive to manufacture, applicant would have presented evidence of such, rather
than obfuscate the issue by only discussing the cost of tools and dies for the scoring feature of the design.

                 Applicant’s evidence and arguments only address one feature of the design, namely, the tooling and moulds used to create the
scoring. Applicant’s arguments do not address the overall flat and rectangular shape of the of the candy bars. Packaging is part of the
manufacturing process. As discussed above, a flat and rectangular shape is easier to wrap than an irregular shape, and flat and rectangular shapes
are also more efficient for packing and shipping because they fit neatly into rectangular boxes and eliminate wastage of space when packing the
candy bars in.

                 Applicant does not argue that the applied-for mark is more costly to manufacture than other alternative segmented bar designs.
Accordingly, the fourth Morton-Norwich factor weighs neither for nor against the functionality finding.

                 In this case, the evidence shows that the applied-for mark comprises the configuration of design features of the goods that serve



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          Case 4:19-cv-00358-ALM                      Document 789 Filed 03/26/25                     Page 52 of 163 PageID #:
                                                                 34989

a utilitarian purpose and the first, second and third Morton-Norwich factors weigh in favor of affirming the functionality finding.

        II.     APPLICANT’S APPLIED-FOR MARK IS NON-DISTINCTIVE PRODUCT DESIGN, AND APPLICANT’S CLAIM OF
                ACQUIRED DISTINCTIVENESS UNDER TRADEMARK ACT §2(F) IS INSUFFICIENT. THUS, REGISTRATION IS
                                   PROPERLY REFUSED UNDER TRADEMARK ACT §§1, 2 AND 45


                              1. Applicant’s applied-for mark is non-distinctive product design.

                 Assuming that the configuration is not functional, registration must be refused because the applied-for mark consists of a
nondistinctive product design or nondistinctive features of a product design that would not be perceived as a mark. Trademark Act Sections 1, 2
and 45, 15 U.S.C. §§1051-1052, 1127; Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210, 213-14, 54 USPQ2d 1065, 1068-69
(2000); In re Slokevage, 441 F.3d 957, 961, 78 USPQ2d 1395, 1398 (Fed. Cir. 2006); see TMEP §1202.02(b)(i).

                 The Supreme Court distinguished between two types of trade dress – product design and product packaging. If the trade dress
falls within the category of product design, it can never be inherently distinctive and will always require evidence of acquired distinctiveness or
secondary meaning. Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 215, 54 USPQ2d 1065, 1069 (2000); TMEP §1202.02(b)(i).

                 Product design almost invariably serves purposes other than source identification, and consumers are aware that even the most

unusual product design is intended not to identify the source of the goods, but to render the product itself more useful or appealing. See Wal-
Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. at 213, 54 USPQ2d at 1069 (2000); In re Slokevage, 441 F.3d 957, 962, 78 USPQ2d 1395, 1399
(Fed. Cir. 2006); see TMEP §1202.02(b)(i).

                 In this case, applicant’s configuration mark is considered product design because it comprises the shape of applicant’s candy
and chocolate and consumers would not perceive it as a source indicator but merely the design of applicant’s goods. Applicant’s configuration

mark falls squarely within the parameters of product design, and thus, in accordance with Wal-Mart, applicant bears the burden of proving the
applied-for mark has acquired distinctiveness. See Yamaha Int’l Corp. v. Hoshino Gakki Co. , 840 F.2d 1572, 1578-79, 6 USPQ2d 1001, 1006
(Fed. Cir. 1988); In re Meyer & Wenthe, Inc., 267 F.2d 945, 949, 122 USPQ 372, 374-75 (C.C.P.A. 1959); TMEP §1212.01. Applicant has
failed to meet this burden.
                              2.    Applicant’s applied-for mark is a variation of common trade practices in the candy and chocolate industry,
                                   namely, shaping the candy bars flat and rectangular and including scoring so that they may be broken into equal-
                                   sized pieces.

                 An applicant bears the burden of proving that a mark has acquired distinctiveness. See Yamaha Int’l Corp. v. Hoshino Gakki
Co., 840 F.2d 1572, 1578-79, 6 USPQ2d 1001, 1006 (Fed. Cir. 1988); In re Meyer & Wenthe, Inc., 267 F.2d 945, 949, 122 USPQ 372, 374-75
(C.C.P.A. 1959); TMEP §1212.01.

                 Applicants face a heavy burden in establishing distinctiveness in an application to register trade dress. See Stuart Spector
Designs,Ltd. v. Fender Musical Instruments Corp., 94 USPQ2d 1549 (TTAB 2009).

                 Moreover, the subdividing of a flat, rectangular candy bar into smaller, equal-sized, rectangular pieces with scoring is a very
common trade practice in the candy and chocolate industry. Therefore the degree of evidence to establish acquired distinctiveness is higher. See
generally, In re Kalmbach Publ’g Co. , 14 USPQ2d 1490 (TTAB 1989); In re Loew’s Theatres, Inc. , 769 F.2d 764, 226 USPQ 865, 869 (Fed.
Cir. 1985); Ex parte Fox River Paper Corp., 99 USPQ 173 (Comm’r Pats. 1953); TMEP §§1212.01, 1212.04(a) & 1212.05(a)

                 The examining attorney has made extensive evidence of record documenting that the use of flat rectangular shapes and the
inclusion of scoring to create segments of smaller equal-sized shapes are common trade practices in the candy and chocolate industry.


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         Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                      Page 53 of 163 PageID #:
                                                               34990

                 The examining attorney makes reference to and incorporates herein by reference a sample of representative web pages obtained
in a search of the Internet using the Google® computerized search engine for “chocolate” and/or “candy bars” in relation to “bite sized
segments” and attached to the first Office action dated November 24, 2009, and “chocolate candy bars” in relation to “scored” or “break-off”
and attached to the final Office action dated December 28, 2010. The referenced and/or excerpted articles demonstrate that producing candy bars

in a flat and rectangular shape with scoring to create segments of smaller equal-sized shapes is a common trade practice in the candy and
chocolate industry. Examples of flat, rectangular and scored candy bars of other chocolate and candy manufacturers include:
                 (1)   Pages 5-7 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Storz Nougat Praline as a flat, rectangular, and scored candy bar.
                 (2) Pages 7-9 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Dagoba Dark Chocolate as a flat, rectangular, and scored candy bar.
                 (3) Pages 10-11 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Kingsbury Chocolate Nib as a flat, rectangular, and scored candy bar.
                 (4) Pages 11-13 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Lake Champlain Peppermint Crunch as a flat, rectangular, and scored candy bar.
                 (5) Pages 21-22 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Lake Champlain Milk Chocolate Sea Salt and Almond Bar as a flat, rectangular, and scored candy bar.
                 (6) Pages 33-34 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Choxie Dark Chocolate Key Lime Truffle Bar as a flat, rectangular, and scored candy bar.
                 (7) Pages 36-37 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Chuao SpicyMaya as a flat, rectangular, and scored candy bar.
                 (8) Pages 42-43 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Dagoba Dark Chocolate Lime and Macademia Nuts as a flat, rectangular, and scored candy bar.
                 (9) Pages 51-53 of the examiner’s Office action dated November 24, 2009, from www.candybarlab.com/tag/hazelnut/, shows
                      Nestle Kit Kat Muscat of Alexandria as a flat, rectangular, and scored candy bar.
                 (10) Pages 31-32 of the examiner’s final Office action dated December 28, 2010, from www.godiva.com/product/large-31-
                      cacao-milk-chocolate-crispy-crunch-holida/id/2505.gdv, shows a flat, rectangular, and scored candy bar with a
                      corresponding description that provides, in part, “It’s scored into ten signature squares so that you can break off a little
                      piece of Godiva every day.”
                 (11)      Pages    47-48      of   the     examiner’s       final    Office action dated    December       28, 2010, from
                      www.bizrate.com/candy/oid1822216008, shows a flat, rectangular, and scored candy bar with a corresponding description
                      that provides, in part, “Each bar is scored so it’s easy to break up!”
                 (12) Page 56 of the examiner’s final Office action dated December 28, 2010, from www.farawayfoods.com/baking, shows a
                      flat, rectangular, and scored candy bar with a corresponding description that provides, in part, “Bars are pure chocolate,
                      scored for easy measuring.”

                 The applicant’s own evidence of record further documents that the use of flat rectangular shapes and the inclusion of scoring to
create segments of smaller equal-sized shapes are common trade practices in the candy and chocolate industry. Specifically, eleven of the
thirteen photographs of third-party candy bars included as exhibits in the applicant’s responses display flat, rectangular candy bars with scoring
to create segments of smaller equal-sized shapes.

                 The examining attorney makes reference to and incorporates herein by reference a sample of representative exhibits attached to

the applicant’s responses dated May 3, 2010, and November 25, 2010. The referenced exhibits further demonstrate that producing candy bars in
a flat and rectangular shape with scoring to create segments of smaller equal-sized shapes is a common trade practice in the candy and chocolate
industry. Examples of flat, rectangular and scored candy bars of other candy and chocolate manufacturers include:
                 (1) Page 45 of applicant’s response dated November 25, 2010, shows a candy bar by R. M. Palmer Candy Co. that is flat,
                    rectangular and scored with raised lines to create twelve smaller, equal-sized, rectangles arranged in a four panel by three
                    panel format.
                 (2) Page 8 of applicant’s response dated May 3, 2010, and page 6 of applicant’s response dated November 25, 2010,
                    demonstrate Newman’s Own produces a candy bar in a flat and rectangular shape with scoring to create segments of smaller
                    equal-sized shapes.
                 (3) Pages 9-10 of applicant’s response dated May 3, 2010, and page 69 of applicant’s response dated November 25, 2010,
                    demonstrate Theo produces several candy bars in a flat and rectangular shape with scoring to create segments of smaller

                                                                                                                                 118920
          Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                        Page 54 of 163 PageID #:
                                                              34991

                    equal-sized shapes
                 (4) Page 11 of applicant’s response dated May 3, 2010, and page 71 of applicant’s response dated November 25, 2010,
                    demonstrate Endangered Species Chocolate produces a candy bar in a flat and rectangular shape with scoring to create
                    segments of smaller equal-sized shapes.
                 (5) Pages 12-13 of applicant’s response dated May 3, 2010, and pages 71-72 of applicant’s response dated November 25,
                    2010, demonstrate Divine Milk Chocolate produces a candy bar in a flat and rectangular shape with scoring to create
                    segments of smaller equal-sized shapes.
                 (6) Page 15 of applicant’s response dated May 3, 2010, and page 73 of applicant’s response dated November 25, 2010,
                    demonstrate Doctor’s CarbRite Diet produces a candy bar in a flat and rectangular shape with scoring to create segments of
                    smaller equal-sized shapes.
                 (7) Pages 16-17 of applicant’s response dated May 3, 2010, and pages 73-74 of applicant’s response dated November 25,
                    2010, demonstrate Wegmans produces a candy bar in a flat and rectangular shape with scoring to create segments of smaller
                    equal-sized shapes.
                 (8) Page 18 of applicant’s response dated May 3, 2010, and page 74 of applicant’s response dated November 25, 2010,
                    demonstrate Green & Black’s produces a candy bar in a flat and rectangular shape with scoring to create segments of
                    smaller equal-sized shapes.


                 Given the nature of the applicant’s product trade dress mark and trade practices in the candy and chocolate industry, applicant
bears a very heavy burden in establishing acquired distinctiveness.

                         3.   Applicant’s claim of acquired distinctiveness is insufficient.

                 Applicant bases its Section 2(f) claim on (1) length and exclusivity of use of the mark in commerce; (2) ownership of prior US
Reg. No. 3668662; (3) advertising expenditures; (4) sales success; (5) unsolicited media coverage; (6) attempts to plagiarize; and, (7) public
recognition as purported to be demonstrated by the results of a consumer survey. As explained further below, applicant has failed to establish

acquired distinctiveness.
                 a. Applicant’s claim of acquired distinctiveness based upon five or more years’ continuous and exclusive use is insufficient.

                 With regard to the allegation of five years’ use, the Office has consistently found in relation to product design that a mere
statement of five years’ use is generally not sufficient. See In re Ennco Display Systems Inc., 56 USPQ2d, 1279, 1284 (TTAB 2000).

                 Moreover, applicant’s claim of exclusivity of use is without merit. The evidence of record demonstrates that use of the applied-
for design does not appear to be exclusive to the applicant. Applicant’s November 25, 2010, response included, at page 45, a photograph of a
candy bar by the R. M. Palmer Candy Co.[2] that is flat and rectangular, and scored by raised lines to create twelve smaller, equal-sized,
rectangles arranged in a four panel by three panel format. These features of the Palmer’ candy bar are identical to the applicant’s applied-for

mark.

                 Applicant characterizes this as an attempt to plagiarize and avers that the R. M. Palmer Candy Co. ceased making this design
upon the insistence of the applicant. However, applicant made no evidence of record documenting this. That is, the evidence is silent as to how

long Palmer used the design, what percentage of the market the Palmer candy bar has/had, and whether Palmer still makes and markets the
design.

                 Moreover, even assuming that Palmer ceased using the design at the demands of applicant, acquiescence to demands of
competitors to cease use of a term can be equally viewed as simply a desire to avoid litigation. See, e.g., In re Wella Corp., 565 F.2d 143, 144
n.2, 196 USPQ 7, 8 n.2 (C.C.P.A. 1977); In re Consolidated Cigar Corp., 13 USPQ2d 1481 (TTAB 1989).

                 Based upon the evidence of record, the Palmer’ candy bar may more appropriately be viewed as evidence that the applicant’s

use of the applied-for design was not exclusive.
                 b. Applicant’s claim of acquired distinctiveness based upon prior Registration Number 3668662 is inapposite.


                                                                                                                                   118921
          Case 4:19-cv-00358-ALM                      Document 789 Filed 03/26/25                       Page 55 of 163 PageID #:
                                                                 34992

                   Applicant’s claim of acquired distinctiveness based on ownership of prior US Reg. No. 3668662 is inapposite because the mark
in the prior registration is not the same mark as the applied-for mark and therefore does not support applicant’s claim of acquired
distinctiveness.

                   A claim of acquired distinctiveness may be based on an applicant’s ownership of one or more prior registrations of the same
mark on the Principal Register. 37 C.F.R. §2.41(b); TMEP §1212.04. An applied-for mark is considered the same mark if it is the legal
equivalent of the previously-registered mark. In re Dial-A-Mattress Operating Corp., 240 F.3d 1341, 1347, 57 USPQ2d 1807, 1812 (Fed. Cir.
2001); TMEP §1212.04(b).

                   To be legal equivalents, the applied-for mark must be indistinguishable from the previously-registered mark or create the same,
continuing commercial impression such that the consumer would consider them both to be the same mark. In re Brouwerij Bosteels, 96 USPQ2d
1414, 1423 (TTAB 2010); In re Nielsen Bus. Media, Inc., 93 USPQ2d 1545, 1547 (TTAB 2010); see In re Dial-A-Mattress Operating Corp., 240
F.3d at 1347, 57 USPQ2d at 1812; In re Binion, 93 USPQ2d 1531, 1539 (TTAB 2009); TMEP §1212.04(b).

                   In the present case, the applied-for mark and the mark in the prior registration are clearly distinguishable as not the same mark,
and thus are not legal equivalents, because the removal of the term HERSHEY from each smaller rectangle in the applied-for mark creates a

different commercial impression. Specifically, in Reg. No. 3668662, the four panel by three panel format was merely a border or carrier for the
now-distinctive surname HERSHEY that appeared within. In re Kerr-McGee Corp., 190 USPQ 204 (TTAB 1976) (claim of ownership of prior
registrations held insufficient to establish acquired distinctiveness where registration was refused on ground that the subject matter was merely an

ornamental border or “carrier” for words and symbols appearing within). [3]

                   Therefore, the prior registration does not support applicant’s claim of acquired distinctiveness because the applied-for mark and
the registered mark create different commercial impressions.
                   c.    Applicant’s allegations of high sales figures, allegations of extensive advertising, and samples of advertising, are of limited
                        probative value.

                   Applicant’s allegations of high sales figures, allegations of extensive advertising, and samples of advertising, are of limited
probative value in determining how the applied-for mark is used in advertising, the commercial impression created by such use, and the
significance the applied-for mark would have to perspective purchasers. See In re Boston Beer Co., 198 F.3d 1370, 53 USPQ2d 1056 (Fed. Cir.
1999); In re Packaging Specialists, Inc., 221 USPQ 917, 920 (TTAB 1984); TMEP §1212.06(b).

                   Applicant’s allegations of high sales figures provide no additional information to place those figures in context or evaluate
them. That is, the applicant has not indicated what percentage of the candy and chocolate market those figures represent. Moreover, extensive
sales may demonstrate the commercial success of applicant’s goods, but not that relevant consumers view the matter as a mark for such goods.
See In re Boston Beer Co., 198 F.3d 1370, 53 USPQ2d 1056 (Fed. Cir. 1999); In re Busch Entm’t Corp. , 60 USPQ2d 1130, 1134 (TTAB 2000).

                   Applicant’s advertising evidence consists of three copies each of the story boards from three television commercials, and
sixteen pages of print and/or online advertising.

                   Applicant’s three story boards are not actual advertisements as viewed by consumers. There is no information provided
regarding when the advertisements aired on television, for how long they were aired, how large of audience may have been exposed to the
commercials, or what percentage of viewers may have actually viewed the commercials. Moreover, there is nothing in how the applied-for mark
appears in the proffered storyboards which corroborates that the mark was used in applicant’s actual advertisements in such a way that it would
be recognized as a source identifier for candy and chocolate. That is, in each storyboard, buried amidst numerous photographs or artist’s


                                                                                                                                     118922
          Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                         Page 56 of 163 PageID #:
                                                              34993

drawings, is the occasional photograph or artist’s drawing of a candy bar bearing the applied-for configuration. Under each of the pictures there
is wording, but none of the wording discusses, or even notes, the configuration.

                 Of the remaining sixteen pages of print and/or online advertising, the first fifteen pages either do not display the mark applied-
for, or only display incomplete portions of the mark. The sixteenth page is from the applicant’s website and depicts an unwrapped candy bar
with a bite taken out of it. There is no other explanation of what this picture is, whether and/or how it is even advertising, who would see it, and
under what circumstances it would be seen. With regard to all sixteen pages of print and/or online advertising, there is nothing which
corroborates that the applied-for mark is used as a mark and/or would be recognized as a source identifier for candy and chocolate.

       d. Unsolicited Media Coverage

                 The applicant’s reliance on alleged unsolicited media coverage is unfounded. To establish secondary meaning, an applicant
must show that, in the minds of the public, the primary significance of a product feature or term is to identify the source of the product rather than
the product itself." Inwood Laboratories, Inc. v. Ives Laboratories, Inc., 456 U.S. 844, 851 N. 11, 214 USPQ 1, 4 n. 11 (1982). The issue is
whether acquired distinctiveness of the mark in relation to the goods or services has in fact been established in the minds of the purchasing
public. In re Reden Laboratories, Inc., 170 USPQ 526(TTAB 1971); In re Fleet-Wing Corp., 122 USPQ 335 (TTAB 1959).

                 Page 59 of applicant’s response dated November 25, 2010, from The Patriot News Co., discusses souvenirs relating to the Dave
Matthews Band. It provides, in relevant part, “…, there’s always the 2008 poster, which was designed to look like a Hershey chocolate bar.”
The poster is attached at page 60 of applicant’s response. While the poster does indicate that the concert was at Hersheypark in Hershey,
Pennsylvania, neither the applied-for mark nor chocolate are promoted by the poster. There is no promotion of a scored candy bar as a mark.
The article may demonstrate an association between the name Hershey and chocolate, but there is simply nothing about this article that

demonstrates public association of the applied-for mark as a source identifier for candy and chocolate.

                 Pages 56-58 of applicant’s response dated November 25, 2010, from Nextex Web Blogs, provides, in relevant part, “That’s

when the finished product’s silver metal slug approximately the size and shape of a Hershey’s chocolate bar drops into a galley tray… .” The
article does not discuss the applied-for mark. The article references a “Hersheys chocolate bar.” Hershey’s makes many different shapes and
sizes of chocolate bars. There is no indication that the author is discussing the design features at issue in the applied-for mark. Again, there is
nothing about this article that demonstrates public association of the applied-for mark as a source identifier for candy and chocolate.

                 Pages 52-54 of applicant’s response dated November 25, 2010, from Caro’s Ramblings , discusses shopping at Williams-
Sonoma and provides, in pertinent part, “I can’t just get cake pans; gotta do the brownies too!! The Chocolate Bar Brownie Pan: It’s like a
Hershey’s Bar with individual brownies.” This article deals extensively with Williams-Sonoma, the retailer of the brownie. The article is
directed to potential purchasers of brownie pans, not candy bars. The article does not discuss the applied-for mark’s features of being flat,
rectangular, and sub-divided into twelve smaller pieces in a four panel by three panel format. This article contains little or nothing that
demonstrates a public association of the applied-for mark as a source identifier for candy and chocolate.

                 The remaining article, at pages 47-51 of applicant’s response dated November 25, 2010, is from Baking Bites, and provides, in
part, “… a flat, rectangular bar divided up into bite-sized pieces that are easy to snap off. I don’t know that Hershey’s was the first chocolate
maker to use this design, … .” This article is also about the Williams-Sonoma brownie pan and is also directed to purchasers of brownie pans, not
candy bars. Moreover, the article indicates the author is aware that other chocolate makers also use the design. An article by and/or for
purchasers of brownie pans, that acknowledges use of the applied-for mark by competitors for identical goods, is of limited probative value in
determining whether purchasers of candy and chocolate primarily identify the applied-for mark as the source of candy and chocolate.


                                                                                                                                   118923
            Case 4:19-cv-00358-ALM                      Document 789 Filed 03/26/25                    Page 57 of 163 PageID #:
                                                                   34994

                  In short, the applicant’s proffered unsolicited media coverage is of limited or no probative value in evaluating whether, in the
minds of the purchasing public, the primary significance of the applied-for mark is to identify the source of candy and chocolate.

         e. Attempts to Plagiarize

                  Applicant’s arguments regarding the Williams Sonoma brownie pan are misplaced. In re Carl Walther GmbH, Serial No.
77096523 (T.T.A.B. Oct. 26, 2010), is not precedential. Moreover, brownie pans are not replicas of candy bars. They are separate and distinct
goods.

                  As discussed previously, the applicant’s allegations regarding the Palmer’ candy bar are not documented.       The evidence is

silent as to how long Palmer used the design, what percentage of the market the Palmer candy bar has/had, and whether Palmer still makes and
markets the design. Therefore, the evidence currently of record regarding the Palmer’ candy bar merely evidences that the applicant’s use of the
applied-for mark was not exclusive.

         f. Results of a consumer survey

                  With respect to survey evidence, applicant must document the procedural and statistical accuracy of this type of evidence and
carefully frame the questions contained therein. See In re Steelbuilding.com, 415 F.3d 1293, 1300, 75 YSPQ2d 1420, 1424 (Fed. Cir. 2005). In
this case, it is unclear whether the survey results are statistically accurate. Pertinent information is not provided or is unclear, including, whether
the survey results were audited by a reliable third party. Furthermore, survey results regarding public perception of the applied-for mark were
based upon responses from only 406 responses, but there is no explanation if or why this is a statistically significant sampling of customers.

Thus, while applicant’s survey evidence is relevant to establishing acquired distinctiveness and secondary meaning, it is not dispositive. Yankee
Candle Co., Inc. v. Bridgewater Candle Co., LLC, 259 F.3d 25, 37, 59 USPQ2d 1720, 1730 (1st Cir. 2001); TMEP §1212.06(d).

                  For all of the foregoing reasons, applicant’s claim of acquired distinctiveness under Trademark Act §2(f) is insufficient, and
registration is properly refused under Trademark Act §§1, 2 and 45 on the ground that the applied-for product design is non-distinctive trade
dress.

                                                                         CONCLUSION

                  For the foregoing reasons, the examining attorney respectfully requests that the function refusal under Trademark Act §2(e)(5),
15 U.S.C. §1052(e)(5), and the non-distinctive product design refusal under Trademark Act §§1, 2 and 45, 15 U.S.C. §§1051, 1052 and 1127, be
affirmed.

                                                  Respectfully submitted,

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                                                   Examining Attorney
                                                   Law Office 116
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                                                   Michael W. Baird
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                                                   Law Office 116



[1] Attachments to final Office action dated December 28, 2010, at pages 2-6.
[2] Hereinafter “Palmer”.
[3]

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          Case 4:19-cv-00358-ALM                        Document 789 Filed 03/26/25                             Page 58 of 163 PageID #:
                                                                   34995
    Moreover, it is not even clear from the record whether Reg. No. 3668662 is a three-dimensional trade dress mark or a two-dimensional design logo. If the latter,
this is yet another reason the marks are not legal equivalents. See, In re Brouwerij Bosteels, _ USPQ2d _, Ser. No. 77357895 (TTAB August 26, 2010)(three-
dimensional product packaging trade dress is not the legal equivalent of a two-dimensional design logo).




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          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 59 of 163 PageID #:
                                                               34996

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                          OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION


                   APPLICATION SERIAL NO.              77809223

                   MARK:
                                                                                   *77809223*
                   CORRESPONDENT ADDRESS:
                     Paul Llewellyn                                                CLICK HERE TO RESPOND TO THIS LETTER:
                     Kaye Scholer LLP                                              http://www.uspto.gov/teas/eTEASpageD.htm
                     425 Park Avenue
                     New York NY 10022

                  APPLICANT:            Hershey Chocolate & Confectionery
                Corpor ETC.

                   CORRESPONDENT’S REFERENCE/DOCKET NO :
                     29985-
                   CORRESPONDENT E-MAIL ADDRESS:




                                                                OFFICE ACTION

               STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S COMPLETE
RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE:

THIS IS A FINAL ACTION.

This letter responds to the applicant’s correspondence dated November 25, 2010.

The applicant (1) argued against the refusal to register the mark under Section 2(e)(5) as functional; (2) argued against the refusal to register the
mark under Trademark Act Sections 1, 2 and 45 as a non-distinctive configuration of goods; (3) argued the mark has acquired distinctiveness
under Section 2(f); and, (4) submitted evidence in support of the argument that the mark has acquired distinctiveness.

The refusal to register the mark under Section 2(e)(5) as a functional design, the refusal to register the mark under Trademark Act Sections 1, 2
and 45 as a non-distinctive configuration of goods, and the determination that the applicant has failed to establish that the mark has acquired
distinctiveness, are maintained and made final.

FUNCTIONAL

The refusal to register is maintained and made final because the applied-for mark, which consists of a three-dimensional configuration of the
goods, appears to be a functional design for such goods. Trademark Act Section 2(e)(5), 15 U.S.C. §1052(e)(5); see TMEP §1202.02(a)-(a)(ii).
A feature is functional if it is “essential to the use or purpose of the [product]” or “it affects the cost or quality of the [product].” TrafFix
Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 33, 58 USPQ2d 1001, 1006 (2001); Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 165,
34 USPQ2d 1161, 1163-64 (1995); TMEP §1202.02(a)(iii)(A).

Determining functionality normally involves consideration of one or more of the following factors, commonly known as the “ Morton-Norwich
factors”:

       (1)      The existence of a utility patent that discloses the utilitarian advantages of the design sought to be registered;

       (2)      Advertising by the applicant that touts the utilitarian advantages of the design;

       (3)      Facts pertaining to the availability of alternative designs; and


                                                                                                                                     118926
            Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                      Page 60 of 163 PageID #:
                                                                 34997


          (4)       Facts pertaining to whether the design results from a comparatively simple or inexpensive method of manufacture.

In re Morton-Norwich Prods., Inc., 671 F.2d 1332, 1340-41, 213 USPQ 9, 15-16 (C.C.P.A. 1982); TMEP §1202.02(a)(v).

The mark sought to be registered is a product configuration that “consists of twelve (12) equally-sized recessed rectangular panels arranged in a
four panel by three panel format with each panel having its own raised border within a large rectangle” for both “candy” and “chocolate.”
(Applicant’s description of the mark).

With regard to the first factor, US Patent No. 1,613,231, a patent for “candy confection and process of making the same” discloses utilitarian
advantages of a feature of the design sought to be registered. Specifically, scoring the bar to subdivide it into smaller, equal-sized, pieces makes
the bar easier to break into smaller, equal-sized pieces. This is useful when cooking because it facilitates proper measuring of the chocolate, and
when simply eating the chocolate where one does not desire to eat the entire bar or desires to share the bar with others. (See attached copy of
Patent No. 1,613,231).

The patent “invention relates to candy confections and to an improved process of making the same. The object of the invention is to produce a
candy confection comprising a layer of hard, frangible candy, which may be cut into pieces when cold, without dislodgement of pieces of said
frangible sheet or layer of appropriate size, even though it is broken in pieces in the cutting operation, and without affecting the size and shape of
the pieces into which the mat, as initially formed, is cut.” (See attachments).

Specifically, lines 75-92 provide, “Heretofore, as far as we are aware, it has been considered impracticable, if not impossible, to cut layers of
hard, frangible candy of the character of the layer 2 shown in the drawing, for the reason that the action of the knives or cutters would break the
candy into irregular pieces; and, where it is desired to subdivide a layer of such hard, frangible candy into pieces of desired small size, the
universal practice, so far as we are aware, has been to score said layers on lines corresponding to the desired shapes and sizes of the pieces,
before it is thoroughly cooled and while it is sufficiently plastic that it may be scored without breaking. The candy is then permitted to cool and
may then readily be broken into pieces along the lines on which it is scored.”

This patent still discloses a utilitarian advantage of a feature of the design sought to be registered. Specifically, the candy and chocolate has been
scored during the manufacturing process so that it may be broken into the desired preformed shapes and sizes rather than into irregular shapes
and sizes.

“Frangible” is defined as “Brittle, or designed to be easily broken.”    Encarta World English Dictionary [North American Edition]. Copyright
2009 by Microsoft Corporation. (See attachments).

“Score” is defined as “ to make a superficial cut or crease in something such as a piece of paper in order to fold, tear, or break it easily.”
Encarta World English Dictionary [North American Edition]. Copyright 2009 by Microsoft Corporation. (See attachments).

Both of the applicant’s identified goods, namely, candy and chocolate, can be brittle or designed to be easily broken. In addition, the creases
which subdivide the chocolate bars into twelve equal-sized pieces is a form of scoring. (See attached web pages discussing chocolate which is
scored specifically to facilitate the ease of breaking the chocolate bars).

The examining attorney searched the Internet using the Google® computerized search engine for “chocolate candy bars” in relation to “scored”,
and “chocolate candy bars” in relation to “break off”, and found thousands of articles.

Attached for the applicant’s reference are copies of representative web pages which demonstrate that candy bars which are subdivided in
smaller, equal-sized, sections are frequently described as “scored” and that the public generally perceives this scoring to serve the utilitarian
function of facilitating the easier breaking off of equal-sized smaller pieces, both for eating and for measuring for cooking purposes. Examples
concerning both the applicant’s goods and those of other chocolate and candy manufacturers include:

    (1)          www.epinions.com/review/Hershey_s_Milk_Chocolate_Bar: “Hershey’s milk chocolate bar is a flat, thin candy bar with a standard
                size of 1.55 oz. (43 grams). The flat bar is made entirely from milk chocolate and it is divided into twelve rectangular ‘pieces.’
                These pieces are all attached to each other in a 3 by 4 fashion to form the candy bar. This design makes it easy to break off smaller
                pieces and share them with others.”
    (2)           www.epinions.com/review/Hershey_Special_Dark_Chocolate_Bars_1_45_Oz_36_Bars: “Just like with the milk chocolate
                Hershey’s Bar, this one is also scored so that you can easily break off small sections of the candy bar.”
    (3)          www.godiva.com:             “It is scored into ten signature squares so you can break off a little piece of Godiva every day.”
    (4)           www.farawayfoods.com:                 “Available in semisweet, Scharffen Berger’s Home Chef Chocolate Bars are pure dark
                chocolate, scored for easy measuring.”
    (5)          www.bizrate.com:            “Blocks of rich dark chocolate made by Asher’s. Each bar is scored so it’s easy to break.”


                                                                                                                                   118927
          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                          Page 61 of 163 PageID #:
                                                               34998

The examining attorney notes that Patent No. 1,613,231 is expired. However, statements in a utility patent application or expired patent which
refer to utilitarian advantages of the design features at issue are persuasive evidence of functionality. The evidentiary significance of such
statements is not affected by whether the patent application is pending or abandoned, whether a utility patent issued from the application, or
whether the resulting patent has expired. See TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29-30, 58 USPQ2d 1001, 1005 (2001);
Valu Eng’g, Inc. v. Rexnord Corp. , 278 F.3d 1268, 1279, 61 USPQ2d 1422, 1429 (Fed. Cir. 2002); In re Howard Leight Indus., LLC, 80
USPQ2d 1507, 1511, 1514-16 (TTAB 2006); TMEP §1202.02(a)(v)(A).

The examining attorney also notes that Patent No. 1,613,231 was owned by a third party, however, a third-party utility patent is relevant evidence
of functionality when the patent discloses the utilitarian advantages of the applied-for product or product packaging configuration sought to be
registered. See In re Dietrich, 91 USPQ2d 1622, 1627 (TTAB 2009); Am. Flange & Mfg. Co. v. Rieke Corp., 80 USPQ2d 1397, 1404 (TTAB
2006); TMEP §1202.02(a)(v)(A).

Applicant argues that there is no evidence of record that the applicant has promoted the design as having utilitarian advantages.

Lack of advertising extolling or promoting utilitarian advantages of a design does not establish that a configuration is not functional. Moreover,
the examining attorney notes that throughout much of applicant’s commercial history, it has not utilized or relied on national advertising
campaigns. (See attachments indicating that applicant utilized relatively little national advertising until relatively recently in applicant’s business
history).

Applicant argues that functionally equivalent alternative designs are available.

Since the preservation of competition is an important policy underlying the functionality doctrine, competitive need generally remains an
important factor in a functionality determination. See Valu Engineering, Inc. v. Rexnord Corp., 278 F.3d 1268, 1277, 61 USPQ2d 1422, 1428
(Fed. Cir. 2002) (“[I]n determining ‘functionality,’ the Board must assess the effect registration of a mark would have on competition.”).
However, in TrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S. 23, 58 USPQ2d 1001 (2001), the Supreme Court clearly indicated that if
the record shows that a design is essential to the use or purpose of a product, or if it affects the cost or quality of the product, it is unnecessary to
consider whether there is a competitive need for the product feature. That is, existence of comparable alternative designs does not transform a
functional design into a nonfunctional design. Valu Engineering, Inc. v. Rexnord Corp., 278 F.3d 1268, at 1276, 61 USPQ2d at 1427.

In this case, the design is essential to the use of the product, namely, the configuration which subdivides the candy and/or a chocolate bars in
smaller, equally-sized, parts with recessed lines dividing the subdivisions is essential to being able to break the candy/chocolate into smaller,
equal sized pieces for both eating and measuring purposes. Accordingly, the existence of functionally equivalent alternative designs does not
obviate the proposed mark’s own functionality.

Applicant also argues that “the tooling and moulds for the framed segments of the Hershey design are more expensive to create than are the
tooling and moulds for other chocolate bar designs.” However, an applicant’s assertion that its design is more expensive or more difficult to
make does not establish that the configuration is not functional. In re Dietrich, 91 USPQ2d 1622, 1637 (TTAB 2009) (“[E]ven at a higher
manufacturing cost, applicant would have a competitive advantage for what is essentially . . . a superior quality wheel.”); In re Pingel Enter. Inc.,
46 USPQ2d 1811, 1821 (TTAB 1998) (“That applicant, despite the inherent advantages of a design which is simple and less expensive to
manufacture than other petcocks, has, however, deliberately chosen a more complex and expensive manner in which to manufacture its product
does not mean that the configuration thereof is not de jure functional.”); TMEP §1202.02(a)(v)(D); see In re Am. Nat’l Can Co. , 41 USPQ2d
1841, 1844-45 (TTAB 1997).

The Office must establish a prima facie case that the three-dimensional configuration mark sought to be registered is functional. The burden then
shifts to the applicant to present sufficient evidence to rebut the prima facie case. In re R.M. Smith, Inc., 734 F.2d 1482, 1484, 222 USPQ 1, 3
(Fed. Cir. 1984); In re Bio-Medicus Inc., 31 USPQ2d 1254, 1257 n.5 (TTAB 1993); TMEP §1202.02(a)(iv).

The applicant argues that the Office has not established a prima facie case that the three-dimensional configuration mark sought to be registered
is functional.

The examining attorney respectfully disagrees, and argues that the applicant has not submitted sufficient evidence to rebut the prima facie case.

For the foregoing reasons, the refusal to register the mark under Trademark Act Section 2(e)(5) as a functional design for goods is maintained
and made final.

A determination that an applied-for configuration mark is functional constitutes an absolute bar to registration on the Principal or Supplemental
Registers, regardless of any evidence of acquired distinctiveness. Trademark Act Sections 2(e)(5) and 23(c), 15 U.S.C. §§1052(e)(5), 1091(c);
see TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29, 58 USPQ2d 1001, 1006 (2001); In re Controls Corp. of Am., 46 USPQ2d
1308, 1311 (TTAB 1998); TMEP §1202.02(a)(iii)(A).


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          Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 62 of 163 PageID #:
                                                               34999

NONDISTINCTIVE CONFIGURATION – INSUFFICIENT EVIDENCE TO ESTABLISH ACQUIRED DISTINCTIVENESS UNDER
SECTION 2(f)

The refusal to register is maintained and made final because the applied-for mark consists of a nondistinctive product design or nondistinctive
features of a product design that is not registrable on the Principal Register without sufficient proof of acquired distinctiveness. Trademark Act
Sections 1, 2 and 45, 15 U.S.C. §§1051-1052, 1127; Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210, 213-14, 54 USPQ2d 1065,
1068-69 (2000); In re Slokevage, 441 F.3d 957, 961, 78 USPQ2d 1395, 1398 (Fed. Cir. 2006); see TMEP §1202.02(b)(i).

Distinctiveness and functionality are two separate issues in an application for a three-dimensional configuration mark consisting of a product
design, product packaging or other types of trade dress. See TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 58 USPQ2d 1001 (2001);
In re Ennco Display Sys., Inc., 56 USPQ2d 1279 (TTAB 2000); TMEP §1202.02.

The mark sought to be registered is a product configuration that “consists of twelve (12) equally-sized recessed rectangular panels arranged in a
four panel by three panel format with each panel having its own raised border within a large rectangle” for both “candy” and “chocolate.”
(Applicant’s description of the mark).

A mark that consists of product design trade dress is never inherently distinctive and is not registrable on the Principal Register unless the
applicant establishes that the mark has acquired distinctiveness under §2(f). Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210, 54
USPQ2d 1065, 1067 (2000). Features of a product’s design can never be inherently distinctive and are registrable only upon a showing of
secondary meaning. Id. at 213–14, 54 USPQ2d at 1069. The Supreme Court noted that product design almost invariably serves purposes other
than source identification, and that consumers are aware that even the most unusual product design (such as a cocktail shaker shaped like a
penguin) is intended not to identify the source, but to render the product itself more useful or appealing. Id.; TMEP §1202.02(b)(i).

The examining attorney searched the Internet using the Google® computerized search engine for “chocolate candy bars” in relation to “scored”,
and “chocolate candy bars” in relation to “break off”, and found thousands of articles.

Attached for the applicant’s reference are copies of representative web pages which demonstrate that the public generally perceives the
subdividing of candy bars with scoring into smaller, equal-sized sections to serve the utilitarian function of facilitating the easier breaking off of
equal-sized smaller pieces, both for eating and for measuring for cooking purposes. Examples concerning both the applicant’s goods and those
of other chocolate and candy manufacturers include:

        (1) www.epinions.com/review/Hershey_s_Milk_Chocolate_Bar: “Hershey’s milk chocolate bar is a flat, thin candy bar with a standard
            size of 1.55 oz. (43 grams). The flat bar is made entirely from milk chocolate and it is divided into twelve rectangular ‘pieces.’
            These pieces are all attached to each other in a 3 by 4 fashion to form the candy bar. This design makes it easy to break off smaller
            pieces and share them with others.”
        (2) www.epinions.com/review/Hershey_Special_Dark_Chocolate_Bars_1_45_Oz_36_Bars: “Just like with the milk chocolate
            Hershey’s Bar, this one is also scored so that you can easily break off small sections of the candy bar.”
        (3) www.godiva.com:              “It is scored into ten signature squares so you can break off a little piece of Godiva every day.”
        (4) www.farawayfoods.com:                 “Available in semisweet, Scharffen Berger’s Home Chef Chocolate Bars are pure dark chocolate,
            scored for easy measuring.”
        (5) www.bizrate.com:             “Blocks of rich dark chocolate made by Asher’s. Each bar is scored so it’s easy to break.”


Applicants face a heavy burden in establishing distinctiveness in an application to register trade dress. See Stuart Spector Designs,Ltd. v. Fender
Musical Instruments Corp., 94 USPQ2d 1549 (TTAB 2009). A mere statement of five years’ use is generally not sufficient. In re Ennco Display
Systems Inc., 56 USPQ2d 1279, 1284 (TTAB 2000); TMEP §1202.02(b)(i).

In response to this refusal, applicant argued that the applied-for mark has acquired distinctiveness under Trademark Act Section 2(f).

As evidence the applicant previously and/or again noted/submitted: (1) length and exclusivity of use of the mark in commerce; (2) ownership of
prior US Reg. No. 3668662; (3) advertising expenditures; (4) sales success; (5) unsolicited media coverage; (6) attempts to plagiarize; and, (7)
public recognition as purported to be demonstrated by the results of a consumer survey.

In this case, the applicant has failed to meet the burden of proving that the mark has acquired distinctiveness.

Because the subdividing of a rectangular piece of candy into smaller rectangular pieces of candy with break-off lines is so common and non-
distinctive in the candy industry, the claim of acquired distinctiveness based upon length of use and ownership of a prior US registration is
insufficient to prove acquired distinctiveness in this case. Additional evidence is required. See Ex parte Fox River Paper Corp., 99 USPQ 173
(Comm’r Pats. 1953); TMEP §1212.01. (See current attachments, attachments to Office Action dated September 24, 2010, and attachments to
applicant’s responses dated May 23 and November 25, 2010).


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         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 63 of 163 PageID #:
                                                              35000

With regard to the claim of acquired distinctiveness based upon Reg. No. 3668662, the examining attorney also notes that the marks are not the
same and, therefore, the mark in the prior registration does not support applicant’s claim of acquired distinctiveness because it is not the same
mark.

A claim of acquired distinctiveness may be based on an applicant’s ownership of one or more prior registrations of the same mark on the
Principal Register. 37 C.F.R. §2.41(b); TMEP §1212.04. An applied-for mark is considered the same mark if it is the legal equivalent of the
previously-registered mark. In re Dial-A-Mattress Operating Corp., 240 F.3d 1341, 1347, 57 USPQ2d 1807, 1812 (Fed. Cir. 2001); TMEP
§1212.04(b).

To be legal equivalents, the applied-for mark must be indistinguishable from the previously-registered mark or create the same, continuing
commercial impression such that the consumer would consider them both to be the same mark. In re Brouwerij Bosteels, 96 USPQ2d 1414, 1423
(TTAB 2010); In re Nielsen Bus. Media, Inc., 93 USPQ2d 1545, 1547 (TTAB 2010); see In re Dial-A-Mattress Operating Corp., 240 F.3d at
1347, 57 USPQ2d at 1812; In re Binion, 93 USPQ2d 1531, 1539 (TTAB 2009); TMEP §1212.04(b).

In the present case, the applied-for mark and the mark in the prior registration are not the same mark, and thus are not legal equivalents, because
the mark in Reg. No. 3668662 contains the term "HERSHEY'S" in each of the twelve panels. Therefore, the prior registration does not support
applicant’s claim of acquired distinctiveness and the claim is not accepted.

Applicant has provided evidence of high sales figures and significant advertising expenditures for the goods at issue; however, such evidence is
not dispositive of whether the proposed mark has acquired distinctiveness. Such extensive sales and promotion may demonstrate the commercial
success of applicant’s goods, but not that relevant consumers view the matter as a mark for such goods. See In re Boston Beer Co., 198 F.3d
1370, 53 USPQ2d 1056 (Fed. Cir. 1999); In re Busch Entm’t Corp. , 60 USPQ2d 1130, 1134 (TTAB 2000).

Similarly, applicant’s advertising expenditures are merely indicative of its efforts to develop distinctiveness; not evidence that the mark has
acquired distinctiveness. See In re Pennzoil Prods. Co., 20 USPQ2d 1753 (TTAB 1991). The examining attorney notes that none of the
applicant’s submitted advertisements seems to demonstrate what the applicant has done to promote the public’s association of the applied for
mark applied with the goods. Pictures of candy bars, or portions thereof, are present in the advertisements, but not in a manner that promotes the
configuration of the chocolate bars as a mark, or even in a manner that potential customers would perceive as a mark.

The applicant argues that attempts by a retailer to sell a brownie pan, and the resulting unsolicited media coverage, are evidence that the public
associates the configuration in the current mark with the applicant. The examining attorney respectfully disagrees. The attached copies of
representative web pages regarding the aforesaid incident tend to demonstrate that the public does not associate the applied for mark with the
applicant. Rather, the attached articles tend to demonstrate that the public questions the applicant’s assertions regarding the purported mark.
(See attachments).

Moreover, the attached web pages dealing with scored candy bars demonstrate that the public perceives the configuration to serve a utilitarian
feature that facilitates the easy breaking of the bars into uniform smaller pieces. Examples include:


       (1) www.epinions.com/review/Hershey_s_Milk_Chocolate_Bar: “Hershey’s milk chocolate bar is a flat, thin candy bar with a standard
           size of 1.55 oz. (43 grams). The flat bar is made entirely from milk chocolate and it is divided into twelve rectangular ‘pieces.’
           These pieces are all attached to each other in a 3 by 4 fashion to form the candy bar. This design makes it easy to break off smaller
           pieces and share them with others.”
       (2) www.epinions.com/review/Hershey_Special_Dark_Chocolate_Bars_1_45_Oz_36_Bars: “Just like with the milk chocolate
           Hershey’s Bar, this one is also scored so that you can easily break off small sections of the candy bar.”


Applicant’s survey evidence is relevant to establishing acquired distinctiveness and secondary meaning, but not dispositive. Yankee Candle Co.,
Inc. v. Bridgewater Candle Co., LLC, 259 F.3d 25, 37, 59 USPQ2d 1720, 1730 (1st Cir. 2001); TMEP §1212.06(d).

In this case, in view of all of the evidence of record, the applicant has not established acquired distinctiveness. Accordingly, the refusal to
register on the Principal Register as a nondistinctive feature of a product design under Trademark Act Sections 1, 2 and 45, is maintained and
made final.

GUIDELINES FOR RESPONDING TO A FINAL REFUSAL

If applicant does not respond within six months of the date of issuance of this final Office action, the application will be abandoned. 15 U.S.C.
§1062(b); 37 C.F.R. §2.65(a). Applicant may respond to this final Office action by:

       (1) Submitting a response that fully satisfies all outstanding requirements, if feasible; and/or

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          Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                         Page 64 of 163 PageID #:
                                                                35001


        (2) Filing an appeal to the Trademark Trial and Appeal Board, with an appeal fee of $100 per class.

37 C.F.R. §§2.6(a)(18), 2.64(a); TBMP ch. 1200; TMEP §714.04.

In certain rare circumstances, a petition to the Director may be filed pursuant to 37 C.F.R. §2.63(b)(2) to review a final Office action that is
limited to procedural issues. 37 C.F.R. §2.64(a); TMEP §714.04; see 37 C.F.R. §2.146(b); TBMP §1201.05; TMEP §1704 (explaining
petitionable matters). The petition fee is $100. 37 C.F.R. §2.6(a)(15).

TEAS PLUS APPLICANTS MUST SUBMIT DOCUMENTS ELECTRONICALLY OR SUBMIT FEE: Applicants who filed their application
online using the reduced-fee TEAS Plus application must continue to submit certain documents online using TEAS, including responses to Office
actions. For a complete list of these documents, see TMEP §819.02(b). In addition, such applicants must accept correspondence from the Office
via e-mail throughout the examination process and must maintain a valid e-mail address. 37 C.F.R. §2.23(a)(2); TMEP §§819, 819.02(a). TEAS
Plus applicants who do not meet these requirements must submit an additional fee of $50 per international class of goods and/or services. 37
C.F.R. §2.6(a)(1)(iv); TMEP §819.04. Responding by telephone to authorize an examiner’s amendment will not incur this additional fee.




                                                /John Dwyer/
                                                Examining Attorney
                                                Law Office 116
                                                Telephone 571-272-9155
                                                Facsimile 571-273-9116




TO RESPOND TO THIS LETTER: Use the Trademark Electronic Application System (TEAS) response form at
http://teasroa.uspto.gov/roa/. Please wait 48-72 hours from the issue/mailing date before using TEAS, to allow for necessary system updates of
the application. For technical assistance with online forms, e-mail TEAS@uspto.gov.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using Trademark Applications and Registrations Retrieval (TARR) at
http://tarr.uspto.gov/. Please keep a copy of the complete TARR screen. If TARR shows no change for more than six months, call
1-800-786-9199. For more information on checking status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/teas/eTEASpageE.htm.




                                                                                                                                      118931
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 65 of 163 PageID #:
                                    35002




                                                                         118932
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 66 of 163 PageID #:
                                    35003




                                                                         118933
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 67 of 163 PageID #:
                                    35004




                                                                         118934
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 68 of 163 PageID #:
                                    35005




                                                                         118935
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 69 of 163 PageID #:
                                    35006




                                                                         118936
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 70 of 163 PageID #:
                                    35007




                                                                         118937
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 71 of 163 PageID #:
                                    35008




                                                                         118938
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 72 of 163 PageID #:
                                    35009




                                                                         118939
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 73 of 163 PageID #:
                                    35010




                                                                         118940
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 74 of 163 PageID #:
                                    35011




                                                                         118941
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 75 of 163 PageID #:
                                    35012




                                                                         118942
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 76 of 163 PageID #:
                                    35013




                                                                         118943
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 77 of 163 PageID #:
                                    35014




                                                                         118944
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 78 of 163 PageID #:
                                    35015




                                                                         118945
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 79 of 163 PageID #:
                                    35016




                                                                         118946
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 80 of 163 PageID #:
                                    35017




                                                                         118947
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 81 of 163 PageID #:
                                    35018




                                                                         118948
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 82 of 163 PageID #:
                                    35019




                                                                         118949
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 83 of 163 PageID #:
                                    35020




                                                                         118950
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 84 of 163 PageID #:
                                    35021




                                                                         118951
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 85 of 163 PageID #:
                                    35022




                                                                         118952
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 86 of 163 PageID #:
                                    35023




                                                                         118953
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 87 of 163 PageID #:
                                    35024




                                                                         118954
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 88 of 163 PageID #:
                                    35025




                                                                         118955
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 89 of 163 PageID #:
                                    35026




                                                                         118956
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 90 of 163 PageID #:
                                    35027




                                                                         118957
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 91 of 163 PageID #:
                                    35028




                                                                         118958
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 92 of 163 PageID #:
                                    35029




                                                                         118959
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 93 of 163 PageID #:
                                    35030




                                                                         118960
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 94 of 163 PageID #:
                                    35031




                                                                         118961
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 95 of 163 PageID #:
                                    35032




                                                                         118962
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 96 of 163 PageID #:
                                    35033




                                                                         118963
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 97 of 163 PageID #:
                                    35034




                                                                         118964
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 98 of 163 PageID #:
                                    35035




                                                                         118965
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 99 of 163 PageID #:
                                    35036




                                                                         118966
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 100 of 163 PageID #:
                                    35037




                                                                         118967
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 101 of 163 PageID #:
                                    35038




                                                                         118968
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 102 of 163 PageID #:
                                    35039




                                                                         118969
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 103 of 163 PageID #:
                                    35040




                                                                         118970
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 104 of 163 PageID #:
                                    35041




                                                                         118971
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 105 of 163 PageID #:
                                    35042




                                                                         118972
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 106 of 163 PageID #:
                                    35043




                                                                         118973
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 107 of 163 PageID #:
                                    35044




                                                                         118974
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 108 of 163 PageID #:
                                    35045




                                                                         118975
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 109 of 163 PageID #:
                                    35046




                                                                         118976
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 110 of 163 PageID #:
                                    35047




                                                                         118977
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 111 of 163 PageID #:
                                    35048




                                                                         118978
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 112 of 163 PageID #:
                                    35049




                                                                         118979
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 113 of 163 PageID #:
                                    35050




                                                                         118980
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 114 of 163 PageID #:
                                    35051




                                                                         118981
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 115 of 163 PageID #:
                                    35052




                                                                         118982
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 116 of 163 PageID #:
                                    35053




                                                                         118983
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 117 of 163 PageID #:
                                    35054




                                                                         118984
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 118 of 163 PageID #:
                                    35055




                                                                         118985
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 119 of 163 PageID #:
                                    35056




                                                                         118986
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 120 of 163 PageID #:
                                    35057




                                                                         118987
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 121 of 163 PageID #:
                                    35058




                                                                         118988
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 122 of 163 PageID #:
                                    35059




                                                                         118989
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 123 of 163 PageID #:
                                    35060




                                                                         118990
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 124 of 163 PageID #:
                                    35061




                                                                         118991
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 125 of 163 PageID #:
                                    35062




                                                                         118992
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 126 of 163 PageID #:
                                    35063




                                                                         118993
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 127 of 163 PageID #:
                                    35064




                                                                         118994
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 128 of 163 PageID #:
                                    35065




                                                                         118995
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 129 of 163 PageID #:
                                    35066




                                                                         118996
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 130 of 163 PageID #:
                                    35067




                                                                         118997
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 131 of 163 PageID #:
                                    35068




                                                                         118998
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 132 of 163 PageID #:
                                    35069




                                                                         118999
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 133 of 163 PageID #:
                                    35070




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         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                         Page 134 of 163 PageID #:
                                                              35071

                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                          (Table presents the data on Amendment & Mail Processing Complete)


                                                                   OVERVIEW

SERIAL NUMBER                                      77809223                FILING DATE                                 08/20/2009

REG NUMBER                                          0000000                REG DATE                                       N/A

REGISTER                                           PRINCIPAL               MARK TYPE                                  TRADEMARK

INTL REG #                                                N/A              INTL REG DATE                                  N/A

TM ATTORNEY                                      DWYER, JOHN D             L.O. ASSIGNED                                  116



                                                                PUB INFORMATION

RUN DATE                            11/26/2010

PUB DATE                            N/A

STATUS                              661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                         11/25/2010

LITERAL MARK ELEMENT



DATE ABANDONED                                            N/A              DATE CANCELLED                                 N/A

SECTION 2F                                              YES                SECTION 2F IN PART                             NO

SECTION 8                                                 NO               SECTION 8 IN PART                              NO

SECTION 15                                                NO               REPUB 12C                                      N/A

RENEWAL FILED                                             NO               RENEWAL DATE                                   N/A

DATE AMEND REG                                            N/A



                                                                  FILING BASIS

                 FILED BASIS                                      CURRENT BASIS                                 AMENDED BASIS

1 (a)                          YES                1 (a)                               YES              1 (a)                    NO

1 (b)                          NO                 1 (b)                               NO               1 (b)                    NO

44D                            NO                 44D                                 NO               44D                      NO

44E                            NO                 44E                                 NO               44E                      NO

66A                            NO                 66A                                 NO

NO BASIS                       NO                 NO BASIS                            NO



                                                                  MARK DATA

STANDARD CHARACTER MARK                                                    NO

LITERAL MARK ELEMENT

MARK DRAWING CODE                                                          2-AN ILLUSTRATION DRAWING WITHOUT ANY
                                                                           WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                         NO



                                                     CURRENT OWNER INFORMATION




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         Case 4:19-cv-00358-ALM          Document 789 Filed 03/26/25                            Page 135 of 163 PageID #:
                                                    35072
PARTY TYPE                                                       10-ORIGINAL APPLICANT

NAME                                                             Hershey Chocolate & Confectionery Corporation

ADDRESS                                                          4860 Robb Street, Suite 204
                                                                 Wheat Ridge, CO 80033

ENTITY                                                           03-CORPORATION

CITIZENSHIP                                                      Delaware



                                                  GOODS AND SERVICES

INTERNATIONAL CLASS                                              030

       DESCRIPTION TEXT                                          Candy; Chocolate




                                       GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     030         FIRST USE DATE   12/31/1968        FIRST USE IN          12/31/1968            CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                           NO

COLORS CLAIMED STATEMENT                                         Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                              The mark is a configuration of a candy bar that consists of twelve (12) equally-sized
                                                                 recessed rectangular panels arranged in a four panel by three panel format with
                                                                 each panel having its own raised border within a large rectangle.

OWNER OF US REG NOS                                              3668662



                                                 PROSECUTION HISTORY

DATE                       ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

11/25/2010                 TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                         018

11/25/2010                 CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                     017

11/25/2010                 TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                   016

11/15/2010                 ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         015

11/15/2010                 REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     014

05/28/2010                 GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                 013

05/28/2010                 GNRT          O         NON-FINAL ACTION E-MAILED                                                                 012

05/28/2010                 CNRT          R         NON-FINAL ACTION WRITTEN                                                                  011

05/03/2010                 TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                         010

05/03/2010                 CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                     009

05/03/2010                 TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                   008

11/24/2009                 GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                 007

11/24/2009                 GNRT          F         NON-FINAL ACTION E-MAILED                                                                 006

11/24/2009                 CNRT          R         NON-FINAL ACTION WRITTEN                                                                  005

11/17/2009                 DOCK          D         ASSIGNED TO EXAMINER                                                                      004

08/25/2009                 MDSC          O         NOTICE OF DESIGN SEARCH CODE MAILED                                                       003

08/24/2009                 NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                      002

08/24/2009                 NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                           001



                                                                                                                                   119002
      Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25       Page 136 of 163 PageID #:
                                          35073


                           CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                     Paul Llewellyn

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DOMESTIC REPRESENTATIVE                      NONE




                                                                                   119003
Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 137 of 163 PageID #:
                                    35074




                                                                         119004
              Case 4:19-cv-00358-ALM                        Document 789 Filed 03/26/25             Page 138 of 163 PageID #:
                                                                       35075

PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 04/30/2011)


                                                             Response to Office Action


                                                     The table below presents the data as entered.

                                      Input Field                                                 Entered
 SERIAL NUMBER                                                   77809223
 LAW OFFICE ASSIGNED                                             LAW OFFICE 116
 MARK SECTION (no change)
 ARGUMENT(S)
 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

 Applicant:              Hershey Chocolate &           )      Law Office: 116
                         Confectionary Corporation     )
                                                       )
 Serial No.:              77/809223                   )       Examining Attorney: John Dwyer
                                                       )
 Filed:                   August 20, 2009             )
                                                       )
 Mark:                    Miscellaneous Design          )
                          (Recessed Rectangular        )
                          Panels)                      )

 RESPONSE TO OFFICE ACTION

 Kaye Scholer LLP respectfully submits this response to the Examining Attorney’s May 28, 2010 Office Action (the “Office Action”) on
 behalf of applicant Hershey Chocolate & Confectionary Corporation (“Applicant”).
 Applicant’s mark consists of the configuration of a rectangular candy bar with twelve (12) equally-sized recessed rectangular panels (each of
 which is of the same proportion, in terms of height and width, as the rectangular bar itself) arranged in a four panel by three panel format with
 each panel having its own raised border.

 The Office Action maintained, without any additional discussion or explanation, the November 24, 2009 office action’s refusal on the grounds
 that the mark purportedly is functional for the identified goods and consists of a non-distinctive product design. In addition, the Office Action
 refused registration on the ground that the Applicant allegedly has not provided sufficient evidence of acquired distinctiveness under
 Trademark Act Section 2(f).

 For the reasons set forth below, Applicant submits that the Examining Attorney has not carried his burden to show that the proposed mark is
 functional and the record evidence confirms that the mark is not functional, and has achieved acquired distinctiveness. Therefore, Applicant
 submits that this Application is fit for publication.



              I.             The Applied-For Design is Not Functional

 On November 24, 2009, the Examining Attorney issued an office action which concluded that the proposed mark was functional on the ground
 that “the shaping of the candy bar into equal sized pieces functions to enable consumers to break the candy into bite-sized pieces.” The
 Examiner requested evidence refuting the design’s functionality, which would show that the “configuration at issue provides no real
 utilitarian advantages to the user, but is one of many equally feasible, efficient and competitive designs.” November 24, 2009 Office Action.
 On May 3, 2010, Applicant responded and requested reconsideration, asserting that the “mark as a whole” was non-functional and attaching
 evidence of the “availability of . . . feasible alternative designs.” Moreover, Applicant maintained that no advertising for its products that
 embody the applied-for design described or promoted any utilitarian purpose. The evidence presented in its May 3, 2010 response, Applicant
 submits, constituted “sufficient evidence to rebut the examining attorney’s prima facie case of functionality.” Trademark Manual of
 Examining Proc. (7th ed. Oct. 2010) (“TMEP”), § 1202.02(a)(iv). However, in the May 28, 2010 Office Action, the Examiner did not address
 the substance of Applicant’s response. Moreover, additional evidence submitted herewith confirms beyond a doubt that the proposed mark is
 non-functional.

                                                                                                                                  119005
        Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                         Page 139 of 163 PageID #:
                                                             35076



               A.       Overview of Functionality Analysis

The functionality doctrine prevents trademark law, which seeks to promote competition, from inhibiting legitimate competition by allowing a
producer to control a useful product feature. A feature is functional if it is “essential to the use or purpose of the [product] or when it affects
the cost or quality of the [product].” TrafFix Devices, Inc. v. Marketing Displays, Inc., 58 U.S.P.Q.2d 1001, 532 U.S. 23, 33 (2001); see also
TMEP § 1202.02(a)(iii). When a mark is refused registration on functionality grounds, the Examining Attorney must establish a prima facie
case that the mark sought to be registered is functional, at which point the Applicant can overcome the refusal by presenting evidence that
rebuts the Examining Attorney’s prima facie case. TMEP § 1202.02(a)(iv).

A mark is not functional where the particular unique combination of elements embodied in the proposed mark does not disadvantage
competitors. See, e.g., In re Honeywell Inc., 8 U.S.P.Q.2d 1600, 1988 WL 252417 (T.T.A.B. 1988) (finding the fact that competitors did not
adopt applicant’s thermostat configuration after 17 years of use was evidence of nonfunctionality; finding no “evidence of use by competitors
. . . for so many years, despite applicant's apparent lack of any patent and trademark protection for it, we conclude that the number of
alternative designs available to competitors, although limited, is sufficient for this product”); Cartier, Inc. v. Four Star Jewelry Creations,
Inc., 348 F. Supp. 2d 217, 225 (S.D.N.Y. 2004) (defendants’ expert’s admission that a “bar on manufacturing a watch with a combination of
features composing Cartier’s trade dress as a whole would not seriously limit his options as a watch designer further substantiates the view
that the designs are nonfunctional”); Restatement Third, Unfair Competition §17, comment b (1995) (“The fact that the overall design or
combination contains individual features that are themselves functional does not preclude protection for the composite. . . . Protection of the
overall design, however, will not preclude others from adopting the functional constituents.”)

Moreover, even if one or more individual elements of an applied-for design serves a particular function, the overall aggregation, relationship
and arrangement of the features that comprise the design can be non-functional. “When the thing claimed as trade dress or a trademark
consists of a combination of individual design features, then it is the functionality of the overall combination that controls. Thus, an overall
design combination of individually functional items is protectable because while the pieces are individually functional, this particular
combination of those pieces is not functional.” McCarthy On Trademarks and Unfair Competition, § 7:76 (2010); KeyStone Retaining Wall
Sys., Inc. v. Westrock, Inc., 997 F.2d 1444, 1449 (Fed. Cir. 1993) (Regarding functionality, jury received appropriate instruction to “consider
the [trade dress] design as a whole and [] not focus on isolated elements of the design”; holding that the Ninth Circuit in Fuddruckers, Inc. v.
Doc's B.R. Others, Inc., 826 F.2d 837, 842 (9th Cir. 1987), was correct in stating that the proper inquiry is “whether the whole collection of
elements taken together are functional”); In re Chesebrough-Pond’s, Inc. , 224 U.S.P.Q. 967 (T.T.A.B. 1984) (where all individual aspects are
functional, the “overall composite design” can be nonfunctional).



               B.       There is No Evidence That Protection for the Applied-For Design Will Disadvantage Competitors.

The particular shapes and combination of the elements comprising Applicant’s applied-for mark are not necessary to the function which the
Board alleges bars registration, i.e., “enabl[ing] consumers to break the candy into bite-sized pieces,” and trademark protection for that
particular design will not prevent competitors from selling chocolate bars, or from selling chocolate bars that can be broken into bite-sized
pieces. Applicant’s applied-for mark, which consists of the configuration of a rectangular candy bar with twelve (12) equally-sized recessed
rectangular panels arranged in a four panel by three panel format with each panel having its own raised border, is merely one of a virtually
infinite number of ways to design a candy bar. As shown in the accompanying Declaration of Volker Kramer, dated November 23, 2010, and
as the third party designs proffered by the Examining Attorney show, there are many other ways to configure a candy bar, including many
other ways to configure a candy bar that is divided into segments. As demonstrated by the evidence of third party designs for chocolate bars in
the record, it is clear that a prohibition on the copying of the particular combination of elements that comprise Applicant’s applied-for mark
would not limit others’ abilities to manufacture chocolate bars.


               C.       Application of the Morton-Norwich Factors Confirms that Applicant’s Mark is Not Functional

When considering functionality, the Board applies the aforementioned basic principles of the functionality doctrine and also looks to the
factors set forth in In re Morton-Norwich Prods., Inc., 671 F.2d 1332, 1340-41, 213 U.S.P.Q. 9, 15-16 (CCPA 1982): (1) the existence of a
utility patent disclosing the utilitarian advantages of the design; (2) advertising materials in which the originator of the design touts the design's
utilitarian advantages; (3) the availability to competitors of functionally equivalent designs; and (4) facts indicating that the design results in a
comparatively simple or cheap method of manufacturing the product. Here, each factor weighs in favor of a finding of non-functionality.


                       1.       Applicant Has No Live, Expired or Abandoned Patents for the Design

The applied-for mark is not being claimed and has not been claimed in a design or utility patent of Applicant. (Declaration of Lois B.
Duquette, dated November 23, 2010 (“Duquette Decl.”) at ¶ 5.)

                                                                                                                                    119006
       Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                      Page 140 of 163 PageID #:
                                                           35077



                      2.       There Is No Evidence That Applicant Has Promoted the Design as Having Utilitarian Advantages.

Applicant submits a variety of advertising materials from the past several decades concerning its Hershey’s chocolate bar, the design for
which is the subject of the applied-for mark. (Duquette Decl. Ex. A.) None of the advertisements promotes the design of the bar as having
utilitarian advantages over any other configuration, and there is no evidence in the record of any such advertising.


                      3.       Alternative Designs Available Are Functionally Equivalent

A review of the third party designs in the record demonstrates that candy and chocolate bar manufacturers employ a limitless variety of bar
designs. Indeed, the Examiner has cited ample evidence of alternative designs utilized by Hershey’s competitors, all of which are equally
feasible, cost comparable alternatives to the design manufactured by Applicant. For example, Nestle, another significant candy seller, sells
Nestle Crunch Crisp, which, as depicted in the photograph attached by the Examiner in his Office Action, does not consist of any segments and
has only a coating of milk chocolate and “crispies.” Further, the Ritter Sport’s “Ritter Sport Milk Chocolate with Whole Hazelnuts,” another
third party product, also embodies an entirely different configuration than the applied-for design. Ritter Sport’s chocolate bar is comprised of
16 – not 12 – segments, in the shape of small squares - not rectangles, while the Kingsbury Chocolates Nib, manufactured by Artfully
Chocolate | Kingsbury Confections (“ACKC”), consists of 28 square segments, none of which feature recessed panels or borders around the
segments. (Attachments to November 24, 2009 Office Action).

Apart from the evidence submitted by the Examiner, Applicant submits with this response a declaration from Volker Kramer, who has many
years of experience in the business of designing and producing chocolate moulds for candy manufacturers in the United States and elsewhere,
and who attests that there are numerous alternative chocolate and candy bar designs available.[1] (Declaration of Volker Kramer, dated
November 23, 2010 (“Kramer Decl.”), at ¶¶ 3, 7, 11.) Mr. Kramer identifies, as exemplars only, at least eleven additional designs employed
by other chocolate and candy bar manufacturers – including many designs with segments – that are not the same as Applicant’s distinctive
configuration. The chocolate bars attached as Exhibit B to the Kramer Declaration and as attachments to the Examiner’s November 24, 2009
Office Action confirm that there are numerous other chocolate bars that are offered with:


               ·   bar shapes of different proportions (i.e., non-rectangular candy shape)

               See, e.g., Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Ferrero Kinder Bueno, Nestle Chokito,
               Divine Milk Chocolate 1.5 oz., Dove Silky Smooth Milk Chocolate.

               ·   a different number of segments

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate
               Lime, Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk
               Chocolate, Sea Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark
               Chocolate, Choxie Dark Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero,
               Newman’s Own Organics Milk Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate,
               Endangered Species Milk Chocolate, Divine Milk Chocolate 3.5 oz., Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet
               SugarFree Milk Chocolate Bar, Wegman’s Milk Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s
               Organic Milk Chocolate, Dove Silky Smooth Milk Chocolate.

               ·   a different layout of segments

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate
               Lime, Kingsbury Chocolates Nib, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark Chocolate,
               Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero, Newman’s Own Organics Milk Chocolate, Theo Organic Milk
               Chocolate, Theo Bread & Chocolate Dark Chocolate, Endangered Species Milk Chocolate, Divine Milk Chocolate 3.5 oz.,
               Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet SugarFree Milk Chocolate Bar, Wegman’s Milk Chocolate with
               Almonds, Wegman’s Milk Chocolate, Green & Black’s Organic Milk Chocolate, Dove Silky Smooth Milk Chocolate.

               ·   segments of different proportions

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate
               Lime, Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk
               Chocolate, Sea Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark
               Chocolate, Choxie Dark Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero,
               Newman’s Own Organics Milk Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate,
               Endangered Species Milk Chocolate, Divine Milk Chocolate 3.5 oz, Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet

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       Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 141 of 163 PageID #:
                                                            35078

               SugarFree Milk Chocolate Bar, Wegman’s Milk Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s
               Organic Milk Chocolate, Dove Silky Smooth Milk Chocolate.

               · segments with different three-dimensional proportions (i.e., pillow shaped, edges of segments lack, or have different heights
               of, borders, etc.) and/or designs embossed on each segment

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate
               Lime, Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk
               Chocolate, Sea Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark
               Chocolate, Choxie Dark Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero,
               Newman’s Own Organics Milk Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate,
               Endangered Species Milk Chocolate, Divine Milk Chocolate 3.5 oz., Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet
               SugarFree Milk Chocolate Bar, Wegman’s Milk Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s
               Organic Milk Chocolate, Dove Silky Smooth Milk Chocolate.

               ·     no segments at all

               See, e.g., Nestle Chokito, Nestle Crunch Crisp, Kit Kat Caramel, Nestle Milk Chocolate.

Mr. Kramer’s evidence corroborates the evidence identified by the Examiner which shows that numerous functionally equivalent alternative
designs are available. The examples listed above demonstrate that chocolate bars need not have: (1) segments, (2) 12 segments, (3) equally-
sized segments, (4) segments arranged in a four panel by three panel format, (5) segments that are of the same dimensional proportions as the
overall bar, (6) rectangularly shaped segments, or (7) recessed segments with raised borders. The fact that other major candy bars have
entirely different designs than the design used by Applicant is strong evidence that Applicant’s design does not give Applicant any advantage
over its competitors. Indeed, other brands of chocolate manufactured and sold by Applicant under different trade names (e.g., Dagoba Organic
Chocolate) utilize very different designs than the design of the applied-for mark. (See attachments to November 24, 2009 Office Action and
Duquette Decl. ¶ 19.) Moreover, the Examiner has not identified, and Applicant cannot identify, a competing product similar in design to
Applicant’s applied-for shape, which is further evidence that the proposed mark is not functional.


                         4.       Applicant’s Design Is Not a Result of “Simple or Cheap Method of Manufacturing” and Provides No
                         Utilitarian Advantage.

The applied-for design of the Applicant’s candy bar is not “one of few superior designs available.” (November 24, 2009 Office Action)
(emphasis added). The use of each element of Applicant’s chocolate bar design, and the overall combination of elements, are non-essential to
the manufacture of the bar and does not result in cheaper manufacturing. As Mr. Kramer explains, the tooling and moulds for the framed
segments of the Hershey design are more expensive to create than are the tooling and moulds for other chocolate bar designs. In fact, the
particular configuration of the Hershey design is no less costly to manufacture than other alternative segmented bar designs. (Kramer Decl. ¶¶
8 - 10.) See In re UDOR U.S.A., Inc., Serial No. 78867933, 2009 T.T.A.B. LEXIS 61, at *17-18 (T.T.A.B. Mar. 4, 2009) (noting that if the
applicant had adopted a different configuration, one which “may well have resulted in increased costs and major inefficiencies in the
manufacturing and shipping processes” then applicant’s design would present a “stronger case for being a non-functional source-identifier --
a shape that is ‘uneconomical or otherwise disadvantageous’”) (internal citation omitted); Cartier, Inc. v. Four Star Jewelry Creations, Inc.,
348 F. Supp. 2d 217, 225 (S.D.N.Y. 2004) (if evidence indicates that “many of the trade dress features [actually] increase the time, difficulty
and cost involved in their manufacture,” the designs are less likely to be found to serve a “functional, essential, or cost-saving role in the
manufacture of” the design at issue.)

In sum, based on the analysis above, it is clear that the distinctive design of Applicant’s chocolate bar is (1) unique to Applicant, and (2) not
required by the functional aspects of the product.



       II.         Applicant Submits Substantial and Compelling Evidence of Acquired Distinctiveness

Applicant also respectfully submits that its three-dimensional product configuration mark has acquired distinctiveness required under Wal-
Mart Stores, Inc. v. Samara Bros. Inc., 529 U.S. 205 (2000). Acquired distinctiveness, or secondary meaning, exists if a substantial number of
purchasers or prospective purchasers associate the design with a single source. Six factors are relevant to determining whether a product’s
design has acquired secondary meaning: 1) the length and exclusivity of the mark’s use; 2) advertising expenditures; 3) sales success; 4)
unsolicited media coverage of the product; 5) consumer studies linking the mark to a source; and 6) attempts to plagiarize the mark. Nautilus
Group, Inc. v. Icon Health & Fitness, Inc., 372 F.3d 1330, 1340 n.7 (Fed. Cir. 2004); Coach Servs. v. Triumph Learning LLC, Serial Nos.
78535642/78536143, 2010 T.T.A.B. LEXIS 383, at *62 (T.T.A.B. Sept. 17, 2010). Each of these factors strongly favors a finding of
secondary meaning here.



                                                                                                                                  119008
       Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                       Page 142 of 163 PageID #:
                                                            35079

               A.      The Length and Exclusivity of the Mark’s Use

First, the applied-for chocolate bar design has been in use for more than 42 years, as Applicant began manufacturing, distributing, and selling
the Hershey’s Milk Chocolate bar in this product configuration in 1968. (Duquette Decl. ¶ 4.) See In re Uncle Sam Chemical Co., Inc., 229
U.S.P.Q. 233 (T.T.A.B. 1986)) (finding that a “declaration attesting to over eighteen years of substantially exclusive and continuous use of the
term together with evidence of considerable sales of products sold under the mark is sufficient to support a claim of acquired distinctiveness”).
 For over forty years, Applicant has sold its milk chocolate bar in the applied-for product configuration, namely twelve equally-sized recessed
rectangular panels arranged in a four panel by three panel format with each panel having its own raised border within a large rectangle.
(Duquette Decl. ¶ 4.) The long period of continuous and exclusive use by Applicant of its applied-for design indicates that its product design
has acquired secondary meaning.


               B.      Advertising Expenditures

Applicant also heavily advertises and promotes its product design. Applicant’s licensee has spent more than $186 million nationwide in
advertising its products embodying the applied-for design in the past 24 years. (Duquette Decl. ¶ 7.) Many of Applicant’s advertisements
prominently depict the shape of its chocolate bar which imbue the configuration with source-identifying significance and, indeed, the bar’s
individual segments are featured on many Hershey bar packages and other advertising. (Id., ¶ 9 & Ex. A.) Applicant’s advertisements appear
in national publications, on national television, on the internet and in several other media outlets. (Id., ¶ 8.) Advertisements prominently
featuring the alleged product configuration are often cited as evidence of secondary meaning. See Callaway Golf Co. v. Golf Clean, Inc., 915
F. Supp. 1206, 1213 (M.D. Fla. 1995) (holding that over $5,000,000 spent in advertising that prominently featured club head was significant
factor in finding of secondary meaning for a gold club design); General Foods Corp. v. MGD Partners, 1984 T.T.A.B. LEXIS 38, Serial No.
153,102, at *25-26 (T.T.A.B. Sept. 28, 1984) (finding that applicant has demonstrated secondary meaning based on various facts including
“large volume of advertising and sales activity” since product inception).



               C.      Sales Success

Since 1998, aggregate or total sales to consumers have exceeded $4 billion. Applicant’s Hershey’s candy bars are sold throughout all fifty
states. (Duquette Decl. ¶ 6.) Thus, the applied-for mark is well recognized as belonging to Applicant and has become associated directly with
Applicant’s quality products due to Applicant’s consistent, extensive and exclusive use. With such widespread and consistent use of the
design, and the fact that Applicant continues to sell its chocolate bar embodying the applied-for design in mass quantities today, acquired
distinctiveness can be easily found.



               D.      Unsolicited media coverage of the Hershey Chocolate Bar Design

The shape and design of the Hershey’s chocolate bar has also been the subject of favorable unsolicited media recognition. For example, at the
food blog http://bakingbites.com/2009/01/chocolate-bar-brownie-pan, a website devoted to baking and cooking, the author features a brownie
pan sold by Williams Sonoma which results in brownies that: “use[] the iconic look of the chocolate candy bar” and associates the “iconic
look” with that of Hershey’s chocolate bars, stating that “[w]hether you’re a fan of Hershey’s chocolate bars or not, it’s design is
undeniably a classic confectionery icon: a flat, rectangular bar divided up into bite-sized pieces. . .” The brownie pan (an attempt to plagiarize
the Applicant’s mark, as discussed below), which does not used Applicant’s famous HERSHEY’S trademark, was also featured on another
blog, found at http://www.chocolateysprinkles.com/2009/06/01/williams-sonoma/, in which the author announces his excitement for the
Williams Sonoma brownie pan and observes that “It’s like a Hershey’s bar with individual brownies.” (Duquette Decl. Exs. D & E, at ¶¶
15-16.) Significantly, consumers who encountered the Williams Sonoma pan in the distinctive shape and design for which Applicant now
seeks to obtain a trademark registration recognized immediately that it produces brownies that looked like Hershey’s chocolate bar product
embodying that design. This is compelling evidence of an association in the minds of the purchasing public of the applied-for design with the
source of the product.

The configuration of the Hershey’s chocolate bar is also called to mind by others in connection with goods in a variety of other contexts
which is still further evidence of a consumer recognition of the applied-for design and an association of the design with its source. For
example, one writer likened the size of a “silver metal slug” that is produced by a typesetting machine to “the size and shape of a Hershey’s
chocolate bar,” while another reporter noted that posters for the Dave Matthews Band, that are “designed to look like a Hershey chocolate bar,
” were for sale. (Duquette Decl. ¶ 17 & Ex. F.)


               E.      Attempts to Plagiarize

Attempts by others to plagiarize the mark also confirm it has achieved secondary meaning. Applicant has, on several occasions, learned of

                                                                                                                                 119009
       Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                      Page 143 of 163 PageID #:
                                                           35080

attempts by others to use the distinctive shape of its HERSHEY’S chocolate bar without permission. For example, the brownie baking pan,
discussed above, which was described as a “chocolate bar brownie pan,” recently was distributed and sold without Hershey’s permission by
retailer Williams Sonoma. After Hershey sued for trademark infringement on May 11, 2010, the parties ultimately settled their dispute by
agreement and Hershey agreed to license its distinctive Hershey design -- see Exhibit B to Duquette Decl. at ¶ 12 -- which is additional
evidence that the applied-for mark has obtained the acquired distinctiveness in the minds of the public. In re Carl Walther GmbH, Serial No.
77096523 (T.T.A.B. Oct. 26, 2010) (“The fact that the PPK handgun design is sought after and licensed to a maker of replica products has
been recognized as one type of evidence that helps establish that a configuration or trade dress mark has become distinctive.”).
Similarly, Applicant’s design was copied by another candy company, R.M. Palmer Candy Co. (“R.M. Palmer”) which, after Hershey
objected, agreed to cease use of the objected-to design. (Id., ¶ 13 & Ex. C.)


               F.     Federal Trademark Registration of the Well-Known Design of the Famous HERSHEY’S Chocolate Bar (with
               the word “HERSHEY’S”)

Hershey owns an existing registration, Registration No. 3668662, for a design and word mark in class 30, that consists of the subject design
mark, plus letters spelling ‘Hershey’s’ in each recessed panel.” See Duquette Decl. ¶ 18 & Ex. G. The only difference between the applied-
for mark and this existing registration is the inclusion of the word “HERSHEY’S” on each chocolate bar segment; that is, the prior
registration covers both the word “HERSHEY’S” and the design of the bar. The Trademark Office did not require Hershey to disclaim the
design elements of the mark in Registration No. 3668662. Therefore, by not requiring a disclaimer, the Trademark Office conceded that the
design elements had achieved secondary meaning.


               G.      Survey Evidence of Secondary Meaning

While all of the foregoing evidence, standing alone, is sufficient to establish secondary meaning in the applied-for design, Applicant also
submits a consumer survey conducted by Robert L. Klein that confirms the distinctiveness of its product design. The survey corroborates
Applicant’s strong showing of secondary meaning.
Applicant’s survey was conducted Robert L. Klein, a recognized market research expert who has previously credited by the Board ( see, e.g.,
National Pork Board v. Supreme Lobster and Seafood Co., 96 U.S.P.Q.2d 1479 (T.T.A.B. June 11, 2010), and followed accepted protocols for
the measurement of secondary meaning. In the survey’s text cell, 83.8% of likely purchasers of chocolate bars identified a chocolate bar
embodying the applied-for design (and not including the HERSHEY’S word mark) as emanating from a single source, namely Hershey.
(Report of Robert L. Klein dated November 22, 2010, at pp. 3, 9) Even after the results of a control cell were subtracted, over 42% of likely
purchasers identified Hershey as the sole source of a chocolate bar embodying the applied-for design. These results are compelling evidence
of secondary meaning. See 37 C.F.R. § 2.41(a); Tone Bros. v. Sysco Corp., 28 F.3d 1192, 1203-04 (Fed. Cir. 1994) (holding that 37% of
survey respondents identifying trade dress with a single manufacturer was sufficient evidence of secondary meaning); McNeil-PPC v.
Granutec, Inc., 919 F. Supp. 198, 37 U.S.P.Q.2d 1713 (E.D.N.C. 1995) (where 41% associated red and yellow capsules with a single brand
and 38% identified that brand as TYLENOL, court found sufficient proof of secondary meaning in the red and yellow capsule colors);
Monsieur Henri Wines, Ltd. Et Al. v. Duran, 204 U.S.P.Q. 601, 606, 1979 WL 24898 (T.T.A.B. 1979) (survey evidence showing 37%
association of brand with background design corroborated finding that opposer’s mark had “come to serve in and of itself as a strong
indication of origin”).

In sum, Applicant respectfully requests that the refusal based on non-distinctiveness be set aside and that the Examining Attorney approve the
application for publication.


CONCLUSION

For the foregoing reasons, Applicant respectfully submits that the Examining Attorney has not met its burden to show that the proposed mark
is functional, and that the Applicant has shown that the proposed mark has acquired distinctiveness. Accordingly, Applicant respectfully
submits that this application is in condition for publication. Favorable action is therefore requested.


The PTO is authorized to collect any fees necessitated by this Response from the deposit account of Applicant’s attorneys, Kaye Scholer LLP,
Deposit Account No. 11-0228.



[1]       Courts routinely consider credible testimony submitted in support of non-functionality. See Cartier, Inc. v. Four Star Jewelry
Creations, Inc., 348 F. Supp. 2d 217, 224 (S.D.N.Y. 2004) (finding testimony from Cartier’s director of watch marketing regarding the
“aesthetic value conveyed by the design of the watch” credible, which emphasized that “functional superiority [was] not among Cartier’s
objectives”); General Motors Corp. v. Lanard Toys, Inc., 468 F.3d 405, 417 (6th Cir. 2006) (finding statements by the General Motors Senior


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       Case 4:19-cv-00358-ALM                  Document 789 Filed 03/26/25                     Page 144 of 163 PageID #:
                                                          35081

Vice President of Engineering and Product Development that the “Government’s technical specification did not address the exterior
appearance or the styling of the [Hummer/Humvee] vehicle.”


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   CONVERTED PDF FILE(S)
                                                       \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0002.JPG
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   CONVERTED PDF FILE(S)
                                                       \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0008.JPG
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   CONVERTED PDF FILE(S)
                                                       \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0028.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0033.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0034.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0035.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0036.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0037.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0038.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0039.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0040.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0041.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0042.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0043.JPG
ORIGINAL PDF FILE                evi_9820418729-103538399_._Duquette_Exhibit_C.pdf
CONVERTED PDF FILE(S)
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0044.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0045.JPG
ORIGINAL PDF FILE                evi_9820418729-103538399_._Duquette_Exhibit_D.pdf
CONVERTED PDF FILE(S)
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0046.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0047.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0050.JPG
ORIGINAL PDF FILE                evi_9820418729-103538399_._Duquette_Exhibit_E.pdf
CONVERTED PDF FILE(S)
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0051.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0052.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0054.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0061.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0062.JPG
ORIGINAL PDF FILE                evi_9820418729-103538399_._Executed_Kramer_Declaration_with_exhibits.pdf
CONVERTED PDF FILE(S)
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0063.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0064.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0065.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0066.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0075.JPG
ORIGINAL PDF FILE                evi_9820418729-103538399_._Robert_Klein_Report.pdf
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0076.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0077.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0081.JPG
                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0082.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0087.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0089.JPG
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                                 \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0091.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0096.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0097.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0098.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0099.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0100.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0101.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0102.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0103.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0104.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0105.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0106.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0108.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0109.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0110.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0111.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0116.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0118.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0123.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0124.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0125.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0126.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0132.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0160.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0161.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0162.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0163.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0164.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0166.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0171.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0172.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0173.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0174.JPG
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                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0176.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0177.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0178.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0179.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0180.JPG
                              \\TICRS\EXPORT11\IMAGEOUT11\778\092\77809223\xml2\ROA0181.JPG
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                                    Declaration of Lois B. Duquette, Esq. and Exhibits A to G; Declaration of Volker
DESCRIPTION OF EVIDENCE FILE        Kramer and Exhibits A to B; Report of Robert L. Klein: Secondary Meaning Survey
                                    Methodology and Results
SIGNATURE SECTION
RESPONSE SIGNATURE                  /Paul Llewellyn/
SIGNATORY'S NAME                    Paul Llewellyn
SIGNATORY'S POSITION                Attorney of record
DATE SIGNED                         11/25/2010
AUTHORIZED SIGNATORY                YES
FILING INFORMATION SECTION
SUBMIT DATE                         Thu Nov 25 10:58:25 EST 2010
                                    USPTO/ROA-XX.XXX.XXX.XX-2
                                    0101125105825117833-77809
TEAS STAMP                          223-47076b7e8e5436de1b720
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              Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                Page 151 of 163 PageID #:
                                                                    35088




PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 04/30/2011)



                                                              Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 77809223 has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Applicant:             Hershey Chocolate &          )      Law Office: 116
                       Confectionary Corporation    )
                                                    )
Serial No.:             77/809223                  )       Examining Attorney: John Dwyer
                                                    )
Filed:                  August 20, 2009            )
                                                    )
Mark:                   Miscellaneous Design         )
                        (Recessed Rectangular       )
                        Panels)                     )

RESPONSE TO OFFICE ACTION

Kaye Scholer LLP respectfully submits this response to the Examining Attorney’s May 28, 2010 Office Action (the “Office Action”) on behalf
of applicant Hershey Chocolate & Confectionary Corporation (“Applicant”).
Applicant’s mark consists of the configuration of a rectangular candy bar with twelve (12) equally-sized recessed rectangular panels (each of
which is of the same proportion, in terms of height and width, as the rectangular bar itself) arranged in a four panel by three panel format with
each panel having its own raised border.

The Office Action maintained, without any additional discussion or explanation, the November 24, 2009 office action’s refusal on the grounds
that the mark purportedly is functional for the identified goods and consists of a non-distinctive product design. In addition, the Office Action
refused registration on the ground that the Applicant allegedly has not provided sufficient evidence of acquired distinctiveness under Trademark
Act Section 2(f).

For the reasons set forth below, Applicant submits that the Examining Attorney has not carried his burden to show that the proposed mark is
functional and the record evidence confirms that the mark is not functional, and has achieved acquired distinctiveness. Therefore, Applicant
submits that this Application is fit for publication.



            I.           The Applied-For Design is Not Functional

On November 24, 2009, the Examining Attorney issued an office action which concluded that the proposed mark was functional on the ground
that “the shaping of the candy bar into equal sized pieces functions to enable consumers to break the candy into bite-sized pieces.” The
Examiner requested evidence refuting the design’s functionality, which would show that the “configuration at issue provides no real utilitarian
advantages to the user, but is one of many equally feasible, efficient and competitive designs.” November 24, 2009 Office Action.
On May 3, 2010, Applicant responded and requested reconsideration, asserting that the “mark as a whole” was non-functional and attaching
evidence of the “availability of . . . feasible alternative designs.” Moreover, Applicant maintained that no advertising for its products that
embody the applied-for design described or promoted any utilitarian purpose. The evidence presented in its May 3, 2010 response, Applicant
submits, constituted “sufficient evidence to rebut the examining attorney’s prima facie case of functionality.” Trademark Manual of Examining
Proc. (7th ed. Oct. 2010) (“TMEP”), § 1202.02(a)(iv). However, in the May 28, 2010 Office Action, the Examiner did not address the substance
of Applicant’s response. Moreover, additional evidence submitted herewith confirms beyond a doubt that the proposed mark is non-functional.




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         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 152 of 163 PageID #:
                                                              35089

               A.       Overview of Functionality Analysis

The functionality doctrine prevents trademark law, which seeks to promote competition, from inhibiting legitimate competition by allowing a
producer to control a useful product feature. A feature is functional if it is “essential to the use or purpose of the [product] or when it affects the
cost or quality of the [product].” TrafFix Devices, Inc. v. Marketing Displays, Inc., 58 U.S.P.Q.2d 1001, 532 U.S. 23, 33 (2001); see also TMEP
§ 1202.02(a)(iii). When a mark is refused registration on functionality grounds, the Examining Attorney must establish a prima facie case that
the mark sought to be registered is functional, at which point the Applicant can overcome the refusal by presenting evidence that rebuts the
Examining Attorney’s prima facie case. TMEP § 1202.02(a)(iv).

A mark is not functional where the particular unique combination of elements embodied in the proposed mark does not disadvantage
competitors. See, e.g., In re Honeywell Inc., 8 U.S.P.Q.2d 1600, 1988 WL 252417 (T.T.A.B. 1988) (finding the fact that competitors did not
adopt applicant’s thermostat configuration after 17 years of use was evidence of nonfunctionality; finding no “evidence of use by competitors . .
. for so many years, despite applicant's apparent lack of any patent and trademark protection for it, we conclude that the number of alternative
designs available to competitors, although limited, is sufficient for this product”); Cartier, Inc. v. Four Star Jewelry Creations, Inc., 348 F. Supp.
2d 217, 225 (S.D.N.Y. 2004) (defendants’ expert’s admission that a “bar on manufacturing a watch with a combination of features composing
Cartier’s trade dress as a whole would not seriously limit his options as a watch designer further substantiates the view that the designs are
nonfunctional”); Restatement Third, Unfair Competition §17, comment b (1995) (“The fact that the overall design or combination contains
individual features that are themselves functional does not preclude protection for the composite. . . . Protection of the overall design, however,
will not preclude others from adopting the functional constituents.”)

Moreover, even if one or more individual elements of an applied-for design serves a particular function, the overall aggregation, relationship and
arrangement of the features that comprise the design can be non-functional. “When the thing claimed as trade dress or a trademark consists of a
combination of individual design features, then it is the functionality of the overall combination that controls. Thus, an overall design
combination of individually functional items is protectable because while the pieces are individually functional, this particular combination of
those pieces is not functional.” McCarthy On Trademarks and Unfair Competition, § 7:76 (2010); KeyStone Retaining Wall Sys., Inc. v.
Westrock, Inc., 997 F.2d 1444, 1449 (Fed. Cir. 1993) (Regarding functionality, jury received appropriate instruction to “consider the [trade dress]
design as a whole and [] not focus on isolated elements of the design”; holding that the Ninth Circuit in Fuddruckers, Inc. v. Doc's B.R. Others,
Inc., 826 F.2d 837, 842 (9th Cir. 1987), was correct in stating that the proper inquiry is “whether the whole collection of elements taken together
are functional”); In re Chesebrough-Pond’s, Inc. , 224 U.S.P.Q. 967 (T.T.A.B. 1984) (where all individual aspects are functional, the “overall
composite design” can be nonfunctional).



               B.       There is No Evidence That Protection for the Applied-For Design Will Disadvantage Competitors.

The particular shapes and combination of the elements comprising Applicant’s applied-for mark are not necessary to the function which the
Board alleges bars registration, i.e., “enabl[ing] consumers to break the candy into bite-sized pieces,” and trademark protection for that particular
design will not prevent competitors from selling chocolate bars, or from selling chocolate bars that can be broken into bite-sized pieces.
Applicant’s applied-for mark, which consists of the configuration of a rectangular candy bar with twelve (12) equally-sized recessed rectangular
panels arranged in a four panel by three panel format with each panel having its own raised border, is merely one of a virtually infinite number of
ways to design a candy bar. As shown in the accompanying Declaration of Volker Kramer, dated November 23, 2010, and as the third party
designs proffered by the Examining Attorney show, there are many other ways to configure a candy bar, including many other ways to configure
a candy bar that is divided into segments. As demonstrated by the evidence of third party designs for chocolate bars in the record, it is clear that
a prohibition on the copying of the particular combination of elements that comprise Applicant’s applied-for mark would not limit others’
abilities to manufacture chocolate bars.



               C.       Application of the Morton-Norwich Factors Confirms that Applicant’s Mark is Not Functional

When considering functionality, the Board applies the aforementioned basic principles of the functionality doctrine and also looks to the factors
set forth in In re Morton-Norwich Prods., Inc., 671 F.2d 1332, 1340-41, 213 U.S.P.Q. 9, 15-16 (CCPA 1982): (1) the existence of a utility patent
disclosing the utilitarian advantages of the design; (2) advertising materials in which the originator of the design touts the design's utilitarian
advantages; (3) the availability to competitors of functionally equivalent designs; and (4) facts indicating that the design results in a
comparatively simple or cheap method of manufacturing the product. Here, each factor weighs in favor of a finding of non-functionality.


                       1.       Applicant Has No Live, Expired or Abandoned Patents for the Design

The applied-for mark is not being claimed and has not been claimed in a design or utility patent of Applicant. (Declaration of Lois B. Duquette,
dated November 23, 2010 (“Duquette Decl.”) at ¶ 5.)




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         Case 4:19-cv-00358-ALM                     Document 789 Filed 03/26/25                     Page 153 of 163 PageID #:
                                                               35090

                       2.      There Is No Evidence That Applicant Has Promoted the Design as Having Utilitarian Advantages.

Applicant submits a variety of advertising materials from the past several decades concerning its Hershey’s chocolate bar, the design for which
is the subject of the applied-for mark. (Duquette Decl. Ex. A.) None of the advertisements promotes the design of the bar as having utilitarian
advantages over any other configuration, and there is no evidence in the record of any such advertising.


                       3.      Alternative Designs Available Are Functionally Equivalent

A review of the third party designs in the record demonstrates that candy and chocolate bar manufacturers employ a limitless variety of bar
designs. Indeed, the Examiner has cited ample evidence of alternative designs utilized by Hershey’s competitors, all of which are equally
feasible, cost comparable alternatives to the design manufactured by Applicant. For example, Nestle, another significant candy seller, sells
Nestle Crunch Crisp, which, as depicted in the photograph attached by the Examiner in his Office Action, does not consist of any segments and
has only a coating of milk chocolate and “crispies.” Further, the Ritter Sport’s “Ritter Sport Milk Chocolate with Whole Hazelnuts,” another
third party product, also embodies an entirely different configuration than the applied-for design. Ritter Sport’s chocolate bar is comprised of 16
– not 12 – segments, in the shape of small squares - not rectangles, while the Kingsbury Chocolates Nib, manufactured by Artfully Chocolate |
Kingsbury Confections (“ACKC”), consists of 28 square segments, none of which feature recessed panels or borders around the segments.
(Attachments to November 24, 2009 Office Action).

Apart from the evidence submitted by the Examiner, Applicant submits with this response a declaration from Volker Kramer, who has many
years of experience in the business of designing and producing chocolate moulds for candy manufacturers in the United States and elsewhere,
and who attests that there are numerous alternative chocolate and candy bar designs available.[1] (Declaration of Volker Kramer, dated
November 23, 2010 (“Kramer Decl.”), at ¶¶ 3, 7, 11.) Mr. Kramer identifies, as exemplars only, at least eleven additional designs employed by
other chocolate and candy bar manufacturers – including many designs with segments – that are not the same as Applicant’s distinctive
configuration. The chocolate bars attached as Exhibit B to the Kramer Declaration and as attachments to the Examiner’s November 24, 2009
Office Action confirm that there are numerous other chocolate bars that are offered with:


               ·   bar shapes of different proportions (i.e., non-rectangular candy shape)

               See, e.g., Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Ferrero Kinder Bueno, Nestle Chokito, Divine
               Milk Chocolate 1.5 oz., Dove Silky Smooth Milk Chocolate.

               ·   a different number of segments

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate Lime,
               Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk Chocolate, Sea
               Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark Chocolate, Choxie Dark
               Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero, Newman’s Own Organics Milk
               Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate, Endangered Species Milk Chocolate, Divine
               Milk Chocolate 3.5 oz., Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet SugarFree Milk Chocolate Bar, Wegman’s Milk
               Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s Organic Milk Chocolate, Dove Silky Smooth Milk
               Chocolate.

               ·   a different layout of segments

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate Lime,
               Kingsbury Chocolates Nib, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark Chocolate, Chuao
               Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero, Newman’s Own Organics Milk Chocolate, Theo Organic Milk Chocolate,
               Theo Bread & Chocolate Dark Chocolate, Endangered Species Milk Chocolate, Divine Milk Chocolate 3.5 oz., Divine Milk
               Chocolate 1.5 oz., Doctor’s CarbRite Diet SugarFree Milk Chocolate Bar, Wegman’s Milk Chocolate with Almonds, Wegman’s
               Milk Chocolate, Green & Black’s Organic Milk Chocolate, Dove Silky Smooth Milk Chocolate.

               ·   segments of different proportions

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate Lime,
               Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk Chocolate, Sea
               Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark Chocolate, Choxie Dark
               Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero, Newman’s Own Organics Milk
               Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate, Endangered Species Milk Chocolate, Divine
               Milk Chocolate 3.5 oz, Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet SugarFree Milk Chocolate Bar, Wegman’s Milk
               Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s Organic Milk Chocolate, Dove Silky Smooth Milk
               Chocolate.

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         Case 4:19-cv-00358-ALM                    Document 789 Filed 03/26/25                        Page 154 of 163 PageID #:
                                                              35091

               · segments with different three-dimensional proportions (i.e., pillow shaped, edges of segments lack, or have different heights
               of, borders, etc.) and/or designs embossed on each segment

               See, e.g., Nidar Yade, Ritter Sport Milk Chocolate with Whole Hazelnuts, Storz Nougat Praline, Dagoba Organic Chocolate Lime,
               Kingsbury Chocolates Nib, Lake Champlain Peppermint Crunch, Ritter Sport Cornflakes, Lake Champlain Milk Chocolate, Sea
               Salt & Almond Bar, NECCO Sky Bar, Storz Nougat Praline, Chocolove Cherries & Almonds in Dark Chocolate, Choxie Dark
               Chocolate Key Lime Truffle Bar, Chuao Spicy Maya, Ferrero Kinder Bueno, Nestle Mint Aero, Newman’s Own Organics Milk
               Chocolate, Theo Organic Milk Chocolate, Theo Bread & Chocolate Dark Chocolate, Endangered Species Milk Chocolate, Divine
               Milk Chocolate 3.5 oz., Divine Milk Chocolate 1.5 oz., Doctor’s CarbRite Diet SugarFree Milk Chocolate Bar, Wegman’s Milk
               Chocolate with Almonds, Wegman’s Milk Chocolate, Green & Black’s Organic Milk Chocolate, Dove Silky Smooth Milk
               Chocolate.

               ·     no segments at all

               See, e.g., Nestle Chokito, Nestle Crunch Crisp, Kit Kat Caramel, Nestle Milk Chocolate.

Mr. Kramer’s evidence corroborates the evidence identified by the Examiner which shows that numerous functionally equivalent alternative
designs are available. The examples listed above demonstrate that chocolate bars need not have: (1) segments, (2) 12 segments, (3) equally-sized
segments, (4) segments arranged in a four panel by three panel format, (5) segments that are of the same dimensional proportions as the overall
bar, (6) rectangularly shaped segments, or (7) recessed segments with raised borders. The fact that other major candy bars have entirely different
designs than the design used by Applicant is strong evidence that Applicant’s design does not give Applicant any advantage over its
competitors. Indeed, other brands of chocolate manufactured and sold by Applicant under different trade names (e.g., Dagoba Organic
Chocolate) utilize very different designs than the design of the applied-for mark. (See attachments to November 24, 2009 Office Action and
Duquette Decl. ¶ 19.) Moreover, the Examiner has not identified, and Applicant cannot identify, a competing product similar in design to
Applicant’s applied-for shape, which is further evidence that the proposed mark is not functional.


                         4.       Applicant’s Design Is Not a Result of “Simple or Cheap Method of Manufacturing” and Provides No
                         Utilitarian Advantage.

The applied-for design of the Applicant’s candy bar is not “one of few superior designs available.” (November 24, 2009 Office Action)
(emphasis added). The use of each element of Applicant’s chocolate bar design, and the overall combination of elements, are non-essential to
the manufacture of the bar and does not result in cheaper manufacturing. As Mr. Kramer explains, the tooling and moulds for the framed
segments of the Hershey design are more expensive to create than are the tooling and moulds for other chocolate bar designs. In fact, the
particular configuration of the Hershey design is no less costly to manufacture than other alternative segmented bar designs. (Kramer Decl. ¶¶ 8 -
10.) See In re UDOR U.S.A., Inc., Serial No. 78867933, 2009 T.T.A.B. LEXIS 61, at *17-18 (T.T.A.B. Mar. 4, 2009) (noting that if the applicant
had adopted a different configuration, one which “may well have resulted in increased costs and major inefficiencies in the manufacturing and
shipping processes” then applicant’s design would present a “stronger case for being a non-functional source-identifier -- a shape that is
‘uneconomical or otherwise disadvantageous’”) (internal citation omitted); Cartier, Inc. v. Four Star Jewelry Creations, Inc., 348 F. Supp. 2d
217, 225 (S.D.N.Y. 2004) (if evidence indicates that “many of the trade dress features [actually] increase the time, difficulty and cost involved in
their manufacture,” the designs are less likely to be found to serve a “functional, essential, or cost-saving role in the manufacture of” the design
at issue.)

In sum, based on the analysis above, it is clear that the distinctive design of Applicant’s chocolate bar is (1) unique to Applicant, and (2) not
required by the functional aspects of the product.



       II.         Applicant Submits Substantial and Compelling Evidence of Acquired Distinctiveness

Applicant also respectfully submits that its three-dimensional product configuration mark has acquired distinctiveness required under Wal-Mart
Stores, Inc. v. Samara Bros. Inc., 529 U.S. 205 (2000). Acquired distinctiveness, or secondary meaning, exists if a substantial number of
purchasers or prospective purchasers associate the design with a single source. Six factors are relevant to determining whether a product’s
design has acquired secondary meaning: 1) the length and exclusivity of the mark’s use; 2) advertising expenditures; 3) sales success; 4)
unsolicited media coverage of the product; 5) consumer studies linking the mark to a source; and 6) attempts to plagiarize the mark. Nautilus
Group, Inc. v. Icon Health & Fitness, Inc., 372 F.3d 1330, 1340 n.7 (Fed. Cir. 2004); Coach Servs. v. Triumph Learning LLC, Serial Nos.
78535642/78536143, 2010 T.T.A.B. LEXIS 383, at *62 (T.T.A.B. Sept. 17, 2010). Each of these factors strongly favors a finding of secondary
meaning here.


               A.        The Length and Exclusivity of the Mark’s Use

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         Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                       Page 155 of 163 PageID #:
                                                             35092

First, the applied-for chocolate bar design has been in use for more than 42 years, as Applicant began manufacturing, distributing, and selling the
Hershey’s Milk Chocolate bar in this product configuration in 1968. (Duquette Decl. ¶ 4.) See In re Uncle Sam Chemical Co., Inc., 229
U.S.P.Q. 233 (T.T.A.B. 1986)) (finding that a “declaration attesting to over eighteen years of substantially exclusive and continuous use of the
term together with evidence of considerable sales of products sold under the mark is sufficient to support a claim of acquired distinctiveness”).
For over forty years, Applicant has sold its milk chocolate bar in the applied-for product configuration, namely twelve equally-sized recessed
rectangular panels arranged in a four panel by three panel format with each panel having its own raised border within a large rectangle. (Duquette
Decl. ¶ 4.) The long period of continuous and exclusive use by Applicant of its applied-for design indicates that its product design has acquired
secondary meaning.


               B.      Advertising Expenditures

Applicant also heavily advertises and promotes its product design. Applicant’s licensee has spent more than $186 million nationwide in
advertising its products embodying the applied-for design in the past 24 years. (Duquette Decl. ¶ 7.) Many of Applicant’s advertisements
prominently depict the shape of its chocolate bar which imbue the configuration with source-identifying significance and, indeed, the bar’s
individual segments are featured on many Hershey bar packages and other advertising. (Id., ¶ 9 & Ex. A.) Applicant’s advertisements appear in
national publications, on national television, on the internet and in several other media outlets. (Id., ¶ 8.) Advertisements prominently featuring
the alleged product configuration are often cited as evidence of secondary meaning. See Callaway Golf Co. v. Golf Clean, Inc., 915 F. Supp.
1206, 1213 (M.D. Fla. 1995) (holding that over $5,000,000 spent in advertising that prominently featured club head was significant factor in
finding of secondary meaning for a gold club design); General Foods Corp. v. MGD Partners, 1984 T.T.A.B. LEXIS 38, Serial No. 153,102, at
*25-26 (T.T.A.B. Sept. 28, 1984) (finding that applicant has demonstrated secondary meaning based on various facts including “large volume of
advertising and sales activity” since product inception).



               C.      Sales Success

Since 1998, aggregate or total sales to consumers have exceeded $4 billion. Applicant’s Hershey’s candy bars are sold throughout all fifty
states. (Duquette Decl. ¶ 6.) Thus, the applied-for mark is well recognized as belonging to Applicant and has become associated directly with
Applicant’s quality products due to Applicant’s consistent, extensive and exclusive use. With such widespread and consistent use of the design,
and the fact that Applicant continues to sell its chocolate bar embodying the applied-for design in mass quantities today, acquired distinctiveness
can be easily found.


               D.      Unsolicited media coverage of the Hershey Chocolate Bar Design

The shape and design of the Hershey’s chocolate bar has also been the subject of favorable unsolicited media recognition. For example, at the
food blog http://bakingbites.com/2009/01/chocolate-bar-brownie-pan, a website devoted to baking and cooking, the author features a brownie
pan sold by Williams Sonoma which results in brownies that: “use[] the iconic look of the chocolate candy bar” and associates the “iconic look”
with that of Hershey’s chocolate bars, stating that “[w]hether you’re a fan of Hershey’s chocolate bars or not, it’s design is undeniably a
classic confectionery icon: a flat, rectangular bar divided up into bite-sized pieces. . .” The brownie pan (an attempt to plagiarize the
Applicant’s mark, as discussed below), which does not used Applicant’s famous HERSHEY’S trademark, was also featured on another blog,
found at http://www.chocolateysprinkles.com/2009/06/01/williams-sonoma/, in which the author announces his excitement for the Williams
Sonoma brownie pan and observes that “It’s like a Hershey’s bar with individual brownies.” (Duquette Decl. Exs. D & E, at ¶¶ 15-16.)
Significantly, consumers who encountered the Williams Sonoma pan in the distinctive shape and design for which Applicant now seeks to obtain
a trademark registration recognized immediately that it produces brownies that looked like Hershey’s chocolate bar product embodying that
design. This is compelling evidence of an association in the minds of the purchasing public of the applied-for design with the source of the
product.

The configuration of the Hershey’s chocolate bar is also called to mind by others in connection with goods in a variety of other contexts which
is still further evidence of a consumer recognition of the applied-for design and an association of the design with its source. For example, one
writer likened the size of a “silver metal slug” that is produced by a typesetting machine to “the size and shape of a Hershey’s chocolate bar,”
while another reporter noted that posters for the Dave Matthews Band, that are “designed to look like a Hershey chocolate bar,” were for sale.
(Duquette Decl. ¶ 17 & Ex. F.)


               E.      Attempts to Plagiarize

Attempts by others to plagiarize the mark also confirm it has achieved secondary meaning. Applicant has, on several occasions, learned of
attempts by others to use the distinctive shape of its HERSHEY’S chocolate bar without permission. For example, the brownie baking pan,
discussed above, which was described as a “chocolate bar brownie pan,” recently was distributed and sold without Hershey’s permission by

                                                                                                                                 119022
        Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                       Page 156 of 163 PageID #:
                                                            35093

retailer Williams Sonoma. After Hershey sued for trademark infringement on May 11, 2010, the parties ultimately settled their dispute by
agreement and Hershey agreed to license its distinctive Hershey design -- see Exhibit B to Duquette Decl. at ¶ 12 -- which is additional evidence
that the applied-for mark has obtained the acquired distinctiveness in the minds of the public. In re Carl Walther GmbH, Serial No. 77096523
(T.T.A.B. Oct. 26, 2010) (“The fact that the PPK handgun design is sought after and licensed to a maker of replica products has been recognized
as one type of evidence that helps establish that a configuration or trade dress mark has become distinctive.”).
Similarly, Applicant’s design was copied by another candy company, R.M. Palmer Candy Co. (“R.M. Palmer”) which, after Hershey objected,
agreed to cease use of the objected-to design. (Id., ¶ 13 & Ex. C.)


               F.    Federal Trademark Registration of the Well-Known Design of the Famous HERSHEY’S Chocolate Bar (with the
               word “HERSHEY’S”)

Hershey owns an existing registration, Registration No. 3668662, for a design and word mark in class 30, that consists of the subject design
mark, plus letters spelling ‘Hershey’s’ in each recessed panel.” See Duquette Decl. ¶ 18 & Ex. G. The only difference between the applied-for
mark and this existing registration is the inclusion of the word “HERSHEY’S” on each chocolate bar segment; that is, the prior registration
covers both the word “HERSHEY’S” and the design of the bar. The Trademark Office did not require Hershey to disclaim the design elements
of the mark in Registration No. 3668662. Therefore, by not requiring a disclaimer, the Trademark Office conceded that the design elements had
achieved secondary meaning.


               G.      Survey Evidence of Secondary Meaning

While all of the foregoing evidence, standing alone, is sufficient to establish secondary meaning in the applied-for design, Applicant also submits
a consumer survey conducted by Robert L. Klein that confirms the distinctiveness of its product design. The survey corroborates Applicant’s
strong showing of secondary meaning.
Applicant’s survey was conducted Robert L. Klein, a recognized market research expert who has previously credited by the Board ( see, e.g.,
National Pork Board v. Supreme Lobster and Seafood Co., 96 U.S.P.Q.2d 1479 (T.T.A.B. June 11, 2010), and followed accepted protocols for
the measurement of secondary meaning. In the survey’s text cell, 83.8% of likely purchasers of chocolate bars identified a chocolate bar
embodying the applied-for design (and not including the HERSHEY’S word mark) as emanating from a single source, namely Hershey.
(Report of Robert L. Klein dated November 22, 2010, at pp. 3, 9) Even after the results of a control cell were subtracted, over 42% of likely
purchasers identified Hershey as the sole source of a chocolate bar embodying the applied-for design. These results are compelling evidence of
secondary meaning. See 37 C.F.R. § 2.41(a); Tone Bros. v. Sysco Corp., 28 F.3d 1192, 1203-04 (Fed. Cir. 1994) (holding that 37% of survey
respondents identifying trade dress with a single manufacturer was sufficient evidence of secondary meaning); McNeil-PPC v. Granutec, Inc.,
919 F. Supp. 198, 37 U.S.P.Q.2d 1713 (E.D.N.C. 1995) (where 41% associated red and yellow capsules with a single brand and 38% identified
that brand as TYLENOL, court found sufficient proof of secondary meaning in the red and yellow capsule colors); Monsieur Henri Wines, Ltd.
Et Al. v. Duran, 204 U.S.P.Q. 601, 606, 1979 WL 24898 (T.T.A.B. 1979) (survey evidence showing 37% association of brand with background
design corroborated finding that opposer’s mark had “come to serve in and of itself as a strong indication of origin”).

In sum, Applicant respectfully requests that the refusal based on non-distinctiveness be set aside and that the Examining Attorney approve the
application for publication.


CONCLUSION

For the foregoing reasons, Applicant respectfully submits that the Examining Attorney has not met its burden to show that the proposed mark is
functional, and that the Applicant has shown that the proposed mark has acquired distinctiveness. Accordingly, Applicant respectfully submits
that this application is in condition for publication. Favorable action is therefore requested.


The PTO is authorized to collect any fees necessitated by this Response from the deposit account of Applicant’s attorneys, Kaye Scholer LLP,
Deposit Account No. 11-0228.



[1]        Courts routinely consider credible testimony submitted in support of non-functionality. See Cartier, Inc. v. Four Star Jewelry
Creations, Inc., 348 F. Supp. 2d 217, 224 (S.D.N.Y. 2004) (finding testimony from Cartier’s director of watch marketing regarding the
“aesthetic value conveyed by the design of the watch” credible, which emphasized that “functional superiority [was] not among Cartier’s
objectives”); General Motors Corp. v. Lanard Toys, Inc., 468 F.3d 405, 417 (6th Cir. 2006) (finding statements by the General Motors Senior
Vice President of Engineering and Product Development that the “Government’s technical specification did not address the exterior appearance
or the styling of the [Hummer/Humvee] vehicle.”



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        Case 4:19-cv-00358-ALM                  Document 789 Filed 03/26/25                     Page 157 of 163 PageID #:
                                                           35094



EVIDENCE
Evidence in the nature of Declaration of Lois B. Duquette, Esq. and Exhibits A to G; Declaration of Volker Kramer and Exhibits A to B; Report
of Robert L. Klein: Secondary Meaning Survey Methodology and Results has been attached.
Original PDF file:
evi_9820418729-103538399_._Executed_Duquette_declaration_with_no_exhibits.pdf
Converted PDF file(s) (6 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_A_screen_caps.pdf
Converted PDF file(s) (20 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18
Evidence-19
Evidence-20
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_B.pdf
Converted PDF file(s) (16 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_C.pdf
Converted PDF file(s) (2 pages)

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       Case 4:19-cv-00358-ALM              Document 789 Filed 03/26/25     Page 158 of 163 PageID #:
                                                      35095

Evidence-1
Evidence-2
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_D.pdf
Converted PDF file(s) (5 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_E.pdf
Converted PDF file(s) (4 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_F.pdf
Converted PDF file(s) (6 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Original PDF file:
evi_9820418729-103538399_._Duquette_Exhibit_G.pdf
Converted PDF file(s) (2 pages)
Evidence-1
Evidence-2
Original PDF file:
evi_9820418729-103538399_._Executed_Kramer_Declaration_with_exhibits.pdf
Converted PDF file(s) (13 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Original PDF file:
evi_9820418729-103538399_._Robert_Klein_Report.pdf
Converted PDF file(s) (150 pages)
Evidence-1
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Evidence-8
Evidence-9

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       Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 159 of 163 PageID #:
                                           35096

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       Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 160 of 163 PageID #:
                                           35097

Evidence-68
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         Case 4:19-cv-00358-ALM                   Document 789 Filed 03/26/25                       Page 161 of 163 PageID #:
                                                             35098

Evidence-126
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Evidence-150

SIGNATURE(S)
Response Signature
Signature: /Paul Llewellyn/ Date: 11/25/2010
Signatory's Name: Paul Llewellyn
Signatory's Position: Attorney of record

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the applicant's attorney or an
associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent not
currently associated with his/her company/firm previously represented the applicant in this matter: (1) the applicant has filed or is concurrently
filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the applicant has filed a power of attorney appointing him/her in this matter; or (4) the applicant's appointed U.S. attorney or
Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 77809223
Internet Transmission Date: Thu Nov 25 10:58:25 EST 2010
TEAS Stamp: USPTO/ROA-XX.XXX.XXX.XX-2010112510582511
7833-77809223-47076b7e8e5436de1b72065542
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Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 162 of 163 PageID #:
                                    35099




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Case 4:19-cv-00358-ALM   Document 789 Filed 03/26/25   Page 163 of 163 PageID #:
                                    35100




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